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              Exhibit D
Independent Educational Evaluation (IEE)
      completed by Dr. Sarah Irby
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                                            IRBY PSYCHOLOGICAL SERVICES, tLC
                                            Sarah M. Irby, Ph.D., BCBA
                                            Child Psychologist
                                            Board Certified Behavior Analyst
                                            7075 Golden Oaks Loop West
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Client Name:                Kevin Bardwell, Jr.              Intake/Evaluation Date:                     12/23/2021
Birth Date:                 11/05/2002                       School Observation Date:                    01/14/2022
Age:                        9-years, 2-months                Date of Report:                             01/26/2022
Sex:                        Male                             Parent/Guardian:                            Kevin Bardwell, Sr.
                                                    CONFIDENTIAL
                                              PSYCHOLOGICAL EVALUATION

REASON FOR EVALUATION:
Kevin Bardwell, Jr. was referred for an independent education evaluation (IEE) at Irby Psychological Services
(JPS) by his lawyer, Janet Goode, due to concerns regarding a recent school evaluation. Concerns noted by
Kevin's father, Kevin Bardwell, Sr., at the time of intake included speech/language delays, social deficits,
inattention, hyperactivity, repetitive motor movements, sensory-related behaviors, and learning difficulties.
His father requested an evaluation to determine the presence of Autism Spectrum Disorder (ASD) or other
appropriate diagnoses to provide recommendations for intervention services at school based on current
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PSYCHODIAGNOSTIC PROCEDURES:
Autism Diagnostic Observation Schedule, Second Edition (ADOS-2) - Module 1
Behavior Assessment System for Children, Third Edition - Parent Rating Scales-Child (BASC-3 PRS)
Behavior Assessment System for Children, Third Edition - Teacher Rating Scales-Child (BASC-3 TRS)
Behavioral Observations
Classroom Observation
Comprehensive Test ofNonverbal Intelligence, Second Edition (CTONI-2)
Conners, Third Edition - Parent Short Form (Conners-3)
Conners, Third Edition - Teacher Short Form (Conners-3)
Parent Semi-Structured Clinical Interview
Records Review
Social Responsiveness Scale, Second Edition (SRS-2} - Parent
Social Responsiveness Scale, Second Edition (SRS-2} - Teacher
Vineland Adaptive Behavior Scales, Third Edition -Domain-Level Parent/Caregiver Form
Vineland Adaptive Behavior Scales, Third Edition -Domain-Level Teacher Form

CAREGIVER INTERVIEW:
Kevin's father and stepmother (father's girlfriend) provided the following information during a clinical
interview concerning Kevin's past and current functioning. Kevin is a 9-year, 2-month-old boy living with his
father, father's partner (Ebony Guy), brother (age: 10), and sisters (ages: 1, 6, and 7) in Memphis, Tennessee.
Kevin also has a maternal half-brother (age: 18) and two maternal half-sisters (ages: 15 and 14) who live
outside of the home. Kevin was recently (summer 2020) removed from his mother's care while living in
Indiana, as she was arrested on drug charges in Nebraska. At that time, Kevin's father went to Indiana,
obtained Kevin's educational records, and moved Kevin to Memphis. Per parental report, family history is
significant for legal challenges, suspected attention-deficit/hyperactivity disorder (ADHD), and hearing
impairment. Mr. Bardwell indicated the ongoing custody battle and Kevin's lack of support as stressors the
family has experienced in the past year. Additionally, he identified some family as social supports.
Mr. Bardwell stated that Kevin was born full-term following an unremarkable pregnancy. At birth, he
weighed 5 pounds, 3 ounces. Kevin met his motor milestones within normal limits, but his language was
notably delayed and he continues to demonstrate significant language delays. Currently, he communicates
using phrase speech and engages in frequent echolalia (i.e., repeats what others say). Kevin was diagnosed
with autism at age 3 in Nebraska. When Kevin was 2 years old, he had skin grafts on his feet after third degree
                                                                                                    EXHIBIT

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                                                                                                                                               Bardwell, Kevin
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burns due to extremely hot bath water. Following these procedures, Kevin had to learn how to walk again
and i:eceived physical therapy. No additional histo1y of major/chronic illnesses, hospitalizations, accidents/
trauma, or sexual/physical abuse were reported. Kevin is currently not taking any medication. Regarding
appetite, Mr. Bardwell reported that Kevin loves fruit, but is often selective about what he eats. No concerns
with sleep were reported. Kevin's vision and hearing were screened in fall 2021; results for hearing were
within normal limits and he was prescribed glasses for nearsightedness. Notably, Kevin did not participate
in early hearing assessments because he did not like his ears touched, and an auditory brainstem response
(ABR) test was conducted in 2015 at Boys Town National Research Hospital, which revealed a unilateral
hearing loss.
About educational history, Kevin was initially assessed by Nebraska Early Development Network (EDN)
prior to age 2. Services provided through EDN included service coordination and special instruction. Service
ronrrli n.?.ti0!? he!ped p::-c·:idc ·;.--;·up arc.u ni:! 5 i·v;~c:. (1::.~ .• VviC, housing, SSI) co Kevm's tamily. After turning
3, Kevin qualified under the category of developmental delay for an Individualized Education Program (IEP)
through Norfolk Public Schools. He was placed in a special education preschool program. They were going to
evaluate further for autism until Kevin and his family unexpectedly moved to Indiana. Once in Indiana, Kevin
was evaluated for autism and placed in a special education preschool program. In summer 2020, Mr.
Bardwell went to Indiana and moved Kevin and his siblings with him to Memphis. In July 2020, Mr. Bardwell
attempted to enroll Kevin in Shelby County Schools, but was unable to until he obtained legal guardianship.
As such, Kevin did not start his 2nd grade year September 2020. Last year, Kevin attended school virtually
due to the COVID-19 pandemic. His IEP was not fully implemented until October 202r He is currently in a
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" Pt-I cu:. Lu t:uJuy :.wuoi aua nas mm1ma1 behavior problems there. He enjoys spending time with peers in
the general education classroom and Ms. Guy noted that Kevin talks about his friends when he gets home
from school each day.
Related to broader behavioral concerns, Mr. Bardwell reported inattention and mild frustration. For
inattention, Kevin has difficulty sticking with one task for very long and moves between toys quickly. He is
genera11y a happy child, but sometimes he gets frustrated when someone takes something that belongs to
him or when he is corrected for doing something he is not supposed to do. At school, Kevin is reportedly
"stubborn" and can resist engaging in tasks (e.g., conung to the white board to do a math problem) for more
than a few minutes. He will often walk away and return to his desk instead of sustaining focus on the tasks.
Regarding behaviors often associated with ASD, in conjunction with the communication difficulties, Kevin's
caregivers reported concerns with social skills, sensory-related behaviors, repetitive behaviors, and
restricted interests. Concerning his social skills, Kevin is we11 liked by peers, but has difficulty interacting and
sustaining conversations with peers. He also is slow to warm and selective about who he interacts with.
About sensory-related behaviors, Kevin is sensitive to loud noises, which was worse when he was younger,
as he covered his ears and screamed. Currently, Kevin smells everything, especia1ly his food, and puts
noisemaker toys to his ears. Kevin also engages in visual inspection and peers at items out of the corner of
his eye. Reported repetitive behaviors include completing a:n activity repeatedly (e.g., rolling cars or stacking
blocks). Restricted interests include music and cars.
Kevin's teacher, Erika Malone, completed general comments on several rating scales. She noted that Kevin
sometimes whines, looks away from others, and wipes his eyes to gain their attention rather than use his
words to express his frustration. However, she noted that he is starting to tell others why he is mad and will
use one word or point to request Socia11y, Ms. Malone noted that Kevin often plays alongside other children,
rather than directly with them. He will repeat things and randomly calls out his dassmates' names. Ms.
Malone noted that Kevin requires direct, one-on-one support with all classroom assignments.
PREVIOUS EVALUATIONS:
Nebraska
A records request was sent to Nebraska EDN and records were returned within one week. The school district
provided past Individualized Family Service Plans (IFSP) and his initial Multidisciplinary Evaluation Team
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(MDT) Report dated August 21 st, 2014. At this time, Kevin was administered the Developmental Assessment
of Young Children (DAYCJ, which evaluated his development in the five main areas. Notably, his Physical
Development was in the Average range (SS = 91) and his Fine Motor and Cognitive skills were in the Low
Average range (SS = 82 for both). However, his Communication and Social skills were in the Extremely Low
range (SS = 50 and 54, respectively) and his Adaptive skills fell in the Low range (SS = 78). The speech
therapist also administered the Receptive-Expressive Emergent Language Test, Third Edition (REEL-3), which
revealed receptive and expressive language skills in the Extremely Low range (SS s 55, for both subtests).
Based on this evaluation, Kevin qualified for an IFSP und er the category of developmental delay and received
services within the home until his 3 rd birthday.
Indiana
Kevin was evaluated by Gary Community School Corp on April 25 th, 2018. Prior to this evaluation, Kevin was
rPrPivine ~"''"''!':-e5: '..!.!1der              !!:P c~tcgvry 0f uc:vduv111e11 1.c:1 i Jelay. This evaiuanon was to determine a more
appropriate eligibility category. For this assessment, Kevin's teacher completed the Adaptive Behavior
Assessment System, Third Edition {ABAS-3), which revealed his Practical skills were in the Low Average range
 (SS =85), his Social skills were in the Low range (SS =71), and his Conceptual skills were in the Very Low
range (SS = 63). He was administered the Receptive One Word Picture Vocabulary Test, Fourth Edition
(ROWPVT-4), Expressive One Word Picture Vocabulary Test, Fourth Edition (EOWPVT-4), and the
Developmental Assessment of Young Children, Second Edition (DAYC-2). On the EOWPVT-4, Kevin was easily
distracted, and the results were not presented, as the examiner felt they were not an accurate measure of his
skills. However, Kevin participated during the ROWPVT-4 test, which revealed receptive language skills in
the Extremely Lo ~, r?.nge (SS < 55). On , th e ·"' chirt'i"e df'm ?in of t e n,1 Yr -? W?<' r p n nrtPrl -, nrl it foll ;,.., ti.,"
::..u .. A. v 1.- Cl 6 1: 1 c1 u~t L.:>.:) = t)L. J. rne occupational therapist used the Peabody Developmental Motor Scales,
Second Edition (PDMS-2), but specific scores were not reported. His'teacher at the time also completed the
Gilliam Autism Rating Scale, Third Edition (GARS-3), which revealed ASD symptoms in the Level 3 range.
Results of this evaluation suggested that Kevin was eligible for special education services as a child with
autism and no longer qualified under the category of developmental delay.
Tennessee
 Kevin was most recently evaluated by William E. Graves, school psychologist for Lucie E. Campbell
 Elementary School on September 1st, 2021. For this assessment,· Kevin was administered the Wechsler
 Nonverbal Scale of Ability (WNV) 2-subtest Full-Scale IQ (FSIQ) and selected subtests from the Woodcock
Johnson IV, Tests of Achievement (WJ JV ACHJ. Kevin's father and teacher each completed the Vineland
Adaptive Behavior Scales, Third Edition (Vineland-3), Gilliam Autism Rating Scale, Third Edition {GARS-3), and
Behavior Assessment System for Children, Third Edition (BASC-3). A classroom observation was conducted,
and the Systematic Adaptive Behavior Characteristics Checklist was completed. Results of this assessment
suggested that Kevin's current intellectual functioning was in the Extremely Low range (SS = 48) based on
the FSIQ-2 (Le., Matrices and Spatial Span subtests). Notably, Kevin demonstrated limited comprehension
during this assessment, and these are likely an underrepresentation of his current skills. Similarly, on the W]-
IV ACH, Kevin demonstrated limited skills, as he did not read any words, comprehend what be was reading,
and did not complete any mathematical equations. However, he did write his name and recognize and write
letters and numbers. On the Vine/and-3, Ms. Alston, Kevin's general education 3rd grade teacher, indicated
that his overall adaptive skills were in the Extremely Low range (SS = 4 7), with all three domains (j.e., Social,
Conceptual, and Practical) also falling in the Extremely Low range. In contrast, his father reported his overall
adaptive skills in the Very Low range (SS = 66), with Extremely Low Communication skills (SS = 54) and Low
Daily Living and Socialization skills (SS = 70 and 77, respectively). On the BASC-3, Ms. Alston reported
Clinically Significant concerns for Hyperactivity, Aggression, Conduct Problems, Anxiety, Sornatization (i.e.,
physical symptoms of anxiety), Learning Problems, and Atypicality (i.e., does strange things) and At-Risk
concerns for Depression (i.e., social withdrawal), Attention Problems, and Withdrawal. However, his father
reported all symptom areas to fall in the Average range. On the GARS-3, a measure of autism related
behaviors, Ms. Alston and Mr. Bardwell rated Kevin in the Level 2 range for symptoms. The overall results of
this evaluation supported Kevin's eligibility of autism and suggested the presence of an intellectual disability,
pending the decision of the IEP team.
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                                                                                                                                Bardwell, Kevin
                                                                                                                                   Page4of14
INDIVIDUALIZED EDUCATION PROGRAMS:
Nebraska
Kevin initially qualified for an IFSP in August 2014 and received services through his 3rd birthday, until he
transitioned into the Norfolk Public Schools. No formal speech therapy was provided based on the IFSP or
initial IEP. However, he received special instruction biweekly and service coordination monthly. The
transition steps included in the IFSP included planning for his 3rd birthday and transitioning services to the
school system. Once he transitioned into the public school system, his IEP consisted of the following goals:
     • Kevin will increase skills in the following areas: imitation of actions and movements, ability to wait,
         ability to complete tasks independently, following a daily routine, following instructions, sorting,
         matching, understanding concepts (e.g., size, shape, color, quantity, and prepositions), and name
         family members.
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for 200 minutes/twice weekly. No speech therapy services were provided at this time.
Indiana
Specifics of his IEP through Gary Community School Corporation were not accessible, though several
requests to the Gary Community School Corporation were sent in December 2021 and January 2022.
Tennessee
After the evaluation dated September 1st, 2021 (summarized above), an IEP meeting was scheduled to
develop an educational plan for Kevin. He was determined eligible for services in the state of Tennessee
under the primary categorv of Autisrn ;:i nrl thP ~Pcnnrb rv r :HP~n•·: 1 n f ; nt,.IJ ,,,,t .. '.' 1 ,.. ;._'::'. 0' "':~- :.: :: ._. -· -~ ·,
2021, 13 months after he was formally enrolled in Shelby County Schools. Current IEP goals include:
    • "Given verbal prompts, Kevin will improve his performance of prevocational tasks to a score of 3 or
        higher, demonstrating average to above average performance, as measured by data collection and
        teacher observations by the end of the IEP."
            o When given a written or verbal assignment, Kevin will increase is time on task to_ minutes,
                 within 4 of 5 trials with 80% accuracy as measured by data collections and teacher
                 observations each nine weeks. Note: no time was included in the IEP.
            o When given a written or verbal assignment, Kevin will attempt to begin an assignment
                without teacher reassurance within 4 of 5 trials with 80% accuracy as measured by data
                 collections and teacher observations each nine weeks.
   • When presented with text, Kevin will increase his basic reading skills in the areas of phonics,
        decoding, and word recognition from a KK to a 1.0 grade-level as measured by work samples, data
        collection, and district assessments by the end of the IEP.
            o When shown word lists and/or a short passage, Kevin will demonstrate awareness ofletter/
                sound relationships within 4 of 5 trials with 80% accuracy as measured by data collections
                and teacher observations each nine weeks.
            o When shown word lists and/or a familiar text, Kevin will locate specific word patterns and
                sight words within 4 of 5 trials with 80% accuracy as measured by data collections and
                teacher observations each nine weeks.
   • Using manipulatives, drawings, and various strategies, Kevin will increase his ability to identify
       numbers and solve math calculations to increase his level of performance from a <K.O grade-level to
       a K.O grade-level as measured by work samples, data collection, teacher observations, and formal
       assessments by the end of the IEP.
            o When 'shown a set of numbers, Kevin will identify his numbers up to 20 within 8 out of 10
                trials with 80% accuracy as measured by work samples, data collection, teacher observations,
                and informal assessments each nine weeks.
            o When given a set of manipulatives, Kevin will add and subtract single-digit numbers within 8
                out of 10 trials with 80% accuracy as measured by work samples, data collection, teacher
                observations, and informal assessments each nine weeks.
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                                                                                                   Bardwell, Keviri
                                                                                                      Page5 of14
    •   Given multi-modal prompts, Kevin will label arid identify common objects with increasing complexity
        relating to home, school, and community settings with 80% accuracy given 4 out of 5 opportunities
        across 3 consecutive sessions as measured by SLP data by the end of the IEP period.
            o Given pictures, Kevin will name and identify objects related to home with 60% accuracy given
                4 out of 5 opportunities across 3 consecutive sessions as measured by SLP data.
            o Given pictures, Kevin will name and identify objects related to school with 60% accuracy
                given 4 out of 5 opportunities across 3 consecutive sessions as measured by SLP data.
            o Given pictures, Kevin will name and identify objects related to community with 60% accuracy
                given 4 out of 5 opportunities across 3 consecutive sessions as measured by SLP data.
    •   Given multi-modal prompts, Kevin will label actions expanding into 2-3 word utterance combinations
        with 80% accuracy given 4 out of 5 opportunities across 3 consecutive sessions as measured by SLP
        data by the end of the IEP period.
            o Given pictures, Kevin will name 10 actions or "-ing" cards with 80% accuracy given, 4 out of
                5 opportunities across 3 consecutive sessions as measured by SLP data.
            o Given pictures, Kevin will use nouns+ actions or "-ing" with 80% accuracy given 4 out of 5
                opportunities across 3 consecutive sessions as measured by SLP data.
            o Given pictures, Kevin will use nouns + actions + noun with 80% accuracy given 4 out of 5
                opportunities across 3 consecutive sessions as measured by SLP data.
    •   Given multi-modal prompts, Kevin will follow spatial directions with 80% accuracy given 4 out of 5
        opportunities across 3 consecutive sessions as measured by SLP data by the end of the IEP period.
            o Given verbal or visual prompts, Kevin will follow 1 step directions with 80% accuracy given

            o  Given verbal or visual prompts, Kevin will follow 2 step directions with 80% accuracy given
               4 out of 5 opportunities across 3 consecutive sessions as measured by SLP data.      ·
    •   Given multi-modal prompts, Kevin will use total communication to effectively communicate wants
        and needs with 80% accuracy given 4 out of 5 opportunities across 3 consecutive sessions as
        measured by SLP data by the end of the IEP period.
           o Given verbal, visual, and tactile cues, Kevin will use 5 functional signs· with 50% _accuracy
               given 4 out of 5 opportunities across 3 consecutive sessions as measured by SLP data.
           o Given verbal, visual, and tactile cues, Kevin will use picture exchange to select activity of
               choice given 4 out of 5 opportunities across 3 consecutive sessions as measured by SLP data.
His current accommodations include:
    • Providing instructions in alternative formats (written, picture, verbal, etc.)
    • Giving directions in small, distinct steps
    • Preferential seating (i.e., area not distracting to Kevin)               ,
    • Minimize distractions (e.g., visual, auditory, tactile, movement, and/or social)
    • Allow breaks
    • Oral testing for directions and/ or test items for testing
    • Extended time for testing (i.e., time and a half)
    • Additional time (i.e., 30 minutes) for assignments
    • Speech to text for completing assignments
He also receives 6.75 hours of special education time in the Functional Skills classroom per day (33 hours,
45 minutes per week) and language therapy twice weekly for 30 minutes. No other specialized services were
noted in the most recent IEP. According to an assistant in his functional skills class, Kevin's daily schedule
consists of:
   • 9:00 am - arrival
   • 9:00 am to 11:00 am - instructional time within functional skills class
   • 11:00 am to 11:30 am - lunch with special education class
   • 11:30 am to 12:30 pm - specials (i.e., PE, art, music, etc.) with general education class
   • 12:30 pm to 1:00 pm - lunch with general education class
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                                                                                                                                    Bardwell, Kevin - -
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' .
          •   1:00 pm to 1:30 pm - recess with general education class
          •   1:30 pm to 2:45 pm - instructional time within functional skills class
      CLASSROOM OBSERVATION:
      Kevin was observed on January 14th , 2022 from 12:30 pm to 2:15 pm. At the sta:rt of the observation, Kevin
      was in the cafeteria eating lunch with his peers. Initially, he was sitting alone at a table, quietly eating an
      apple for about 3-5 minutes. Eventually, a peer in his class came and gave Kevin a hug and sat next to him at
      the table. The other child started sharing his food with Kevin (e.g., chocolate covered pretzels, chocolate
      pudding) and several children gave Kevin their apples. Each time Kevin was handed an apple, he examined
      it slowly. At one point, there was a fight at a table across the cafeteria, which did not seem to bother Kevin.
      Throughout the meal, Kevin picked at most of the food items on his plate and seemed disinterested in eating
      the fish sticks. While seated at the table, Kevin tapped his foot. When told to clean up his area, Kevin followed
      i::.:::~.:-..:ct:Gr.:; ~r.d ~!,;·.::·.-.· 11is iLciliS iii t:1c L1 a=>li wili1 111i11iwal µ1 ompting from the teachers.
      After lunch (1:03 pm), the class transitioned to recess. Kevin lined up with his classmates and they walked
      to their classrooms to get their jackets. At 1:13 pm, the class finally made it outside to the playground. Kevin
      paced around the playground equipment and repeatedly went down the same slide, walking the same
      pattern each time. After about 5 minutes, the class was instructed to line-up. Kevin was prompted by another
      teacher to line-up with his class, but he stopped to tie his slfoes and put on his gloves. It took the class about
      3 minutes to line up, but Kevin waited patiently and followed instructions. Once the class was quiet, the
      teacher guided them back to their class.
      At i:28 pm, while the class was still in the   hailw;w,   l<pvin   \N;J',   prppj-p(l   hv lvk   iVi;:i)nnµ   hie   '''."'"i -:, i ""''""'<-ir,n
      teacher, who escorted him back to the functional skills classroom. In the functional skills classroom, there
      were 12 students (10 boys, 2 girls), Ms. Malone, and two teacher's assistants. One child engaged in vocal
      stimming and was loud at times, which did not seem to bother Kevin. Ms. Malone provided a lesson on vertical
      addition and invited students to come to the board one at a time. Kevin waited patiently at his desk for his
      turn and went up to the board when called. He had notable difficulty following instructions at the board, as
      he only repeated what Ms. Malone said. After a few moments, he rocked from foot to foot and attempted to
      return to his desk, but was easily redirected back to his task, briefly. Notably, Kevin used his left hand to
      write answers to math problems on the board but required help to solve the problem.
      Note: The school district's lawyer coordinated the observation, and prior to the observa~ion, the lawyer
      instructed the special education teacher to engage in instructional time even though the class had earned a
      movie. After 30 minutes of teaching the lesson, the teacher approached the examiner and asked if that was long
      enough before turning on the movie (as a reward for good behavior throughout the week).
      BEHAVIORAL OBSERVATIONS:
      Kevin presented for testing appropriately dressed and groomed and accompanied by his father and his
      father's partner (Ebony Guy). Notably, Kevin wore his glasses during today's session. Kevin's hearing and
      vision appeared adequate for testing, as he appropriately responded to visual and auditory stimuli.
      Throughout the evaluation, Kevin was easily distracted and often left his seat. Once he warmed up to the
      examiner, his behavior and focus improved and he was more willing to complete work. However, he still left
      the testing table often and was distracted by items in the testing room. Frequent prompts and reminders
      were needed to help him focus. In addition, breaks were allowed between subtests to help him attend to
      tasks. At times, Kevin answered impulsively and picked answers without looking at all options. Additional
      teaching on sample items was needed to ensure comprehension ,
                                                                       of task demands.
      About verbal communication, Kevin used a variety of spontaneous single words (e.g., "car," "police,'' etc.) and
      phrase speech (e.g., "my turn" and "watermelon, yum-yum"). However, most language was used for labeling
      items or echolalia (i.e., repeating what others said). Although Kevin used gestures to communicate (e.g.,
      blowing a kiss, waving, etc.) he poorly integrated them with verbal communication and did not appear to
      adequately understand others' gestures. Throughout the evaluation, Kevin made variable eye contact with
      others, which improved throughout the session. Furthermore, Kevin responded to his name intermittently,
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                                                                                                                                                  Bardwell, Kevin
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as he sometimes ignored others. Kevin did direct many facial expressions toward others for a variety of
emotions including excitement and confusion.

Additionally, Kevin demonstrated several behaviors associated with autism including repetitive behaviors,
restricted interests, and sensory-related behaviors. Repetitive behaviors included lining up toys and he often
fixated on the toy food and cars. Notably, Kevin engaged in some imaginative play, as he participated in a
birthday party routine and pretended to cook and eat the play food. Sensory-related behaviors included
covering his ears when ignoring others and blowing air from a foam rocket launcher into his face and ears.
However, these behaviors were consistent with his caregivers' reports of his performance in a variety of
settings. Thus, results from today's evaluation are likely a representative sample of Kevin's current abilities.

TEST RESULTS:

                     Standard Score                                   Scaled Scores                              Narrative Descriptor
                                ~140                                            18+                                    Extremely High
                            130-139                                            16-17                                     Very High
                            120-129                                            14-15                                        High
                            110-119                                            12-13                                    High Average
                              90-109                                           8-11                                       Average
                               80-89                                            6-7                                     Low Average
                               70-79                                            4-5                                         Low
                               60-69                                            2-3                                      Very Low
                               "<59                                              1                                     Extreme! Low
          *Descriptors used in test interpretation for all cognitive, achievement, and adaptive measures. Adapted from Kranzler, J.
          H.. & Flnvd . R. r, , (2013). Assessin,n inte/li.n ence in children nnd ndn/e.<cents: A nrnrtirn/ n11ide. New York. NY: 1,11ilfnni Prf'ss

Comprehensive Test of Nonverbal Intelligence (CTONI-2)
The CTONI-2 is an individually administered clinical instrument for assessing the intellectual ability of
children without relying on the need to use spoken language. The CTONJ-2 provides a composite ~core that
represents general intellectual ability (i.e., Full-Scale IQ), as well as a Pictorial Scale and Geometric Scale. The
Pictorial Scale is designed to measure "higher-order" nonverbal abilities such as generalization,
discrimination, and sequencing. There is some cognitive verbal load required, although it is reduced. The
Geometric Scale measures "lower-order" nonverbal abilities with no verbal load required. This test of
intelligence has a mean (i.e., average score) of 100 and a standard deviation (i.e., measure of variance) of 15.
The index scales are based on individual subtests that have a mean of 10 and a standard deviation of 3.

                                                                          Standard             Scaled
                             Scale/Subtest                                                                     Percentile
                                                                            Score              Score
                               Pictorial Analogies                               --                 9                37
                               Pictorial Categories                   .          --                 4                 2
                               Pictorial Sequences                               --                 5                4
                             Pictorial Scale
                                                                      H

                                                                                73                 --                 3
                               Geometric Analogies                               --                 3                 1
                           I
                               Geometric Categories                              --                12                75
                           '
                               Geometric Sequences                               --                 2                <1
                             Geometric Se::ale                                  72                 --                 3
                             Full-Scale JO                                      70                 --                 2

Kevin's performance on the CTONI-2, revealed that Kevin's overall nonverbal intelligence fell in the Low
range. His scores were evenly developed between the Pictorial and Geometric scales. Further analysis
revealed variable performance across subtests, which was likely due to his variable attention and impulsive
responding. When Kevin focused and took his time to answer questions, he often got them correct. However,
he sometimes became repetitive with responding (e.g., always selected the last option) without looking at
each option carefully. Notably, these scores were higher than his performance on the WNV in September
2021. However, Kevin was allowed time to adjust to the examiner and feel comfortable in the testing room
before beginning any testing.
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 Vineland Adaptive Behavior Scales, Third Edition -Domain-Level Parent/Caregiver Form
  The Vineland-3 provides a comprehensive, norm-referenced assessment of the adaptive skills of individuals
  who are school-aged to adulthood. Adaptive behavior is defined as the performance of day-to-day activities
  necessary to take care of oneself and get along with others. Adaptive behavior is age-based and defined by
  the expectations and standards of others. In general, adaptive behavior represents the typical performance
  rather than the ability of the individual (i.e., what a person does versus what they can do). The Domain-Level
  form is completed by a parent/caregiver who can report knowledgably on the adaptive behavior of the
  examinee. The Domain-Level form of the Vineland-3 is standardized for children and adults ages 3 years and
  older and contains four adaptive skill areas and an Adaptive Behavior Composite (ABC; standard score of
. 100 with a standard deviation of 15). Results are presented below:
                                      Parent - Kevin Bardwell, Sr.                                                                                     I
                                                            ~tanoara score                                            v-scale
        Domain                     -
                                   .,                                                                                            __ , f.er,:e,:enµte
                              --••       (90%               Conflden(:e Interval)                                      Score
        Communication                                           so (42-58)                                                --              <1
        Daily Living Skills                                     71 (62-80)                                                --               3
        Socialization                                           67 (60-74)                                                --               1
        Motor Skills                                            73 (64-82)                                                --               4
        :Adaptive Behc1vior Composite                           63 (58-681                                                --               1
                                        Teacher - Erjka Malone
        Domain                                       I     Standard
                                         ,..,... ,... ,., , ,..   .... .
                                                                         Score
                                                                           - .
                                                         ,..._;,,~ ...,,,, ~.~~~~-•~f"-"•1• ·,._. ,,,,., .,   "   "
                                                                                                                      v-scale
                                                                                                                      "
                                                                                                                                    Percentile

        Communication                                                      48 (38-58)                                                     <1
        b aily°Li~ing Skiiit~•---- ,-•-Y""~   ,.v~                         53 (44-62)                                                     <1
        Socialization                                                      53 (44-62)                                                     <1
        Motor Skills                                                       56 (44-68)                                                     <1
        Adaptive Behavior Composite                                        51 (44-58)                                                    <1
        Joternalizjl}g                                                                                                    19
        E}{ternalizin                                                                                                     19
Per bis father's responses on the Vineland-3, Kevin's overall Communication skills fell in the Extremely Low
range. His father reported that Kevin sometimes uses plurals, sometimes follows if-then statements, and
sometimes says his name when asked. However, Kevin does not use the word "and" when speaking, does not
answer "wh-" questions, and does not use advanced gestures to communicate. His Daily Living Skills fall
within the Low range. Notably, Kevin sometimes counts objects one-by-one, sometimes puts clothing on
correctly, and sometimes buttons large buttons. However, Kevin consistently stays with his parents in public,
is careful around hot and sharp objects, and wipes up his own spills. His Socialization and Motor Skills fall
within the Low range. Socially, Kevin does not say how others are related to him, does not try and make
friends with others his age, and does not modulate his speech to fit the conversation. However, Kevin does
have a best friend, does copy what other children are doing, and sometimes follows limits placed by parents.
Kevin's overall level of adaptive skills were reported to be in the Very Low range and are consistent with his
cognitive functioning as measured by the CTONl-2.
Ms. Malone's ratings on the Vineland-3 suggest that Kevin's adaptive functioning across all areas is in the
Extremely Low range. Regarding Communication skills, Kevin does not say his age when asked, does not
respond to "wh-" questions without support, and does not use plurals. However, she reported that Kevin
does write his full name from memory and can sometimes complete 1 ~page forms. For Daily Living Skills,
Kevin finds the appropriate bathroom, asks for help when needed, and understands what a clock is used for.
However, he does not stay focused when .the teacher is speaking, does not understand healthy vs. unhealthy
foods, and does not complete homework independently. Socially, Kevin does not help others when asked,
does not share when asked, and does not play with peers without supervision. However, Kevin does control
his anger, does act differently around different people, and does use words to express his emotions.
Regarding Kevin's maladaptive internalizing behavior, Ms. Malone reported that he avoids interacting with
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others, sometimes is overly needy, and sometimes lacks interest in completing tasks. However, he does not
complain of feeling sick without a medical reason and is not irritable. For externalizing behavior, Kevin
sometimes is stubborn and sometimes is more active than peers. Overall, these ratings align with previous
adaptive ratings across measures and testing sessions.
Behavior Assessment System for Children, Third Edition - Parent Rating Scales-Child (BASC-3 PRS)
The BASC-3 PRS is a guardian-completed broadband measure designed to evaluate the behavior of children
and young adults aged 2 through 25 years. The BASC-3 PRS is a comprehensive measure of both adaptive and
problem behaviors, and the Child form is used for children aged 6 through 11. The form contains descriptors
of behaviors th.at the respondent rates on a four-point scale of frequency, ranging from 'never' to 'almost
always.' The PRS assesses the three broad domains of: Externalizing Problems (i.e., Hyperactivity,
Aggression, and Conduct Problems), Internalizing Problems (i.e., Anxiety, Depression, and Somatization).
;;nd AdapU·v·e (i.t., Auc1JJi.c1uiiity, Social :>k11is, Leadership, Activities of Daily Living, and Functional
Communication). In addition to scale and composite scores, the PRS provides a broad composite, the
Behavioral Symptoms Index (i.e., Atypicality, Withdrawal, and Attention Problems). All validity scales on the
BASC-3 PRSwere within the Acceptable range, suggesting that Mr. Bardwell's responses are likely an accurate
representation of Kevin's current behavioral and adaptive functioning. On the BASC-3 PRS, Mr. Bardwell
reported I<evin to exhibit behavioral symptoms across all areas. However, Mr. Bardwell rated Kevin's
Adaptive Skills to be in the Clinically Significant range (T = 30). Main concerns in this area are due to Clinically
Significant levels of problem behaviors regarding Kevin's, Social Skills (T = 30) and Functional
Communication (T = 25), as well as At-Risk levels of Adaptability (T = 36) and Leadership (T = 31). Such a
profile vf scuri.:s is consis~Ei:tt ·v\:i~h ~n .l\S0 J~ Cd"?; ·J\1.-~i :~

Behavior Assessment System for Children, Third Edition - Teacher Rating Scales-Child (BASC-3 TRS)
The BASC-3 TRS is a teacher-completed broadband measure designed to evaluate the behavior of children
and young adults aged 2 through 25 years. The BASC-3 TRS is a comprehensive measure of both adaptive and
problem behaviors, and the Child form is used for children aged 6 through 11. The form contains descriptors
of behaviors that the respondent rates on a four-point scale of frequency, ranging from 'never' to 'almost
always.' The BASC-3 TRS assesses the three broad domains of: Externalizing Problems (i.e., Hyperactivity,
Aggression, and Conduct Problems), internalizing Problems (i.e., ·Anxiety, Depression, and Somatization),
School Problems (i.e., Attention Problems and Learning Problems), and Adaptive (i.e., Adaptability, Social
Skills, Leadership, Activities of Daily Living, Study Skills and Functional Communication). In addition to scale
and composite scores, the BASC-3 TRS provides a broad composite, the Behavioral Symptoms Index (i.e.,
Atypicality and Withdrawal). Validity scales on the BASC-3 TRS indicate that Ms. Malone responded to items
in a consistent manner but reported an unusually high number of maladaptive behaviors (F-Index). However,
based on information provided during the clinical interview and behaviors observed during testing, these
ratings may be an accurate reflection of Kevin's current behavioral and socioemotional difficulties. On the
BASC-3 TRS, Ms. Malone reported Kevin to exhibit an At-Risk level of concern with Externalizing Problems
(T =61). Specifically, Kevin demonstrates Clinically Significant levels of Hyperactivity (T =71). Kevin's School
Problems fell in the Clinically Significant range (T = 79) due to Clinically Significant Attention Problems (T =
71) and Learning Problems (T = 82). Regarding his Behavioral Symptoms, Ms. Malone reported Clinically
Significant concerns (T = 74), with Clinically Significant Atypicality (T = 90; e.g., does strange things) and
Withdrawal (T = 75). Similarly, Ms. Malone rated Kevin's Adaptive Skills to be in the Clinically Significant
range (T = 19). Main concerns in this area are due to Clinically Significant levels of problem behaviors
regarding Kevin's Study Skills (T = 22) and Functional Communication (T = 19), as well as At-Risk levels of
Adaptability (T = 36), Social Skills (T = 31) and Leadership (T = 32). Such a profile of scores is consistent
with an ASD diagnosis and indicates the need for further examination of Kevin's social development and
current level of functioning to rule-out other neurodevelopmental disorders.

Conners, Third Edition - Parent Short Form (Conners-3)
This measure is a narrowband, parent-completed assessment of Kevin's current behavioral and social-
emotional functioning related to symptoms associated with attention-deficit/hyperactivity disorder
(ADHD). The Conners-3 uses T-Scores with a mean of SO and a standard deviation of 10. The validity indexes
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                                                                                                              Bardwell, Kevin
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for the Conners-3 were within the Acceptable range-suggesting that parent responses are likely an accurate
representation Qf Kevin's current behavioral and adaptive functioning. Mr. Bardwell's responses on the
Conners-3 indicate that Kevin exhibits Clinically Significant symptoms related to Learning Problems (T = 90)
Inattention (T = 83), and Hyperactivity/Impulsivity (T = 77). Mr. Bardwell also reported At-Risk concerns
for Peer Relations (T = 69). Overall, Mr. Bardwell's responses on the Conners-3 indicate that Kevin exhibits
difficulties in learning, peer relations, attention, and hyperactivity/impulsivity, all of which are symptoms
associated with autism and intellectual disability.
                  \
Conners, Third Edition - Teacher Short Form (Conners-3)
This measure is a narrowband, teacher-completed assessment of Kevin's current behavioral and social-
emotional functioning related to symptoms associated with attention-deficit/hyperactivity disorder
(ADHD). The Conners-3 uses T-Scores with a mean of SO and a standard deviation of 10. The validity indexes
fo;- thi:: Cuii111:i:,-3 we1 e wii.l1in l.he Acceptabie range-suggesting that teacher responses are likely an
accurate representation of Kevin's current behavioral and adaptive functioning. Ms. Malone's responses on
the Conners-3 indicate that Kevin exhibits Clinically Significant symptoms related to Inattention (T = 77),
Hyperactivity/lmpulsivity (T =80), Learning Problems/Executive Functioning (T =78), and Peer Relations
(T = 73). She also reported nearly At-Risk concerns for Defiance/Aggression (T = 59). Overall, Ms. Malone's
responses on the Conners-3 support his current diagnoses of autism and intellectual disability.

Social Response Scale, Second Edition (SRS-2) - Parent
The SRS-2 comprises 65 items to assess for problems related to autism spectrum disorder. Symptom areas
inrh1rle: Sori;:il Aw;irPness, Sori;:il Cnenitinn , S0rirtl rori,rnnnir::ltinn, Snr-i;:i! tvfotiv::itinn ::rnrl RP<:trirtpn
~uc~, c.n" cua.~ ~\.t::!)t::uuve veHav,u1, as we11 as a 1 oca1 ::iymptoms Score. l'he ::,H,S-2 also combines to form two
subscales: Social Communication and Interaction and Restricted Interests and Repetitive Behaviors. Parents
rate how true each behavior is on a scale from 1 (not true) to 4 (almost always true). The SRS-2 uses T-scores,
with a mean of SO and a standard deviation of 10. Scores 59 and below are within normal limits; 60-65 are
in the Mild range; 66-75 are in the Moderate range; and 76 and higher are in the Severe range. Ratings from
Kevin's father placed him in the Mild range of the Total Symptoms Score (T = 60). Kevin's father's ratings
also placed him in the Mild range for Social Awareness (T = 60), Social Motivation (T = 64), and Social
Communication (T = 60). Overall, these scores suggest deficiencies in reciprocal social behavior that are
clinically significant and may lead to mild to moderate interference with everyday social interactions.
Ultimately, these ratings support his diagnosis of autism.
Social Response Scale, Second Edition (SRS-2) - Teacher
The SRS-2 comprises 65 items to assess for problems related to autism spectrum disorder. Symptom areas
include: Social Awareness, Social Cognition, Social Communication, Social Motivation, and Restricted
Interests and Repetitive Behavior, as well as a Total Symptoms Score. The SRS-2 also combines to form two
subscales: Social Communication and Interaction and Restricted Interests and Repetitive Behaviors.
Teachers rate how true each behavior is on a scale from 1 (not true) to 4 (almost always true). The SRS-2
uses T-scores, with a mean of 50 and a standard deviation of 10. Scores 59 and below are within normal
limits; 60-65 are in the Mild range; 66-75 are in the Moderate range; and 76 and higher are in the Severe
range. Ratings from Kevin's teacher placed him in the Severe range of the Total Symptoms Score (T = 76).
Ms. Malone's ratings also placed Kevin in the Moderate range for Social Awareness (T = 73), Social Motivation
(T = 73), and Social Communication (T = 73); in the Severe range for Social Cognition (T = 76) and Restricted
Interests and Repetitive Behavior (T = 75). Overall, these scores suggest deficiencies in reciprocal social
behavior that are clinically significant and may lead to mild to moderate interference with everyday social
interactions. Ultimately, these ratings support his diagnosis of autism.
Autism Diagnostic Observation Schedule, Second Edition (ADOS-2) - Module 1
The ADOS-2 is a play-based assessment consisting of standard social interactions and activities that allow
examiners to observe behaviors that have been identified as important to the diagnosis of ASD. The scoring
algorithm used is dependent upon the verbal level of the child (either some words or few to no words). Based
on Kevin's language abilities, his scores on the ADOS-2 were derived using the Module 1 Some-Words
Conversion Table. Both algorithms combine items from the social affect and restricted and repetitive
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behaviors domains into a total score on which the cutoffs are based. In the 'some words' algorithm, a
minimum score of 8 indicates autism spectrum and a score of 12 or more results in a classification of autism.
In the 'few to no words' algorithm, a minimum of 11 is required for an autism spectrum classification and a
total of 16 or more indicates classic autism. In both algorithms, individuals that do not meet the lower
thresholds are classified as non-spectrum. The difference between autism and autism spectrum
classifications is one of severity, ":'7ith the former indicating more pronounced symptoms. Results are below:

                            Total            Spectrum           Autism         Comparison          Level of ASD-Related
     Classification
                          Raw Score          Cut-Score         Cut-Score         Score                  Symptoms
         Autism              11                  8                12                  5                      Moderate
Kevin's total score on the ADOS-2 was within the Autism range and indicated a Moderate Level of ASD-
re!;!.!:c1 ~y:r.ptor;;:;. Jr,. ttc ;;,·ea of ,;c,cial CuJ1uuu11icai.iu11, Kevin's vocalizations consisted ot spontaneous
single words/phrases (i.e., "car," "my turn," "watermelon, yum-yum"). Furthermore, Kevin used spontaneous
gestures to communicate (i.e., blowing kisses, waving). Notably, Kevin pointed frequently as a means of
communication during this assessment (i.e., pointing to request items on shelf, show items of interest to
others, etc.). Regarding reciprocal social interaction, Kevin engaged in inconsistent and fleeting eye contact,
which improved slightly as the session continued. Kevin initiated some interactions with others, but
primarily to get his needs met (e.g., requesting a toy). Furthermore, Kevin generally did not ask permission
to play with toys and often took them off the shelf independently. Kevin directed facial expressions to others
to communicate a variety of emotions (e.g., confusion, happiness). He used limited vocalizations to
commt!nic::i.te requc:.t~ 8n~ ~icl ~C't co~bi~e rcG t~?~t~                 ith eve r o~t~rt ",l+-hr ~n'h -:ihlf'.) t-n ,~c-p t:l"'rh
                                                                        1.\1                          11


11iueµe11uenuy, 1\.evm mrrequently integrated eye contact, gaze, and gestures with vocalizations to
communicate social intention. During interactive activities with the examiner (e.g., blowing bubbles, birthday
party routine) and non-interactive parts of the assessment (e.g., free play with toys), Kevin displayed shared
enjoyment. Additionally, Kevin was observed to show and give objects to others in a variety of situations and
tasks. Kevin partially initiated joint attention (e.g., looked from item to other person, but not back to the
item), but he responded to the examiner's bids for joint attention when the first time the examiner called his
name and looked to the target (e.g., electronic bunny). In the area of restricted and repetitive behaviors,
Kevin demonstrated stereotyped/idiosyncratic use of words and phrases. Specifically, Kevin frequently
engaged in immediate and delayed echolalia, serving as most of his vocalizations. Sensory-related behaviors
included covering his ears when he heard loud noises and blowing air from a rocket launcher into his face
and ears. No hand or finger mannerisms were observed. During play, Kevin engaged in repetitive use oftoys
(e.g., lining up toys) and preoccupation with certain toys (e.g., toy food, cars). Kevin generally transitioned
easily between tasks and limited rigidity was observed during today's session. Overall, Kevin demonstrated
several behaviors throughout the ADOS-2 that are consistent with ASD.
SUMMARY/CLINICAL IMPRESSIONS:
Kevin Bardwell is a 9-year, 2-month-old boy who was referred to IPS by his lawyer. Kevin's caregivers
reported concerns due to speech/language delays, social deficits, inattention, hyperactivity, repetitive motor
movements, sensory-related behaviors, and learning difficulties at home and school. During the session
Kevin demonstrated limited communication skills, hyperactivity, repetitive behaviors, variable social skills,
and difficulty sustaining attention.

With regard to social-emotional and behavioral functioning, results from the current evaluation suggest that
Kevin displays several symptoms characteristic of ASD, and information obtained from parent reports, rating
scales, and structured behavioral observations support significant deficits in social communication and
interaction, sensory-related behaviors, and restricted and repetitive patterns of behavior. Specifically, Kevin
demonstrated limited initiation of or response to social interactions. Kevin also demonstrated deficits in
developing, maintaining, and understanding relationships. He was inconsistently interested in · obtaining
others' attention, often ignoring others, and happy sitting alone in the cafeteria. Kevin also demonstrated
limited nonverbal communicative behaviors used for social interaction. Specifically, he did not consistently
initiate eye contact during social interactions and did not combine gestures consistently with vocalizations.
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                                                                                                        Bardwell, KeVin
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In the area of restricted and repetitive behaviors, Kevin demonstrated stereotyped/idiosyncratic use of
words and phrases. Specifically, Kevin frequently engaged in immediate and delayed echolalia, serving as
most of his vocalizations. No hand or finger mannerisms were observed, but he has a history of hand flapping
throughout development. During play, Kevin engaged in repetitive use of toys (e.g., lining up toys) and
preoccupation with certain toys (e.g., toy food, cars). Sensory-related behaviors included covering his ears
when he heard loud noises and blowing air from a rocket launcher into his face and ears. Given Kevin's
reported and observed difficulties in social communication, restricted and repetitive behaviors, and sensory-
related behaviors, he meets the criteria for the diagnosis of Autism Spectrum Disorder (DSM-5, 299.00;
ICD-10, F84.0), which partially explains his behavioral functioning. Overall, Kevin demonstrates extremely
noticeable impairments in social communication, and he will require substantial support at home and school
to develop successful social relationships. Furthermore, Kevin demonstrates restricted and repetitive
behaviors that significantly interfere i'Vith his daily functioning and will require substantial support to rcrl11rr>
related impairments.
Results from this evaluation support the presence of significant deficits in intellectual abilities and adaptive
functioning. Kevin's overall intellectual abilities were significantly delayed in comparison to same-aged peers
as measured by the CTONI-2. Kevin's adaptive functioning w~s also significantly delayed in comparison to
same-aged peers as measured by the Vineland-3. Furthermore, Kevin experiences deficits in the three core
areas of daily functioning (i.e., social, conceptual, and practical) because of his intellectual and adaptive
behavior delays. Regarding conceptual functioning, Kevin evidenced difficulties in cognitive and academic
functioning in comparison to same-aged peers. For instance, he has difficulty naming the days of the week in

specialized services to learn new concepts. Regarding his practical functioning, Kevin evidenced
inconsistencies in his ability to complete age-appropriate personal (e.g., putting shoes on correct feet,
checking appearance, and washing hair), domestic (e.g., showing respect when using other's possessions,
helping with household chores), and community (e.g., ordering at a restaurant, finding a public restroom,
and understanding safety concerns and behavior expectations) daily living tasks independently. Socially,
Kevin prefers to play alone, demonstrates some difficulties coping with changes in routine, and struggles to
make and keep friends. Taken together, these deficits in practical, conceptual, and social skills result in
moderate impairment in Kevin's overall functioning. Overall, Kevin's intellectual abilities and adaptive
functioning show that Kevin meets criteria for a diagnosis of Intellectual Disability, Moderate (DSM-5,
315; ICD-10, F71).
According to caregiver reports, clinical observations, and structured testing, Kevin displays behaviors
consistent with the core features of ADHD, including inattention, hyperactivity, and impulsivity at home and
school. Furthermore, during the evaluation he required multiple prompts to stay on task or attend to
presented stimuli, and he frequently became distracted by sounds outside of the room and items in the room
and required repetition of instructions. Kevin also displayed excessive hyperactivity/impulsivity throughout
the evaluation. He fidgeted in his seat, made noises with his mouth, and displayed out-of-seat behavior. He
demonstrated impaired impulse control by constantly grabbing testing materials and walking away from the
examiner while being asked questions. Overall, these behaviors moderately interfere with his ability to
appropriately regulate his emotions and behaviors. As such, Kevin meets criteria for Attention
Deficit/Hyperactivity Disorder, Combined Presentation - Moderate (DSM-5, 314.01; ICD-10, F90.2),
as it further explains his current behavioral and social difficulties.
DIAGNOSES:
     Autism Spectrum Disorder (DSM-5, 299.00; ICD-10, F84.0);
     Requiring substantial support for deficits in social communication;
     Requiring substantial support for deficits in restricted, repetitive behaviors;
     With accompanying Intellectual Disability, Moderate (DSM-5, 315; ICD-10, F71)
     With accompanying language impairment;
     Associated with Attention-Deficit/Hyperactivity Disorder, Combined Presentation - Moderate
     (DSMaS, 314.01; ICD-10, F90.2)
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                                                                                                                           Bardwell, Kevin
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RECOMMENDATIONS:
Based on the results of the current evaluation, the following recommendations were made:
   1. It is recommended that Kevin receive special education services through an Individualized Education
       Program (IEP) in the school system. More specifically, it is recommended that Kevin be enrolled in a
       classroom setting appropriate for a child with ASD, intellectual disabilities, and ADHD. Services
       should focus on behavioral, speech/language, and occupational therapies; self-help skills (e.g.,
       feeding and dressing); and socialization skills.
           a. To foster the development of Kevin's social skills, it is believed that he would benefit from
               receiving these services in a setting that also provides opportunities to interact with peers
              who do not have developmental delays.
                    i. Social skills to enhance participation in family, school, and community;
                   :i. E1:pr::::;:;i•:::: verbal lcir,guage, i-ci::ti-,i.ivt lctugudgt:, duu uunveroal commumcat10n skills;
                  iii. Increased engagement and flexibility in developmentally appropriate tasks and play,
                       including the ability to attend to the environment and respond to an appropriate
                       motivational system;
                  iv. Promoting behaviors that underlie success in education settings (e.g., completing
                       tasks, following instructions in a group, requesting for help).
           b. Based on Kevin's observed and diagnosed difficulties with attending, impulsivity, and
              hyperactivity, the following accommodations may be appropriate:
                    i. Kevin would benefit from additional one-on-one support from a teacher or
                        rl;:issrool1'! ;:p:::sist;:int tn inrrp;:ic:;:p ;:ittPnti0n tn t::isk As WPll   ?<;   instrnrtinn in ;:i sm;:ill-
                         group or 10w stuaent to teacher ratio.
                     ii. Teachers should stand near Kevin while they provide classroom instruction.
                    iii. It is important that the environment around his seat has minimal distractions.
                    iv. Kevin should be allowed extra time for completing activities. Sometimes time
                         constraints set up by teachers may not reflect the "real" time required by children
                         with ADHD and ASD.
                     v. Kevin may benefit from being a student helper (e.g., flipping pages to a book;
                         passing out materials for the teacher), which will keep her on-task and focused during
                         an activity that requires sustained attention.
                    vi. Provide Kevin with a 5-minute, 2-minute, and then 1-minute warning before a
                         transition occurs. Use of a timer may also be helpful in preparing him to finish a task.
                   vii. Visual reminders or a visual daily schedule chart placed on Kevin's desktop/table
                         can be utilized to support his ability to focus.
                 viii. Kevin's caregivers and teachers should use short and specific directions.
                    ix. Use of praise and rewards immediately after Kevin has completed a task or
                         followed a direction would also be effective in supporting his ability to attend.
           c. If these accommodations do not fully address his behavioral difficulties, a Functional
               Behavior Assessment (FBA) is conducted. The FBA should be used to develop an
               individualized Behavior Intervention Plan (BIP) to increase Kevin's prosocial and positive
               behaviors in the school setting.
  2. Given expressive/receptive language delays, Kevin would benefit from language therapy at school
     for 1-2 hours per week in a one-on-one setting. In addition to school therapy, it may be beneficial
     for Kevin to receive additional therapy through a local service provider (e.g., Methodist Le
     Bonheur Outpatient, Building Blocks, TEAM Autism, Simple Strokes, etc.).
  3. It is likely that Kevin will benefit from Applied Behavior Analysis (ABA) therapy at school, which
     supports the learning of new information (i.e., skill acquisition) through teaching and repetition using
     discrete-trials and natural environment teaching techniques. Services should be provided under the
     supervision of a licensed behavior analyst.
  4. Kevin would benefit from an occupational therapy evaluation at school to determine if he needs
     support for sensory-related difficulties (e.g., aversion to certain sounds, sensory-seeking behaviors)
     and daily living skills (e.g., dressing himself).               ·
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    5. Based on Kevin's noncompliance/defiant behaviors, differential reinforcement is an appropriate
       intervention to improve Kevin's behavior at home and school. Differential reinforcement entails
       planned ignoring of negative, attention-seeking behaviors (e.g., yelling, tantrums), and
       immediate praise of positive behaviors (e.g., following instructions, sharing).
           a. Consistently ignoring negative, attention-seeking behaviors will decrease their
              occurrence and consistently and immediately praising positive behaviors will increase
              their occurrence.
                   i. For example, if Kevin is interrupting his parents when they are working, they can give
                      one verbal prompt stating something like "I need to finish this I will talk to you in 2
                      minutes." and then return to their task. After this one prompt, any behaviors from
                      Kevin to get their attention again should be ignored, including not responding
                      verbally or nonverbally (e.g., \Vith eye contact or facial expressions). It m;:idc he
                      beneficial to set a timer so Kevin knows when he is able to interact with them again.
           b. Differential reinforcement coupled with consistent implementation of time-out procedures
              for non-ignorable behaviors (e.g., aggression or dangerous behaviors) is likely to improve
              Kevin's behavior. It is important to note that this is an all or none process, and if attempted,
              needs to be always implemented.
           c. Notably, when active ignoring is started, the behavior is placed on "extinction" and
              reinforcement (attention) is no longer provided. As such, an extinction burst is likely to
              occur, which will result in a brief escalation of problem behavior. See
              httr ~J/www.hhwrr1rP.~..f'f21i:1/P~_ti_n_rtin_11/ for more details.

       Kevin's family to implement in the home to help encourage prosocial behaviors:
            a. Kevin will likely benefit from increased structure:
                     i. Develop routines for everyday activities and adhere to the routine whenever possible.
                    ii. When transitions are necessary, give reminders. For example, tell Kevin, "You have 5
                        more minutes to play, and then it will be time for dinner". Follow up with 2- and 1-
                        minute reminders.
            b. Kevin will also likely benefit from opportunities to have increased choice:
                     i. Although many activities are not optional, give Kevin choices about his daily schedule,
                        dinner menu, etc. whenever possible.
                    ii. If he is resistant to a transition, offer a choice about what will occur next (e.g., "It is
                        time to stop playing. You may either take a bath or brush your teeth now. Which
                        would you like to do first?").
    7. It is recommended that Kevin's family share the results of this evaluation with his pediatrician or a
       developmental pediatrician through Le Bonheur's Neurodevelopmental Disorder (NDD) Clinic in
       order to discuss treatment options for ADHD and monitor his symptoms of ASD.
    8. Given the diagnosis of ASD, it is recommended that Kevin share the results of this evaluation with his
       pediatrician and discuss a referral to genetics for a chromosomal microarray and Fragile X testing, in
       addition to follow-up testing if initial assessment is inconclusive.
    9. Furthermore, it is recommended that the family contact Support and Training for Exceptional
       Parents (STEP; 1-800-280-7837, www.tnstep.org) for information, advocacy training, and support
       services eligible to parents of children receiving special education services under the Individuals with
       Disabilities Education Act (IDEA).
It was a pleasure to work with Kevin. If there are questions regarding the status of your report, or ifwe can
be of rther assistance, please feel free to contact IPS at the number above.



 Sara   . Irby, Ph.D.
 Psychologist: MS #58-1020
 Board Certified Behavior Analyst
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                                                              Individual Family Service Plan (Periodic)

Student: KEVIN BARDWELL                                                  Date of Birth: Nov 5, 2012                                                      Grade:ECSE


Family Language: English                                                                   Date of Com e-1t for Evaluation: 2014-07-17
Additional Language:                                                                       Date MDT: 21 14-08-21
EON Referral Date:
Family would like an Interpreter: No
Parent(s)/Guardian
Name: Kevin Bardwell Sr.                           Role: Parent                            Address: 121 7 Madison Avenue Norfolk, NE 63701
Home phone:                                        Work phone:
Name: Antoinette Brandy                            Role: Parent                            Address: 121 , Madison Avenue Norfolk, NE 53701
Home phone: 402-640-8206                           Work phone:

Services Coordinator / Case Manager Information
Name: Margaret A. Jensen                                                                   Address: 140 i Riverside Blvd., PO Box 293, Norfolk, NE 68702-0293
                                                   Agency: Northeast Nebraska Community -
Phone: 402-371-7284
                                                   Action Partnership / NENCAP




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE    I DOB: 2012-11-05 I SRS Student I :   #1438502   I District:   Norfolk PL blic Schools   I School:   Early
Childhood Center                                                                                                                                                                       Page 1
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IFSP Meeting Dates
Type                                                       Date                                                        Date Sent
Periodic                                                   2015-02-05                                                  2015-02-12

IFSP Previous Meeting Dates
Type                                                       Date                                                        Date Sent
No previous meeting dates found.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 I SRS Student It #1438502 I District: Norfolk Putlic Schools I Schooi: Early
Childhood Center                                                                                                                                                        Page 2
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                                        Priority: Find out more about Kevin's hearing. Check out options fc - resources if he has a hearing less.
                                        Update:Kevin was seen at Boys Town on August 22. The tests indi• ated that left ear finding sugg ~sts normal high frequency hearing
                                        sensitivity and mid low-to-mid frequency hearing loss. Right ear fi 1 d'. ngs suggest normal to near 1ormal hearing sensitivity. Boys Town
                                        recommended that he be followed by EDN due to significant delay ; :n speech and language development. They also recommended that
                                        hearing sensitivity and middle ear status be monitored and his he, ririg be followed closely.
                                        The results of the hearing test was shared with NPS teachers of de: 1f and hard of hearing.
                                        Plan: His hearing will be monitored by Melissa Jantz.

                                        Priority: Figure out ways to keep Kevin occupied so he is not preoc :1·pied with eating cotton .
                                        Update: Kevin still picks at the furniture and eats the stuffing once i1 awhile but not as much as t efore. He eats crayons, pencil eraser,
                                        his sister's lip gloss. He finds the tiniest little things on the floor ar c. puts them in his mouth.
                                        Plan: Continue to find ways to keep him occupied and not putting I , ngs in his mouth.

                                        Priority: Explore activities that will help Kevin talk more and intera· t more with his family. Focus c n activities that will help Kevin
                                        communicate what he wants and needs.
                                        Update: Kevin communicates his wants and needs in a variety of v 3 ts. He pushes his parents to t he kitchen when he wants something.
                                        He cries if they leave the kitchen and haven't given him what hew nts. He drops to the floor when he doesn't want to go where you are
                                        taking him. He stares at what he wants. He makes a different soun t for wanting a drink or somethirig to eat. He is beginning to reach for
                                        what he wants when offered a choice of two snacks.
Feb 5, 2015                             Plan: Continue to focus on ways to help Kevin communicate what t c wants and needs.

                                         Priority: Review options for resources that will help the family.
                                         Driver's License: Kevin has contacted sources in Chicago. He need:       : o reopen his case there. He i:; working on that.
                                         Landlord: The landlord tenant handbook was shared with the famil:       . They would prefer to stay in :heir current home since it is large
                                         enough to meet their needs.
                                         Kevin's vision: Information about the Vision USA program was shar·        r I. Kevin contacted them and i; in the process of providing the income
                                         verification needed.
                                         Legal issues: Kevin will just have a fine.
                                         55I-DCP: Kevin Jr. is eligible for SSI and the 55I-DCP program. He a1   :' his sister, Janiah, receive res pite care funding through the S5I-DCP
                                         program . Antoinette is familiar with Jeanette Hastings, 55I-DCP Cas    , Worker, and how the S5I-DCF· program works.
                                         Plan: Continue to review needs and options for resources.

                                         Kevin may have surgery on the second toe on his right foot. He wil 5ee a bone specialist at the b1Jrn clinic in Lincoln next week. The
                                         specialist will determine what will be done.
                                         Plan: Antoinette will keep the team informed about the plan.

                                         Antoinette is wondering about potty training for Kevin.
                                         Plan: Explore strategies when Antoinette is ready to start potty trai ng.

Previous IFSPs
Date                                                Previous IFSP Text:




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05        I SRS Student II    #1438502   I District:   Norfolk Pu .1lic Schools   I School:   Early
Childhood Center .                                                                                                                                                                          Page 3
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                                                   Antoinette and Kevin Sr. noticed that. like his sister, Jani& 1. Kevin Jr. was not respondin£ to his name and sounds in home. They
                                                   are concerned about his hearing. Kevin does not like ha\ n1 his ears touched so a hearing test at Norfolk ENT was not
                                                   successful. He will be sedated for a hearing test at Boys: J1vn west campus on August 22nd.
                                                   Priority: Find out more about Kevin's hearing. Check out c oi.ions for resources if he has c hearing loss.

                                                   Kevin Sr. and Antoinette shared that Kevin eats non-food terns. They have to monitor him closely or he will pick at the mattress
                                                   or couch until he makes a hole. He eats the stuffing.
                                                   Priority; Figure out ways to keep Kevin occupied so he is i c~ preoccupied with eating cotton.

                                                   Antoinette and Kevin are concerned that Kevin is not talk 1'.l • They don't know when he i; hungry because he never asks for
                                                   food . They keep food available for him around the house c he ca n find it when he is hur,gry. They notice that he is in his own
                                                   little world and doesn't interact with his brother, Kevvon. : :vin Sr. shared that Kevin doEisn't respond back and forth with them.
                                                   e.g., repeating words, making sounds. They would like Ke •i 1 to interact more with them and his siblings.
2014-08-21
                                                   Priority: Explore activities that will help Kevin ta lk more a1c interact more with his family. Focus on activities that will help Kevin
                                                   communicate what he wants and needs.

                                                   Kevin prefers being at home. He does not like going outs1j ~- He cries the whole time when they go to the park. When the older
                                                   children are home and can watch him, they leave him at I c me while the family goes to the park.

                                                   Kevin would like to know more about options for resource
                                                   -His driver's license was suspended in Chicago. He would ~ally like to get his driver's liCf!nse so he wouldn't have to walk to
                                                   work and be able to take advantage of more employment :;.oportunities.
                                                   -He wonders about what their landlord is required to do a1 u nd the house and what they are required to do. He likes the house
                                                   they are living in because it is big enough for their family.
                                                   -Kevin is concerned about his vision . He'd like to see bettc -
                                                   Priority: Review options for resources that will help the far ly.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-051 SRS Student 11 #1438502             I District:   Norfolk Pul,lic Schools I School: Early
Childhood Center                                                                                                                                                                      Page4
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I •   .                                                                                                              .....
                                         2-5-15
                                         Baby KaAliyah joined the family on January 7th . She is a good bab_.
                                         Antoinette returned to work at McDonald's on February 3rd followi ·\ maternity leave.
                                         Kevin is showing more interest in his toys now. He loves his blocks I le loves bath time and notices every opportunity to climb in the tub.
                                         He is persistent when communicating what he wants. He commun· :,1tes what he wants and doesn't want in a variety of ways, e.g., covers
                                         his ears, drops to the floor, stares at what he wants, pats your legt
                                         He notices Melissa's bag when she arrives for a home visit now. Hf i ; interested in what's in the tag.
Feb 5, 2015
                                         He is interacting more with KJ now. He notices what KJ is doing anc i.; beginning to imitate what h -~ is doing. He is doing some activities on
                                         his own now instead of wanting you to do it, e.g. writing with the p 11 .
                                         Kevin Sr. and Antoinette are focusing on specific activities, e.g., ca i 1g his name, making eye contact when offering choices, giving his
                                         choices.
                                         Kevin's siblings are aware of his needs.,e.g., .everyone is aware thz : ,oud noises are hard for Keviri.
                                         Kevin and Antoinette notice the difference in how Kevin is making _c me sounds and that each wa / means something different, e.g., drink
                                         or hunger.
Previous IFSPs
Date                                                Previous IFSP Text:
                                                    Kevin:
                                                    He no longer has to go to medical physical therapy for his --~et.
                                                    He finger feeds himself. He finds his sippy cup and food th 1 this parents make available to him during the day.
                                                    He stops what he is doing when Antoinette says, "Aa Aa A ·· or Kevin Sr. thumps his fingE rs.
                                                    He loves bath time.
                                                    His gross and fine motor skills are appropriate for his age.
                                                    He has a good memory.
                                                    He figures out ways to get what he wants.


2014-08-21
                                                    Family:
                                                    Kevin Sr. and Antoinette both want to know what they can lo to help Kevin.
                                                    Antoinette shared that she is relieved to know that Kevin c 1alifies for services because she saw how services helped Janiah.
                                                    Kevin and Antoinette's work schedules allow one of them t be home with the children. A;ha Stewart cares for the little boys
                                                    when needed.
                                                    Kevin's siblings help monitor what he is doing and alert th< r parents when he is getting i1 ·to thi ngs.
                                                    Antoinette's cousins watch Kevin when they can so he can ,tay home when the fa mily go :S to the park.
                                                    The family has a daily routine that works for them. The ch i Iren know the routine.
                                                    Kevin Sr. and Antoinette work together and kn ow what the want to do.
                                                    Kevin has a dream of working for himself and starting his c vn business.




                               I
Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05         I SRS   Student 11 #1438502   I District:   Norfolk Pul>lic Schools I School: Early
Childhood Center                                                                                             ·                                                                         Page 5
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                                         Vision is not a concern at this time. Kevin can still spot the tiniest hing on the floor even when         nri   on e else sees it.
Feb 5, 2015
                                         He likes to watch the Baby First Channel.
Previous IFSPs
Date                                                      Previous IFSP Text:
2014-08-21                                                Vision is not a concern at this time. Kevin sees the :i :1iest little things , e.g., crumts .

I •   •

                                         Kevin covers his ears with his hands when noises are too loud, e.g ·1elling or speaking loudly. WI 1€n a noise is too loud, he covers his
                                         ears, runs and screams.
Feb 5, 2015
                                         If Kevin is in the living room and he hears the Baby First Channel's 1, usic in the bedroom, he runs to the bedroom.
                                         He responds when he hears Antoinette say "Pat-a-Cake" and "Pee~ -, -Boo." When he hears the wct~r running, he knows it is bath time.
Previous IFSPs
Date                                                Previous IFSP Text:
                                                    Kevin passed the newborn hearing screening. There are c        ,11cerns about his hearing due         :o a sibling wi th hearing loss. His
                                                    parents notice that he does not respond to sounds in his t     : 11e. He does not come wh en          : alled. A hearing test was attempted at
2014-08-21                                          Norfolk ENT on August 4th. That was not successful beca         ! e Kevin does not like having        ,;s ears touched . A sedated ABR is
                                                    scheduled on August 22nd on west campus of Boys Town            J,tional Research Hospital.
                                                    Kevin Sr. shared that some days Kevin will do exactly whi         he says but he doesn't know         f Kevin Jr. understands.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05            I SRS Student II   #1438502   I District: Norfolk Pul ,lic Schools I School: Early
Childhood Center                                                                                                                                                                           Page 6
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                                                                                                                                                              '
                                        Dr. Pierce continues to monitor Kevin's health. He weighs 23 poun Is . He is current on his immun zations. He participates    in the WIC
                                        program.
                                        He doesn't wear the compression socks any more. His skin looks e ,cellent and is smooth.
Feb 5, 2015
                                        Kevin may have surgery on the second toe on the right foot. He is ;cheduled to see a bone speci,1list at the clinic in Lincoln next week.
                                        The condition of the toe is throwing off his balance. Antoinette sh, P!d that the "bone is off track' . Medical physical therapy was initiated
                                        to address the issue but stopped went it wasn't helping the issue.
Previous IFSPs
Date                                               Previous IFSP Text:
                                                   Dr. Erin Pierce monitors Kevin's health locally. He is curre 1t on his immunizations. He pa-ticipates in the WIC program.
                                                   Antoinette estimated that he weighs about 24 pounds.
2014-08-21
                                                   Kevin was severely burned on his feet in February 2014. I e's has two surgeries on his feet. Skin from his thigh was grafted to
                                                   his feet. Antoinette puts lotion on his feet. He wears speci 1' Si:>Cks on both feet all the tinie.                -
                                                                                                                                  a- - - ~ - - ----:,---- -
                                                                                                                                         .   '
                                         Kevin pulls out the kitchen drawers so he can climb up to get what , on the counter.
                                         He is more observant of what is happening around him now, e.g., v ,,tched KJ drop things through the handle of the push toy and then did
                                         it himself; watched where his sister was getting the pencils and go nto them himself.
                                         Kevin is starting to imitate more. He imitates his siblings when he, ,es them dancing to the Just [ ance video, e.g., he turns around in
                                         circles.
                                         Kevin remembers how you use your hands to erase t hings on the r:: 1 Jne so he takes your hand and wants you to erase things on paper.
Feb 5, 2015                              He is more interested in his toys now. He sits down and tries to fig1      them out. Antoinette sharej that he was always given a truck in a
                                         box at the specialist's office in Lincoln. In the past he didn't pay att 1tion to it. At his last visit, he pushed the truck around.
                                         He loves phones and knows that he has to swipe the screen .
                                         He is working on making eye contact when given the choice betwe 1 two snacks. He is beginning to reach for what he wants when given
                                         two choices. Everyone is working on getting him to point to what hr wants.
                                         If his parents take his clothes off in the living room, Kevin runs to ti · bath room because he know, it means that it is bath time.
                                         He uses the phone's stylus to color on the phone.
Previous IFSPs
Date                                                     Previous IFSP Text:
                                                         Kevin likes the Baby First Channel.
                                                         Kevin likes the wagon. He pulls it around and climbs i      and out of it.
                                                         Kevin mostly roams around the house during the day.
2014-08-21                                               He hides pieces of cotton so he can get them later.
                                                         He is observant and has a good memory. He rememb            rs where his parents put things.
                                                         He pushes something around to stand on to get to thi        gs out of reach.
                                                         He plays little games with his parents, e.g. , plays Peel   -aBoo by pulling a blanket off !1is head.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-0S I SRS Student It #1438S02) District: Norfolk Pul,lic Schools I School: Early
Childhood Center                                                                                                                                                                Page 7
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                                            Kevin cries to get something. If he cries because he wants someth ng he is not supposed to have e.g., a pencil, he gets over it quickly if
                                            the object is out of his view.
                                            Kevin Sr. and Antoinette are really working on calling Kevin's nam ,,nd getting him to respond tc- it. He responded to his father a couple
                                            of times but has not consistently responded when called.
                                            Antoinette notices that Kevin says, "ooo ooo" differently for differe it wants. If he say, "oooo ooo" he wants a drink. If he says it more
                                            slowly, _he is hungry.
    Feb 5, 2015                             He is starting to make more sounds. He makes a low humming sot 1 J. He says, "mmmm, aaaaa, )0000". He makes a whining and
                                            squealing sound.
                                            If Kevin wants something in the kitchen, he gets mad if you walk o rt before getting it for him.
                                            Kevin drops to the floor when he doesn't want to go where you are t 1king him.
                                            He communicated that he wanted to continue a little game where 1toinette smelled his feet by ifting his foot multiple times.
                                            Kevin pats his father's leg when he wants someth ing in the kitcher 'f his father doesn't get up irr mediately, Kevin goes to the kitchen
                                            and sits down. He stares at what he wants.
    Previous IFSPs
    Date                                               Previous IFSP Text:
                                                       Kevin makes noises but isn't babbling.
                                                       He laughs at what he sees, e.g., Kevvon playing with a ba non.
                                                       Kevin whines when he can't get w.hat he wants. He cries v en he is upset.
    2014-08-21
                                                       He stops what he is doing when Antoinette says, "Aa Aa A 1" loudly. He looks at her, crie~ and walks away. He stops what he is
                                                       doing when his father thumps his fingers.


.   . ..
                                                       He touches you to indicate that he wants you to repeat ar ,1ctivity.



                                             Kevin eats the erasers off of pencils. He eats crayons . He puts any Ling he finds into his mouth. ~;e ate his sister's lip gloss.
                                             He doesn't just wander around as much now. He is watching the T\ ir going to get a toy.
                                             He interacts more with Kj now, e.g., Kj started to run with popper t,, . When he stopped, Kevin locked for him and laughed. Kevin kept the
                                             activity going by looking for KJ and laughing when he stopped .
                                             He still doesn't like going out. At the doctor's office, he played with ,e toys for a little bit and then walked along the wall.
                                             Antoinette shared that Kevin's memory is short,e .g., he may be pli ing with his blocks, want more but forgets that he went into the
                                             bedroom to get more blocks. He gets distracted with something el~
                                             Kevin occasionally has some repetitive behaviors but they are•not ; , long now.
    Feb 5, 2015                              He slides his head on the floor. He bear crawls with his head on the_ ·ioor. Joint compressions are being tried to help decrease that
                                             behavior.
                                             Sleeping is going better with the lV turned off. Having the room da ·: helps him go to sleep. The v. eighted blanket seems to help Kevin
                                             sleep better.
                                             If Kevin sleeps until noon, he wants to take a nap at 6:00 pm and ti :n won't go to bed until midni1Jht. Antoinette is working on g1:?tting
                                             him up earlier in the morning so he naps earlier and goes to bed ec ier. She shared that Kevin would sleep a long time if she let him.
                                             He snuggles with Antoinette.



    Previous IFSPs



    Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE       I DOB:   2012·11·05   I SRS   Student I'. #1438502   I District:   Norfolk Pu':llic Schools I School: Early
    Childhood Center                                                                                                                                                                           Page 8
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Date                                               Previous IFSP Text:
                                                   Kevin prefers to play alone. He puts his cars in his mouth N;1en playing with them.
                                                   Kevin likes to eat soft non-food items. He will pick at the o ch or mattress until he mak?S a hole and he eats the stuffing. He
                                                   plays with the cotton in his mouth until it gets soggy befc ·E. he swallows it if no one is w.1tching him. If his parents see the cotton
                                                   in his mouth and respond, he swallows it immediately. If I e can, he will put cotton in diff erent places so he can get it later.
                                                   Kevin sleeps with his parents . That makes it easier forth t , ~ to monitor where he is and ·11hat he is doing. Sometimes he moans
                                                   when he wakes but he usually doesn't say anything when t- ~ wakes. Sometimes he watc hes lV when he wakes and other times
                                                   he Just lays in the bed. .
                                                   Bedtime for Kevin and his brother, Kevvon, is 8:00 pm. Tr ? 1 watch their favorite lV shows until falling asleep. They are both
2014-08-21                                         usually asleep by 9:00 pm . Kevin sleeps through the nigh ·-1e takes a nap in the afternoo, . Some mornings, Kevin will sleep as
                                                   late as 10:30 or 11:00. The time of nap varies depending 111 when he wakes in the morn ng.
                                                   Kevin does not like being outside. He prefers to be at horr ~. He cries the whole time wh:n the family goes to the park. He
                                                   doesn't cry when the family goes swimming but he clings ·L· Ant oinette and she knows h? doesn't like it.
                                                   He calms down when his parents comfort him.
                                                   Kevin Sr. shared that little Kevin knows when he's done S( · 1ething wrong because he do:sn't whine as much when corrected.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012·11•05          I SRS   Student IC #1438502   I District:   Norfolk Public Schools   I School: Early
Childhood Center                                                                                                                                                                         Page 9
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                                         Kevin does not like wearing shoes and socks. If you can get his sht es on him and get him to walk around in them. he is OK. He hates
                                         wearing a coat. If you put a hat on his head, he snatches it right o'. '. He prefers to wear sweats arid pajamas. Kevin can take all articles of
                                         clothing off quickly.
                                         Kevin does not like getting his hair cut.
                                         Kevin loves bath time. He climbs into the tub by himself. When his s;ster left her bath water unat1 ended for just a minute, Kevin climbed
Feb 5, 2015                              into the tub fully clothed. Getting Kevin out of the tub at the end o L,ath time is a challenge.
                                         Kevin likes a limited number of foods. His favorites include yogurt, ;:i-,tmeal and cereal. He only Iii :es regular Cheerios and Captain
                                         Crunch. He will eat a little bit of macaroni. He eats his cereal with 1 lk. Sometimes he tries to usE a spoon. Most of time, Antoinette feeds
                                         him. He will finger feed himself but he wants to dump the food out
                                         Kevin likes cups with straws. At his brothers basketball game, he I ased his way down from his pc: rents so he could get to people's cups.
                                         He can drink from a regular cup without assistance. He is learning c not throw the cup when he i; done drinking.
Previous IFSPs
Date                                                Previous IFSP Text:
                                                    Kevin finger feeds himself. He doesn't want anyone to fee I him. If given a spoon, he thrc v,s it. He sits in a high chair during
                                                    meal time. Antoinette puts food on his tray until he indica t s he is done by throwing the food on the floor. He sits in the high
                                                    chair until they take him out. If he gets impatient. he tries tJ climb out of the high chair on his own. Kevin does not ask for food
                                                    or indicate that he is hungry so his parents make food av, I 3ble to him during the day. If he is hungry and food is available, he
2014-08-21
                                                    will eat it.
                                                    Kevin can take all articles of clothing off and he can be qu ck about it. He allows his pare 1:s to dress him and he assists by
                                                    pushing his arms through. He Is not yet lifting his legs wh, r- they put his pants and short; on.
                                                    Kevin likes bath time. He could stay in the bath tub for 20 :.> 30 minutes splashing and laying with his bath toys.


                                          Kevin writes on the wall when he finds a pencil.
                                          He likes blocks and can stack a lot of them.
                                          Kevin puts his hands on Antoinette's hands when they play Pat-a-C :e.
Feb 5, 2015                               He grabs your hand to get you to help him, e.g., hold the pen .
                                          He claps his hands.
                                          He holds the phone's stylus with a nice looking tripod grip. He mos, 1 uses his left hand. When he shifted the stylus to the right hand, he
                                          used a fisted grip.
Previous IFSPs
Date                                                 Previous IFSP Text:

2014-08-21
                                                                                                                  =
                                                     Kevin's fine motor skills are a strength. They are appropric: for his age.
                                                     Kevin picks at objects until he makes a hole. He pushes bl: :ons. He turns door knobs. He :Jicks up tiny little crumbs.




Student KEVIN BARDWELL ( School: Early Childhood Center ( Grade: ECSE I DOB: 2012-11-05 I SRS Student II #1438502            I District:   Norfolk Pu'1lic Schools I School: Early
Childhood Center                                                                                                                                                                     Page 10
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t      .

                                            Kevin turns around in circles until he makes himself dizzy.
Feb 5, 2015                                 He likes to swing. He tries to get out the door but isn't able to oper I he door by himself yet.
                                            Antoinette shared that., "He runs like a champ." He walks, runs an i : limbs. He crawls up and do1vn the stairs on his hands and knees.
Previous IFSPs
Date                                                   Previous IFSP Text:
                                                       Kevin's gross motor skills are a strength. They are approp i i te for his age.
                                                       Kevin walks and runs. He crawls up the steps on his ha nd. ,ind knees. His parents usuall·1 carry him down the steps or
2014-08-21                                             he bumps down, facing forward , on his bottom.
                                                       He squats to look at things and stands up without support
                                                       He climbs on the bike.




    Student: KEVIN BARDWELL I School: Early Childhood Center I Grade! ECSE I DOB: 2012-11-05        I SRS Student 11   #1438502   I District: Norfolk Pulilic Schools I School:   Early
    Childhood Center                                                                                                                                                                      Page 11
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Goal#l
Goal outcome:

Kevin will participate in play time by communicating his wants. We will know he                       G r     do this when he looks ,it or points to a toy two times
during a play activity. '

Child/ Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are willing to try new things to help Kevin progress.
They have experience with special education services and being an advocate for tr ci r children.
They have many people in the household tha~ can help with strategies set for Kevil Jr. to meet his goals.
Kevin's Early Development Network providers are knowledgeable about resources ; 1d willing to share inforriation and seek out information
to help Antoinette and Kevin.
What will be done/ by whom:

Kevin Sr. and Antoinette will:
Follow through with recommendations to find activities that will fit into their daily re 1tine.
Assist with scheduling visits and meetings so that services can be provided.
Share their questions and concerns.

Melissa, Early Childhood Special Educator, will:
Monitor and track overall development with Kevin Sr. and Antoinette.
Provide information to parents and providers about activities to promote overall de\ ~lopment focusing on activities that will help Kevin begin
to communicate.                                                                                                           ·
Demonstrate strategies and activities that the family can implement within their dai y routine to benefit Kevin Jr.

Margaret, Services Coordinator will:
Have monthly contact with Kevin Sr. and Antoinette to review questions and needs.
Consult with Melissa about services and needs related to helping Kevin Sr. and Ante 1ette accomplish the IFS., goals set for Kevin Jr ..
Coordinate the arrangements for meetings and facilitate communication with Kevin' . team.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS Student It   #1438502   I District: Norfolk Pullie Schools I School: Early
Childhood Cen.t er                                                                                                                                                            Page 12
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                                                         By Whom
Progress will be reviewed                                                                                                 How Measured
                                                         Parents, Early Childhood Special Educator, ; rd EON
6 months                                                                                                                  Parent Report, C bservation, and Information Shared
                                                         Services Coordinator
Plan Review for this Goal
02/20/2015
Goal progress:
8-21-14 New Goal
2-5-15 Update:
Kevin Jr. is demonstrating his wants and needs by using grunts and pushing his par~ nts to what he wants. If he wants someth ing to eat or
drink he will push his mom or dad into the kitchen. When given two food options, I r:!vin will reach for the item he wants but is not yet
forming a point. In play time, Kevin will reach for a toy that he wants to play with. I 1e will not point to the item and often times does not
make eye contact when making a choice. When the item is brought closer to the a :,ult's face, he will make a fleeting glance to the person's
face but then quickly return his focus to the item that he wants.
Goal comments:
8-21-14 New Goal
2-5-15 Update:
This goal will be continued with the focus on Kevin Jr. using a purposeful point towz ·d the item that he is chcosing while making eye contact
with the individual he is communicating with.




Student; KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS   Student 11 #1438502   I District: Norfolk Public Schools I School:   Early
Chlldhood Center                                                                                                                                                                Page 13
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Goal#2
Goal outcome:
Antoi nette and Kevin Sr. will have information about resources as they care for Ke'. i1 and their family.
Child/ Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are familiar with the community.
They have experience with special education services and being an advocate for tt E·ir children.
Kevin 's Early Development Network providers are knowledgeable about resources 11d willing to share information and seek out information
to help Antoinette and Kevin.
What will be done/ by whom:
Kevin and Antoinette will:
-Share their questions and needs.
-Choose what resource.s they want to pursue and provide the information needed t access those services.

Margaret and Melissa will:
-Review questions and needs during visits:
-Provide or seek out information regarding the needs that Kevin Sr. and Antoinette hare.
-Assist, as needed, to help Antoinette and Kevin to access th.e services, programs a d resources they want ti:. pursue
                                                          By Whom
Progress will be reviewed                                                                                                 How Measured
                                                          Parents, Early Childhood Special Educator a1 :l EON
in 6 months                                                                                                               Information shared and resources identified.
                                                          Services Coordinator
Plan Review for this Goal
02/20/2015
Goal progress:
8-21-14 New Goal.
2-5-15 Update:
Antoinette is very good about sharing information about Kevin . She shares ·her que~ :ions and concerns. Resources are ident ified as needed.
Kevin Jr. is now eligible for 551. Antoinette is familiar with 551 and the 551-DCP progr 1m because Kevin's siste · receives the benefits. Jeanette
Hastings, SSI-DCP Case Worker, has been in contact with the famil y and signed Kev 1 up for services throug ~ SSI-DCP.
The option of participating in the St. Nick program at Christmas t ime was offered ar j Antoinette chose to pa1 ticipate. Antoinette shared that
the gifts were good and what they requested.
Kevin Sr. was referred for the Vision USA program for assistance with an eye exam , nd glasses if nee_ded. He is still in the process of



Student: KEVIN BARDWELL I School: Early Chlldhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS   Student It #1438502   I District: Norfolk Pul ,llc Schools I School: Early
Childhood Center                                                                                                                                                                Page 14
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providing the information to document income eligibility.
lnformatiQn about Planning Region    and funding options for training is shared. In :'ormation about commur ity events is shared.
Goal comments:
8-21-14 New Goal.
2-5-15 Update:
We will continue to review needs and options for services. W~ will review the chant ·:~s that accompany the transition to Part B educational
services.
Antoinette and Kevin Sr. will be invited to participate in the 2015 Family Survey. Thy will be invited to the PRT Annual meeting in April.




Student: K.EVIN BARDWELL I SChool: Early Chlldhoocl Center I Grade: ECSE I DOB: 2012-11-05   I SRS Student It   #1438502   I District: Norfolk Puhlic Schools I School: Early
Childhood Center                                                                                                                                                                Page 15
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Goal#3
Goal outcome:

Kevin will participate in meal time by responding to his name. We will know he car io this when he looks at a family member who has called
his name and touched his arm one time during one meal per day.

Child / Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are willing to try new things to help Kevin progress.
They have experience with special education services and being an advocate fort~ : ir children.
They have many people in the household that can help with strategies set for Kevir Ir. to meet his goals.
Kevin's Early Development Network providers are knowledgeable about resources , 1d willing to share information and seek out information
to help Antoinette and Kevin.
What will be done / by whom:
Kevin Sr. and Antoinette will:
Follow through with recommendations to find activities that will fit into their daily n Jtine.
Assist with scheduling visits and meetings so that services can be provided.
Share their questions and concerns.

Melissa, Early Childhood Special Educator, will:
Monitor and track overall development with Kevin Sr. a!1d Antoinette.
Provide information to parents and providers about activities to promote overall de, 2lopment focusing on ac :ivities that will help Kevin begin
to communicate.
Demonstrate strategies and activities that the family can implement within their da y routine to benefit Kevi 1Jr.

Margaret, Services Coordinator will:
Have monthly contact with Kevin Sr. and Antoinette to review questions and needs.
Consult with Melissa about services and needs related to helping Kevin Sr. and Ante nette accomplish the IFSP goals set for Kevin Jr..
Coordinate the arrangements for meetings and facilitate communication with Kevin ; team.
                                                          By Whom
Progress will be reviewed                                                                                                  How Measured
                                                          Parents, Early Childhood Special Educator, a,       j   EDN
6 months                                                                                                                   Parent Report, Ob;ervation, and Information Shared
                                                          Services Coordinator




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11·05   I SRS Student It   #1438502   I District: Norfolk Public Schools I School:   Early
Childhood Center                                                                                                                                                                Page 16
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Plan Review for this Goal
02/20/2015
Goal progress:
8-21-14 New Goal
2-5-15 Update:
Antoinette has shared that Kevin Jr. has turned to Kevin Sr. calling his name a cour 1,~ of times but it is not consistent. Antoinette and Kevin
Sr. are working on this throughout all daily experiences. Kevin does show occasior cI response to some of the noises that his mother and
father make when he is doing something he is not supposed to do. If they do a lou :l, "Ah, ah, ah" he will typically stop touching the buttons
on the television.
Goal comments:
8-21-14 New Goal
2-5-15 Update:
This goal will be continued. The family will continue to practice and reinforce this <ill throughout their daily routines.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012·11•05 I SRS Student It #1438502   I District:   Norfolk Pullie Schools I School: Early
Childhood Center                                                                                                                                                            Page 17
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Goal#4
Goal out~ome:
Kevin will particip~te in b9th time by imitating. We will know he can do when he c, pies the actions or souncls he sees and hears his brother
Kevvon doing at l easf two times during a bath.
Child / Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are willing to try new things to help Kevin progress.
They have experience with special education services and being an advocate fort~ cir children.
They have many peopl~ in the household that can help with strategies set for Kevi1 Jr. to meet his goals.
Kevin's Early Development Network providers are knowledgeable about resources . 1d willing to share inforr1ation and seek out information
to help Antoinette and Kevin.
What will be done / by whom:
Kevin Sr. and Antoinette will:
Follow through with recommendations to find activities that will fit into their daily r Jtine.
Assist with scheduling visits and meetings so that services can be provided.
Share their questions and concerns.

Melissa, Early Childhood Special Educator, will:
Monitor and track overall development with Kevin Sr. and Antoinette.
Provide information to parents and providers about activities to promote overall de elopment focusing on activities that will help Kevin begin
to communicate.
Demonstrate strategies and activities that the family can implement within their de y routine to benefit Kevin Jr.

Margaret, Services Coordinator will:
Have monthly contact with Kevin Sr. and Antoinette to review questions and needs.
Consult with Melissa about services and needs related to helping Kevin Sr. and Ante nette accomplish the lf~;p goals set for Kevin Jr.
Coordinate the arrangements for meetings and facilitate communication with Kevin team.
                                                           By Whom
 Progress will be reviewed                                                                                                  How Measured
                                                           Parents, Early Childhood Special Educator, a d EDN
 6 months                                                                                                                   Parent Report, Observation. and Information Shared
                                                           Services Coordinator
 Plan Review for this Goal
 02/20/2015




 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE   I DOB: 2012-11-05 I SRS   Student 11 #l438S02   I District:   Norfolk Pu ,lie Schools   I School: Early
 Childhood Center                                                                                                                                                                   Page 18
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Goal progress:
8-21-14 New GO?il
2-5-15 Update:
During bath time, Kevin Jr. is very focused on playing, splashing, and pouring wate . He is not demonstrating imitation skills during this time
period but imitation is being noted in other portions of the day. During play time, h: will imitate things that i1is brother KJ is doing. For
example, when KJ drops blocks through the handle of a push toy, Kevin will observ, for a short period of tim= and then try the same thing.
 When his mother does patty cake, he will 'place his hands on the outside of hers tc ,jo the clapping along with her.
Goal comments:
8-21-14 New Goal
2-5-15 Update:
This goal was originally written to highlight bath time because that was one portior Jf the day that Kevin appeared to enjoy. To broaden
this goal, we will focus on expanding Kevin's imitation skills across all parts of his d y over the next 6 month period.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE   I DOB:   2012-11-05   I SRS   Student It •1438502   I District: Norfolk Public Schools I School:   Early
Childhood Cent-er                                                                                                                                                                   Page 19
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Are there special conditions for safe transportation for this child?
Kevin uses a standard car sear.
Services
Sen7ice:
Special Instruction
Setting:
Home
How often?                                          How much?                           Group/lndivic ' al                                   Nc1tural Environment
12 days/6 month period                              60 min/day                          Individual                                          Yes
When service Starts and Ends?                                    Who Pays?                                                    Responsible?
Feb 12, 2015 - Aug 5, 2015                                       School district                                              Teacher
The method of delivery for Part C services will be in person services.
Service:
Services coordination
Setting:
Home
How often?                                           How much?                          Group/lndivid al                                     Na '.:ural Environment
1 days/month                                        15 min/day                          Individual                                           Ye:-
When service Starts and Ends?                                                           Who Pays?                                            Re ;ponsible?
Feb 5, 2015 - Aug 5, 2015                                                               Early Developrr ~nt Network                          Se1 vices Coordinator
The method of delivery for Part C services will be in person services.




 Student: KEVIN BARDWELL ( School: Early Childhood Center ( Grade: ECSE ( DOB: 2012-11-05   I SRS   Student It lt1438502   I District: Norfolk Public Schools I School:   Early
 Childhood Center                                                                                                                                                                 Page 20
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Transition Conference Date:                                                             Estimated Tr 1 1sition Date:
Feb 5, 2015       ,,                                                                    Aug 31, 2016
Transition Plan
Transition Plan· Step 1:
 Kevin will be three years old on November 5th, 2015. If he continues to qualify for ~arly Development Netw)rk services at that time, his
 EDN team will create an appropriate transition plan to Part B educational services.
 Kevin Sr. and Antoinette vyill keep the team informed about any changes or transit '. ins that would affect services in the meantime, e.g.,
 moves, changes in contact information, hospitalizations.
                                     I

Who is responsible?                                        Time Line                                                       Date Complete cl
Kevin's EDN team includes: Parents, Early Childhood        02/20/2015                                                      02/05/2015
Special Educator, EDN Services Coordinator,
Transition Plan Step 2:
 Baby KaAliyah joined the family on January 7th.
 90 days before Kevin's third birthday is August 5th, 2015. Time line and process fc · transition to Part B edu:ational services was
 reviewed. Antoinett~ is interested in preschool for him. Melissa and Antoinette wi discuss options for Kevi11 to practice leaving the house
 since he is not comfortable doing that. They will review options for him to visit the ilayground since he likes swinging. Melissa will check
 out the option of Kevin having some of his visits during summer preschool hours sc that he can be exposed to other children and
 experience the classroom environment. We will finalize his transition plan when WE meet for his Annual Review in August.
 Kevin may have surgery on his foot. Antoinette will keep the team informed about 1e possibility after she rr eets with the specialist.
 Antoinette does not anticipate any other changes or transitions in the next six mon hs.
Who is responsible?                                        Time Line                                                       Date Completec
Team                                                       08/05/2015



Family Choice: Consent to the continuation of early intervention services                                 <l •   initiation of Special l:ducation services

      • I/We have received a copy of the Annual Transition Notice.
      • I/We have been informed about the differences between, and the right to choc se, early intervention services provided through an IFSP
        under the Individuals with Disabilities Education Act (IDEA) and the preschool pecial education service; provided through an
        Individualized Education Program (IEP) under IDEA once my/our child reaches 1ge 3.
      • I/We understand that if I/we choose for my/our child to receive special educati 1n services through an IE J, my child and family will no
        longer receive early intervention services nor will receive early intervention SE vices coordination.



 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS Student IC   #1438502   I District: Norfolk Pulclic Schools I School:   Early
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    • I/We unc;ter$tand that if I/we choose for my/our child to continue to receive ei r'y intervention services through an IFSP, at any time I/we
      may elect to receive special education preschool services instead of early in1 ?rvention services.
    • I/We understand that my/our consent to the continuation of early interventio 1 services is voluntary and that I/we may revoke consent
      at any time.

o Yes o No           I/We consent to the continuation of early intervention services for my/our child am :arnily through an IFSP after ny/our child's third birthday.
o Yes o No           I/We request initiation of preschool special education services for my/our child anc f:1rnily at or after age 3.


Parents / Guardian Signature
Parent Signature 1                                            Date                                                           Parent Signatme 1 On File
                                                                                                                                                              "-

Parent Signature 2                                            Date                                                           Parent Signatl.:re 2 On File




(If 'No' selected above, please explain)




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05      I SRS   Student 1; #1438502   I District:   Norfolk Public Schools   I School:   Early
Childhood Center                                                                                                                                                                       Page 22
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Team Members Present at the Meeting:
Name                                               Role                                        Address
Antoinette Brandy                                  Parent                                      1217 Madison ~·1e. Norfolk, NE 68701 402-640-8206
Name                                               Role                                        Address
Melissa Jantz                                      Early Childhood Special Educator/District   310 S 3rd St. , '( ) Box 139, Norfolk, NE 68702 -0139 402-644-2550
                                                   Representative
Name                                               Role                                        Address
Margaret Jensen                                    Service Coordinator                         1405 Riversid f 131vd., PO Box 293, Norfok, NE 68702-0293 402-371-7284

Others who are part of the Child/Family Team:
Name                                               Role                                        Address
Erin Pierce, M.D.                                  Pediatrician                                301 N 27th St :'1uite #1, Norfolk, NE 68701 402-844-8021
Family initial for copy of pages sent
A.B.




Student KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012·11·05         I SRS   Student 11 #1438502   I District:   Norfolk Pu ~lie Schools   I School:   Early
Childhood Center                                                                                                                                                                          Page 23
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Parents / Family lnforn,1ed Consent
The early intervention services will be provided as described in the IFSP and must : \( ~gin no later than 30 da:1s from the date of my/our
written consent. I/We understand that the IFSP will be reviewed at least every six ( i months.

     •   I/We understand that a copy of the IFSP, evaluation, child assessment and fa1 - ily assessment will be d;stributed within 7 calendar days.
     •   I/We understand that my/our consent is voluntary and that I/we may revoke c :. nsent at any time.
     •   I/We have b_een informed of the determinatiein(s) of the IFSP team in my/our I ative language or other mode of communication.
     •   I/We understand ~e can accept ~r decline any service listed in the IFSP withe :t jeopardizing receipt of other services we accept in the
         plan.

Parents / Guardian Signature
I/We understand the plan and parental rights and give permission to impl, ment this IFSP, and give consent for all services in
the IFSP.
Parent Signature 1                                           Parent Signature Date 1                                     Parent Signatu re 1
Antoinette Brandy                                            2015-02-05                                                  Yes
Parent Signature 2                                           Parent Signature Date 2                                     Parent Signatu ·e 2
                                                                                                                         No
(If 'No' selected above, please explain):
Any Comments:



I/We do not agree with the proposed IFSP as written. However, I/we do coI sent to the following :.,ervices/frequency:
Parent Signature 1                                           Parent Signature Date 1                                      Parent Signatu1 e 1
                                                                                                                          No
 Parent Signature 2                                          Parent Signature Date 2                                      Parent Signatm e 2
                                                                                                                          No




 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 I SRS Student It #1438502 I District: Norfolk Put lie Schools I School: Early
 Childhood Center                                                                                                                                                         Page 24
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     ~A:2\
NORFOLK
                                                              Individual Family Servi,:e Plan (Periodic)
 • W t 1,.1 I II: • 00 I I
            IC:
  .,11:WONt U .l Tl'.al, . .UU




Student: KEVIN BARDWELL                                                  Date of Birth: Nov 5, 2012                                                  Grade: ECSE


Family Language: English                                                                  Date of Cons, 1t for Evaluation: 2014-07-] 7
Additional Language:                                                                      Date MDT: 20 4-08-21
EDN Referral Date:
Family would like an Interpreter: No
Parent(s)/Guardian
Name: Kevin Bardwell Sr.                           Role: Parent                           Address: 121~ Madison Avenue Norfolk, NE f8701
Home phone:                                        Work phone:
Name: Antoinette Brandy                            Role: Parent                           Address: 121~ Madison Avenue Norfolk, NE E3701
Home phone: 402-640-8206                           Work phone:

Services Coordinator/ Case Manager Information
Name: Margaret A. Jensen                                                                  Address: 140~ Riverside Blvd., PO Box 293,           orfolk, NE 68702-0293
                                                   Agency: Northeast Nebraska Community
Phone: 402-371-7284
                                                   Action Partnership/ NENCAP




Student KEVlN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05    I SRS Student 1£   #1438502   I District: Norfolk Pul 1lic Schools I School: Early
Childhood Center                                                                                                                                                                Page 1
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IFSP Meeting Dates
Type                                                      Date                                                        Date Sent
Periodic                                                  2015-02-05                                                  2015-02-12

IFSP Previous Meeting Dates
Type                                                      Date                                                        Date Sent
No previous meeting dates found.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 I SRS Student It #1438502   I.District:   Norfolk Pu~llc Schools I School: Early
Childhood Center                                                                                                                                                            Page 2
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                                        Priority: Find out more about Kevin's hearing. Check out options for          esources if he has a hearing less.
                                        Update:Kevin was seen at Boys Town on August 22. The tests indiec             ed that left ear finding sugge! ts normal high frequency hearing
                                        sensitivity and mid low-to-mid frequency hearing loss. Right ear fine         ngs suggest normal to near nC1rmal hearing sensitivity. Boys Town
                                        recommended that he be followed by EON due to significant delays              n speech and language develc pment. They also recommencjed that
                                        hearing sensitivity and middle ear status be monitored and his hear           19 be followed closely.
                                        The results of the hearing test was shared with NPS teachers of dea           and hard of hearing .
                                        Plan: His hearing will be monitored by Melissa Jantz.

                                        Priority: Figure out ways to keep Kevin occupied so he is not preocc          pled with eating c;;otton.
                                        Update: Kevin still picks at the furniture and eats the stuffing once i        awhi le but not as much as be fore. He eats crayons, pencil eraser,
                                        his sister's lip gloss. He finds the tiniest little things on the floor arn   puts them in his mouth.
                                        Plan: Continue to find ways to keep him occupied and not putting th           ngs in his mouth.

                                        Priority: Explore activities that will help Kevin talk more and interact      more with his family. Focus or activities that will help Kevin
                                        communicate what he wants and needs.
                                        Update: Kevin communicates his wants and needs in a variety of we             ,s. He pushes his parents tot~ e ki tchen when he wants something.
                                        He cries if they leave the kitchen and haven't given him what he wa           ,ts. He drops to the fl oor when he doesn't want to go where you are
                                        taking him. He stares at what he wants. He makes a different sound            for wanting a drink or somethi 1g to eat. He is beginning to reach for
                                        what he wants when offered a choice of two snacks.
Feb 5, 2015                             Plan: Continue to focus on ways to help Kevin communicate what hf             wants and needs.

                                         Priority: Review options for resources that will help the family.
                                         Driver's License: Kevin has contacted sources in Chicago. He needs o reopen his case there. He is working on that.
                                         Landlord: The landlord tenant handbook was shared with the family They would prefer to stay in their current home since it is large
                                         enough to meet their needs.
                                         Kevin's vision: Information about the Vision USA program was share . Kevin contacted them and is in the process of providing the income
                                         verification needed.
                                         Legal issues: Kevin will just have a fine.
                                         55I-DCP: Kevin Jr. is eligible for 551 and the 55I-DCP program . He an, his sister, Janiah, receive res~ ite care funding through the 55I-DCP
                                         program. Antoinette is familiar with Jeanette Hastings, 55I-DCP CasE Worker, and how the 55I-DCP program works.
                                         Plan: Continue to review needs and options for resources.

                                         Kevin may have surgery on the second toe on his right foot. He will ;ee a bone specialist at the bu ·n clinic in Lincoln next week. The
                                         specialist will determine what will be done.
                                         Plan: Antoinette will keep the team informed about the plan.

                                         Antoinette is wondering about potty training for Kevin.
                                         Plan: Explore strategies when Antoinette is ready to start potty trair ng.

Previous IFSPs
Date                                                Previous IFSP Text:




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 \ SRS Student It #1438502 \ District: Norfolk Putlic Schools I School: Early
Childhood Center                                                                                                                                                                       Page 3
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                                                   Antoinette and Kevin Sr. noticed that, like his sister, Janiah    Kevin Jr. was not responding tJ his name and sounds in home. They
                                                   are concerned about his hearing. Kevin does not like havir        J his ears touched so a hearinq test at Norfolk ENT was not
                                                   successful. He will be sedated for a hearing test at Boys Tc      vn west campus on August 22 ;1d.
                                                   Priority: Find out more about Kevin's hearing. Check out or       ions for resources if he has a I 1earing loss.

                                                   Kevin Sr. and Antoinette shared that Kevin eats non-food it :ms. They have to monitor hirr closely or he will pick at the mattress
                                                   or couch until he makes a hole. He eats the stuffing.
                                                   Priority: Figure out ways to keep Kevin occupied so he is nl : preoccupied with eating cottun.

                                                   Antoinette and Kevin are concerned that Kevin is not talkin       1. They don't know when he is hungry because he never asks for
                                                   food. They keep food available for him around the house sr        he can find it when he is hun£ ry. They notice that he is in his own
                                                   little world and doesn't interact with his brother, Kewon. K      vin Sr. shared that Kevin doesn't respond back and forth with them,
                                                   e.g., repeating words, making sounds. They would like Kev         1 to•interact more with them a1d his siblings.
2014-08-21
                                                   Priority: Explore activities that will help Kevin talk more ani    interact more with his family. Focus on activities that will help Kevin
                                                   communicate what he wants and needs.

                                                   Kevin prefers being at home. He does not like going outsic ~- He cries the whole time when they go to the park. When the older
                                                   children are home and can watch him, they leave him at ht -ne while the family goes to th= park.

                                                   Kevin would like to know more about options for resources .
                                                   -His driver's license was suspended in Chicago. He would n :illy like to get his driver's lice11se so he wouldn't have to walk to
                                                   work and be able to take advan tage of more employment c Jportunities.
                                                   -He wonders about what their landlord is required to do arc md the house and what they c re required to do. He likes the house
                                                   they are living in because it is big enough for their family.
                                                   -Kevin is concerned about his vision. He'd like to see better
                                                   Priority: Review options for resources that will help the fam y.




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                                        2-5-15
                                        Baby KaAliyah joined the family on January 7th. She is a good baby.
                                        Antoinette returned to work at McDonald's on February 3rd followint maternity leave.
                                        Kevin is showing more interest in his toys now. He loves his blocks. ' e loves bath time and notices every opportunity to climb in the tub.
                                        He is persistent when communicating what he wants. He communic, tes what he wants and doesn' • want in a variety of ways, e.g., covers
                                        his ears, drops to the floor, stares at what he wants, pats your legs.
                                        He notices Melissa's bag when she arrives for a home visit now. He i interested in what's in the ba l
Feb 5, 2015
                                        He is interacting more with KJ now. He notices what KJ is doing and i beginning to imitate what he is doing. He is doing some activities on
                                        his own now instead of wanting you to do it, e.g. writing with the pe , .
                                        Kevin Sr. and Antoinette are focusing on specific activities, e.g., cal Ii 1g his name, making eye contc: ct when offering choices, giving his
                                        choices.
                                        Kevin's siblings are aware of his needs.,e.g., everyone is aware that oud noises are hard for Kevin.
                                        Kevin and Antoinette notice the difference in how Kevin is making st 11e sounds and that each way means something different, e.g., drink
                                        or hunger.
Previous IFSPs
Date                                               Previous IFSP Text:
                                                   Kevin:
                                                   He no longer has to go to medical physical therapy for his f et.
                                                   He finger feeds himself. He finds his sippy cup and food the his parents make available to him during the day.
                                                   He stops what he is doing when Antoinette says, "A.a Aa Aa or Kevin Sr. thumps his finger;.
                                                   He loves bath time.
                                                   His gross and fine motor skills are appropriate for his age.
                                                   He has a good memory.
                                                   He figures out ways to get what he wants.

2014-08-21
                                                   Family:
                                                   Kevin Sr. and Antoinette both want to know what they can , o to help Kevin.
                                                   Antoinette shared that she is relieved to know that Kevin q1 alifies for services because sh ,? saw how services helped Janiah.
                                                   Kevin and Antoinette's work schedules allow one of them tc be home with the children. As ,a Stewart tares for the little boys
                                                   when needed.
                                                   Kevin's siblings help monitor what he is doing and alert the - parents when he is getting ir :o things.
                                                   Antoinette's cousins watch Kevin when they can so he can ~ay home when the family goes to the park.
                                                   The family has a daily routine that works for them. The chil ren know the routine.
                                                   Kevin Sr. and Antoinette work together and know what the; want to do.
                                                   Kevin has a dream of working for himself and starting his o· ·n business.




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                                                                                                                    ,


                                        Vision is not a concern at this time. Kevin can still spot the tiniest t~ .1g on the floor even when no ,me else sees it.
Feb 5, 2015
                                        He likes to watch the Baby First Channel.
Previous IFSPs
Date                                                     Previous IFSP Text:
2014-08-21                                               Vision is not a concern at this time. Kevin sees the t 1iest little things, e.g., crumbs.


                                        Kevin covers his ears with his hands when noises are too loud, e.g., ·elling or speaking loudly. WhE n a noise is too loud, he covers his
                                        ears, runs and screams.
Feb 5, 2015
                                        If Kevin is in the living room and he hears the Baby First Channel's r usic in the bedroom, he runs to the bedroom.
                                        He responds when he hears Antoinette say "Pat-a-Cake" and "Peek- -Boo." When he hears the wat~r running, he knows it is bath time.
Previous IFSPs
Date                                               Previous IFSP Text:
                                                   Kevin passed the newborn hearing screening. There are co      cerns about his hearing due ti • a sibling with hearing loss. His
                                                   parents notice that he does not respond to sounds in his he   ne. He does not come when c 1lled. A hearing test was attempted at
2014-08-21                                         Norfolk ENT on August 4th. That was not successful becau      e Kevin does not like having h s ears touched. A sedated ABR is
                                                   scheduled on August 22nd on west campus of Boys Town~         itional Research Hospital.
                                                   Kevin Sr. shared that some days Kevin will do exactly what    1e says but he doesn't know if Kevin Jr. understands.




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                                        Dr. Pierce continues to monitor Kevin's health. He weighs 23 pour ds. He is current on his immur izations. He participates in the WIC
                                        program.
                                        He doesn't wear the compression socks any more. His skin looks ·xcellent and is smooth.
Feb 5, 2015
                                        Kevin may have surgery on the second toe on the right foot. He i~ scheduled to see a bone spec alist at the clinic in Lincoln next week.
                                        The condition of the toe is throwing off his balance. Antoinette st m ~d that the "bone is off track" . Medical physical therapy was initiated
                                        to address the issue but stopped went it wasn't helping the issue.
Previous IFSPs
Date                                               Previous IFSP Text:
                                                   Dr. Erin Pierce monitors Kevin's health locally. He is curr, nt on his immunizations. He participates in the WIC program.
                                                   Antoinette estimated that he weighs about 24 pounds.
2014-08-21
                                                   Kevin was severely burned on his feet in February 2014. ,e's has two surgeries on his f:!et. Skin from his thigh was grafted to
                                                   his feet. Antoinette puts lotion on his feet. He wears spe( ial socks on both feet all the ti 11e.



                                         Kevin pulls out the kitchen drawers so he can climb up to get wh2        :'s on the counter.
                                         He is more observant of what is happening around him now. e.g .•         N«tched KJ drop thi ngs throug h t e handle of the push toy and then did _•
                                         it himself; watched where his sister was getting the pencils and g        t into tl'lem himself.
                                         Kevin is starting to imitate more. He imitates his siblings when he      se es them dancing to the Just Dance video, e.g., he turns around in
                                         circles.
                                         Kevin remembers how you use your hands to erase things on the            )hJne so he takes your hand and wants you to erase things on paper.
Feb 5, 2015                              He is more interested in his toys now. He sits down and tries to fie     ur2 them out. Antoinette shared that he was always given a truck in a '
                                         box at the specialist's office in Lincoln. In the past he didn't pay a   te,1tion t o it. At his last visit. h•~ pushed the truck around.      ·
                                         He loves phones and knows that he has to swipe the screen.
                                         He is working on making eye contact when given the choice betw           •en two snacks. He is beginnin~ to reach for what he wants when given ·
                                         two choices. Everyone is working on getting him to point to what         ;e wants.
                                         If his parents take his clothes off in the living room, Kevin runs to     he bath room because he kno·11s it means that it is bath time.
                                         He uses the phone's stylus to color on the phone.
Previous IFSPs
Date                                                     Previous IFSP Text:
                                                         Kevin likes the Baby First Channel.
                                                         Kevin likes the wagon. He pulls it around and climb~ in and out of it.
                                                         Kevin mostly roams around the house during the da '·
2014-08-21                                               He hides pieces of cotton so he can get them later.
                                                         He is observant and has a good memory. He remerr )ers where his parents put things.
                                                         He pushes something around to stand on to get tot ;ir,gs out of reach.
                                                         He plays little games with his parents. e.g., plays Pe ~k -aBoo by pulling a blanket o1f his head .




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                                        Kevin cries to get something. If he cries because he wants someth .,q he is not supposed to have, e.g., a pencil, he gets over it quickly if
                                        the object is out of his view.
                                        Kevin Sr. and Antoinette are really working on calling Kevin's namt ,,nd getting him to respond tc it. He responded to his father a couple
                                        of times but has not consistently responded when called.
                                        Antoinette notices that Kevin says, "ooo ooo" differently for differe 11 wants. If he say, "oooo ooo" he wants a drink. If he says it more
                                        slowly, he is hungry.
Feb 5, 2015                             He is starting to make more sounds. He makes a low humming SOL rd. He says, "mmmm, aaaaa, Joooo". He makes a whining and
                                        squealing sound.
                                        If Kevin wants something in the kitchen, he gets mad if you walk o 1t before getting it for him.
                                        Kevin drops to the floor when he doesn't want to go where you arE t 1king him.
                                        He communicated that he wanted to continue a little game where :\.ntoinette smelled his feet by ifting his foot multiple times.
                                        Kevin pats his father's leg when he wants something in the kitcher f his father doesn't get up irr mediately, Kevin goes to the kitchen
                                        and sits down. He stares at what he wants.
Previous IFSPs
Date                                               Previous IFSP Text:
                                                    Kevin makes noises but isn't babbling.
                                                    He laughs at what he sees, e.g., Kevvon playing with a b2         lnon.
                                                    Kevin whines when he can't get what he wants. He cries,           ren he is upset.
2014-08-21
                                                    He stops what he is doing when Antoinette says, "Aa Aa f-         3' loudly. He looks at her, crie~; and walks away. He stops what he is
                                                    doing when his father thumps his fingers.
                                                    He touches you to indicate that he wants you to repeat ar         ,1ctivity.

                                                                                                            1
                                                                                                            '.                     _,
                                         Kevin eats the erasers off of pencils: He eats crayons. He puts an1 j:ing he finds into his mouth. He ate his sister's lip gloss.
                                         He doesn't just wander around as much now. He is watching the T · ,Jr going to get a toy.
                                         He interacts more with KJ now, e.g., KJ started to run with popper t iy. When he stopped, Kevin looked for him and laughed. Kevin kept the
                                         activity going by looking for KJ and laughing when he stopped.
                                         He still doesn't like going out. At the doctor's office, he played witr t:1e toys for a little bit and then walked along the wall.
                                         Antoinette shared that Kevin's memory is short.e .g., he may be pl 1ying with his blocks, want mo·€ but forgets that he went into the
                                         bedroom to get more blocks. He gets distracted with something el e.
                                         Kevin occasionally has some repetitive behaviors but they are not 1s long now.
Feb 5, 2015                              He slides his head on the floor. He bear crawls with his head on th, - :1oor. Joint compressions are being tried to help decrease that
                                         behavior.                                              '                                                      .
                                         Sleeping is going better with the TV turned off. Having the room d, r< helps him go to sleep. The weighted blanket seems to help Kevin
                                         sleep better.
                                         If Kevin sleeps until noon, he wants to take a nap at 6:00 pm and t 1cn won't go to bed until midn ght. Antoinette is working on getting
                                         him up earlier in the morning so he naps earlier and goes to bed e r ier. She shared that Kevin w,Juld sleep a long time if she let him.
                                         He snuggles with Antoinette.



Previous IFSPs



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Date                                               Previous IFSP Text:
                                                   Kevin prefers to play alone. He puts his cars in his mouth v ,en playing with them .
                                                   Kevin likes to eat soft non-food items. He will pick at the c J JCh or mattress until he makr!s a hole and he eats the stuffing. He
                                                   plays with the cotton in his mouth until it gets soggy befo e he swallows it if no one is w,1tching him. If his parents see the cotton
                                                   in his mouth and respond, he swallows it immediately. If I e can, he will put cotton in different places so he can get it later.
                                                   Kevin sleeps with his parents. That makes it easier for thE r to monitor where he is and ,vllat he is doing. Sometimes he moans
                                                   when he wakes but he usually doesn't say anything when r: wakes. Sometimes he watc hes TV when he wakes and other times
                                                   he just lays in the bed.
                                                   Bedtime for Kevin and his brother, Kevvon, is 8:00 pm.    n ~-,  watch their favorite TV shows until falling asleep. They are both
2014-08-21                                         usually asleep by 9:00 pm. Kevin sleeps through the nigh . :-te takes a nap in the afterno :n Some mornings, Kevin will sleep as
                                                   late as 10:30 or 11:00. The time of nap varies depending H ; when he wakes in the morn ng.
                                                   Kevin does not like being outside. He prefers to be at horr e. He cries the whole t ime wh 211 the family goes to the park. He
                                                   doesn't cry when the family goes swimming but he clings :o Antoinette and she knows h doesn't like it.
                                                   He calms down when his parents comfort him.
                                                   Kevin Sr. shared that little Kevin knows when he's done sr r1ething wrong because he doe5n't whine as much when corrected.




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                                                                                            .,..
                                                                                            ;

                                        Kevin does not like wearing shoes and socks. If you can get his sh(~; on him and get him to walk around in them, he is OK. He hates
                                        wearing a coat. If you put a hat on his head, he snatches it right of . He prefers to wear sweats ar d pajamas. Kevin can take all articles of
                                        clothing off quickly.                               ·
                                        Kevin does not like getting his hair cut.
                                        Kevin loves bath time. He climbs into the tub by himself. When his ; ster left her bath water unattended for just a minute, Kevin climbed
Feb 5, 2015                             into the tub fully clothed. Getting Kevin out of the tub at the end o liath time is a challenge.
                                        Kevin likes a limited number of foods. His favorites include yogurt, Jdtmeal and cereal. He only likes regular Cheerios and Captain
                                        Crunch. He will eat a little bit of macaroni. He eats his cereal with 1 1 lk. Sometimes he tries to use a spoon. Most of time, Antoinette feeds
                                        him. He will finger feed himself but he wants to dump the food out
                                        Kevin likes cups with straws. At his brother's basketball game, he 1 3:;ed his way down from his p, r2nts so he could get to people's cups.
                                        He can drink from a regular cup without assistance. He is learning ( not throw the cup when he i; done drinking.
Previous IFSPs
Date                                               Previous IFSP Text:
                                                   Kevin finger feeds himself. He doesn't want anyone to fee       l him. If given a spoon, he thr(,ws it. He sits in a high chair during
                                                   meal time. Antoinette puts food on his tray until he indica     Es he is done by throwing the food on the floor. He sits in the high
                                                   chair until they take him out. If he gets impatient, he triec   t J climb out of the high chair on his own. Kevin does not ask for food
                                                   or indicate that he is hungry so his parents make food av,      il3ble to him during the day. If ~e is hungry and food is available, he
2014-08-21
                                                   will eat it.
                                                   Kevin can take all articles of clothing off and he can be qL    ck about it. He allows his pare :l':s to dress him and he assists by
                                                   pushing his arms through. He is not yet lifting his legs wh     r they put his pants and shorts on.
                                                   Kevin likes bath time. He could stay in the bath tub for 2C     t,J 30 minutes splashing and playing with his bath toys.



                                         Kevin writes on the wall when he finds a pencil.
                                         He likes blocks and can stack a lot of them.
                                         Kevin puts his hands on Antoinette's hands when they play Pat-a-C 1 ~e.
Feb 5, 2015                              He grabs your hand to get you to help him, e.g., hold the pen.
                                         He claps his hands.
                                         He holds the phone's stylus with a nice looking tripod grip. He mos 1,, uses his left hand. When he shifted the stylus to the right hand, he
                                         used a fisted grip.
Previous IFSPs
Date                                                Previous IFSP Text:

2014-08-21
                                                                                                                    =
                                                    Kevin's fine motor skills are a strength. They are appropri 1 for his age.
                                                    Kevin picks at objects until he makes a hole. He pushes b t':ons. He turns door knobs. HP Jicks up tiny little crumbs.




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                                        Kevin turns around in circles until he makes himself dizzy.
Feb 5, 2015                             He likes to swing. He tries to get out the door but isn't able to ope, : he door by himself yet.
                                        Antoinette shared that., "He runs like a champ.': He walks, runs an : : limbs. He crawls up and down the stairs on his hands and knees.
Previous IFSPs
Date                                               Previous IFSP Text:
                                                   Kevin's gross motor skills are a strength . They are approp ·j,,ite for his age.
                                                   Kevin walks and runs. He crawls up the steps on his hand ,ind knees. His parents usuall I carry him down the steps or
2014-08-21                                         he bumps down, facing forward, on his bottom.
                                                   He squats to look at things and stands up without support
                                                   He climbs on the bike.




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Goal#l
Goal 01,1tcome:

Kevin will participate in play time by communicating his wants. We will know he G r do this when he looks at or points to a toy two times
during a play activity.

Child/ Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are willing to try new things to help Kevin progress.
They have experience with special education services and being an advocate for ti cir children.
They have many people in the household that can help with strategies set for Kevi 1 Jr. to meet his goals.
Kevin's Early Development Network providers are knowledgeable about resources 3 1d willing to share information and seek out information
to help Antoinette and Kevin.
What will be done / by whom:

Kevin Sr. and Antoinette will:
Follow through with recommendations to find activities that will fit into their daily r i·Jtine.
Assist with scheduling visits and meetings so that services can be provided.
Share their questions and concerns.

Melissa, Early Childhood Special Educator, will:
Monitor and track overall development with Kevin Sr." and Antoinette.
Provide information to parents and providers about activities to promote overall de r~lopment focusing on activities that will help Kevin begin                                           1,
                                                                                                                                                                                          ,I

to communicate.
Demonstrate strategies and activities that the family can implement within their d, i y routine to benefit Kev in Jr.

Margaret, Services Coordinator will:
Have monthly contact with Kevin Sr. and Antoinette to review questions and needs
Consult with Melissa about services and needs related to helping Kevin Sr. and Ant 1;nette accomplish the IF'.,:> goals set for Kevin Jr..
Coordinate the arrangements for meetings and facilitate communication with Kevir '; team.




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                                                         By Whom
Progress will be reviewed                                                                                                 How Measun,d
                                                         Parents, Early Childhood Special Educator ard EDN
6 months                                                                                                                  Parent Report, Observation, and Information Shared
                                                         Services Coordinator
Plan Review for this Goal
02/20/2015
Goal progress:
8-21-14 New Goal
2-5-15 Update:
Kevin Jr. is demonstrating his wants and needs by using grunts and push ing his p; rrnts to what he want s. If he wants something to eat or
drink he will push his mom or dad into the kitchen. When given t wo food options, Kevin will reach for t he i1:em he wants but is not yet
forming a point. In play time, Kevin will reach for a toy that he wants to play with 11e will not point to the item and often times does not
make eye contact when making a choice. When the item is brought closer to the 3c'ult's face, he will make a fleeting glance to the person's
face but then quickly return his focus to the item that he wants.
Goal comments:
8-21-14 New Goal
2~5-15 Update:
This goal will be continued with the focus on Kevin Jr. using a purposeful point to1J1 ard the item that he is choosing while making eye contact
with the individual he is communicating with.




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Goal#2
Goal outcome:
Antoinette and Kevin Sr. will have information about resources as they care for K{ vi 'l and their family.
Child/ Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are familiar with the community.
They have experience with special education services and being an advocate for 1 , ~ir chiidren.
Kevin's Early Development Network providers are knowledgeable about resource~ a:,d willing to share information and seek out information
to help Antoinette and Kevin.
What will be done/ by whom:
Kevin and Antoinette will:
-Share their questions and needs.
-Choose what resources they want to pursue and provide the information needed o access those services.

Margaret and Melissa will:
-Review questions and neee:ls during visits.
-Provide or seek out information regarding the needs that Kevin Sr. and AntoinettE sha re.
-Assist, as needed, to help Antoinette and Kevin to access the services, programs . 1rid resources they want :c pursue
                                                         By Whom
Progress will be reviewed                                                                                                  How Measurerl
                                                         Parents, Early Childhood Special Educator, nd EON
in 6 months                                                                                                                Information sha ·ed and resources identified.
                                                         Services Coordinator
Plan Review for this Goal
02/20/2015
Goal progress:
8-21-14 New Goal.
2-5-15 Update:
Antoinette is very good about sharing information about Kevin. She shares her que; :ions and concerns. Re~ources are identified as needed.
Kevin Jr. is now eligible for SSI. Antoinette is familiar with SSI and the SSI-DCP prog ·;1m because Kevin's sister receives the benefits. Jeanette
Hastings, SSI-DCP Case Worker, has been in contact with the family and signed Ke' i1 up for services throug1 SSI-DCP.
The option of participating in the St. Nick program at Christmas time was offered a , j Antoinette chose to pc rticipate. Antoinette shared that
the gifts were good and what they requested.
Kevin Sr. was referred for the Vision USA program for assistance with an eye exam : nd glasses if needed. H1~ is still in the process of



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providing the information to document il'lcome eligibility.
Information about Planning Region 2·9·_and funding options for training is shared. I ,formation about community events is shared.
Goal comments:
8-21-14 New Goal.
2-5-15 Update:
We ~ill continue to _revjfJ n~ed~ ~nd opµons for services. We will review the charges that accompany the transition to Part B educational
services.
Antoinette and Kevin Sr. will be invited to participate in the 2015 Family Survey. T1€:y will be invited to the PRT Annual meeting ir:i April.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS   Student It #1438S02   I District: Norfolk Pul •lie Schools I Schoo.I: Early
Childhood Center                                                                                                                                                                 Page 15
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Goal#3
Goal outcome:

Kevin will participate in meal time by responding to his name. We will know he                         e2 1   ,fo this when he looks ct a family member who has called
his name and touched his arm one time during one meal per day.

Child / Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are willing to try new things to help Kevin progress.
They have experience with special education services and being an advocate fort 1r·ir children.
They have many people in the household that can help with strategies set for Kev .n Jr. to meet his goals.
Kevin's Early Development Network providers are knowledgeable about resources a'ld willing to share information and seek out information
to help Antoinette and Kevin.
What will be done/ by whom:
Kevin Sr. and Antoinette will:
Follow through with recommendations to find activities that will fit into their daily o Jtine.
Assist with scheduling visits and meetings so that services can be provided.
Share their questions and concerns.

Melissa, Early Childhood Special Educator, will:
Monitor and track overall development with Kevin Sr. and Antoinette.
Provide information to parents and providers about activities to promote overall dE velopment focusing on activities that will help Kevin begin
to communicate.
Demonstrate strategies and activities that the family can implement within their d ti :y routine to benefit Kevin Jr.

Margaret, Services Coordinator will:
Have monthly contact with Kevin Sr. and Antoinette to review questions and need~ .
Consult with Melissa about services and needs related to helping Kevi n Sr. and Ant f nette accomplish the IFSP goals set for Kevin Jr..
Coordinate the arrangements for meetings and facilitate commun ication with Kevi1 'steam.
                                                           By Whom
 Progress will be reviewed                                                                                                    How Measured
                                                           Parents, Early Childhood Special Educator, , rd EDN
 6 months                                                                                                                     Parent Report, Observation, and Information Shared
                                                           Services Coordinator




 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS   Student r ·. #1438502   I District: Norfolk Pl·blic Schools I School: Early
 Childhood Center                                                                                                                                                                 Page 16 •,
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Plan Review for this Goal
02/20/2015
Goal progress:
8-21-14 New Goal
2-5-15 Update:
Anfoinette has shared that Kevin Jr. has turned to Kevin Sr. calling his name a cou Jl2 of times but it is not consistent. Antoinette and Kevin
Sr. are working on this throughout all daily experiences. Kevin does show occasio 121 response to some of ~he noises that his mother and
father make when he is doing something he is not supposed to do. If they do a lo: ;d, "Ah, ah, ah" he will ty )ically stop touching the buttons
on the television.
Goal comments:
8-21-14 New Goal
2-5-15 Update:
This goal will be continued. The family will continue to practice and reinforce this ,!<ill throughout their daily routines.




                                                                                    r



Student: KEVIN BARDWELL I School: Early Childhood Center ( Grade: ECSE I DOB: 2012-11-05   I SRS Student I   #l438S02   I District: Norfolk Public Schools I School:   Early
Childhood Center                                                                                                                                                               Page 17
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Goal#4
Goal outce>~e:
Kevin will participate in bath time by imitating. We will know he can do when he c opies the actions or sour ds he sees and hears his brother
Kevvon doing at least two times during a bath.
Child / Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are willing to try new things to help Kevin progress.
They have experience with special education services and being an advocate fort 1eir children.
They have many people in the household that can help with strategies set for Kev , Jr. to meet his goals.
Kevin's Early Development Network providers are knowledgeable about resources a 1d willing to share infor-nation and seek out information
to help Antoinette and Kevin.
What will be done/ by whom:
Kevin Sr. and Antoinette will:
Follow through with recommendations to find activities that will fit into their daily r ') Jtine.
Assist with scheduling visits and meetings so that services can be provided.
Share their questions and concerns.

Melissa, Early Childhood Special Educator, will:
Monitor and track overall development with Kevin Sr. and Antoinette.
Provide information to parents and providers about activities to promote overall de 12lopment focusing on activities that will help Kevin begin
to communicate.
Demonstrate strategies and activities that the family can implement within their de : y routine to benefit Kev n Jr.

Margaret, Services Coordinator will:
Have monthly contact with Kevin Sr. and Antoinette to review questions and needs
Consult with Melissa about services and needs related to helping Kevin Sr. and Ant< nette accomplish the lf~;p goals set for Kevin Jr.
Coordinate the arrangements for meetings and facilitate communication with Kevin ; team.
                                                         By Whom
Progress will be reviewed                                                                                             How Measured
                                                         Parents, Early Childhood Special Educator, a d EON
6 months                                                                                                              Parent Report,      ot servation, and Information Shared
                                                         Services Coordinator
Plan Review for this Goal
02/20/2015




Student KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 I SRS Student It #1438502   I District:   Norfolk Puf ,lic Schools I School: Early
Childhood Center                                                                                                                                                             Page 18
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                                                                                                                                                                                        ,,
Goal progress:
8-21-14 New Goal
2-5-15 Update:"'
During bath time, Kevin Jr. is very focused on playing, splashing, and pouring wat, r. He is not demonstrati 19 imitation skills during this time
period but imitation is bJing noted in other portions of the day. During play time, 1e will imitate things that his brother KJ is doing. For
example, when KJ drops blocks through the handle of a push toy, Kevin will obser. e for a short period of time and then try the same thing.
 When his mother does patty cake, he will place his hands on the outside of hers t > fo the clapping along with her.
Goal comments:
8-21-14 New Goal
2-5-15 Updat~:
This goal was originally written to highlight bath time because that was one portio , :>f the day that Kevin appeared to enjoy. To broaden
this goal, we will focus on expanding Kevin's imitation skills across all parts of his , ·cy over the next 6 mont, period.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS   Student H #1438502   I District:   Norfolk Pui,lic Schools   I School: Early
Chlldhood Center                                                                                                                                                                  Page 19 ,
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Are there special conditions for safe transportation for this child?
Kevin uses a standard car sear.
Services
Service:
Special Instruction
Setting:
Home
How often?                                          How much?                         Group/lndivi lt·al                               Natural Environment
12 days/6 month period                              60 min/day                        Individual                                       y,~s
When service Starts and Ends?                                    Who Pays?                                              Responsible'.'
Feb 12, 2015 - Aug 5, 2015                                       School district                                        Teacher
The method of delivery for Part C services will be in person services;

Service:
Services coordination
Setting:
Home
How often?                                          How much?                          Group/lndivi, , al                              N,1t.ural Environment
1 days/month                                        15 min/day                         Individual                                      Yes
When service Starts and Ends?                                                          Who Pays?                                       RE!Sponsible?
Feb 5, 2015 - Aug 5, 2015                                                              Early Developr ~nt Network                      Services Coordinator
The method of delivery for Part C services will be In person services.




 Student KEVIN BARDWELL I School: Early Childhood Center ( Grade: ECSE I DOB: 2012-11-05 I SRS Student It #1438502   I District: Norfolk Put lie Schools I School:   Early
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Transition Conference Date:                                                            Estimated T -a ·1sition Date:
Feb 5, 2015      ,.                                                                    Aug 31, 2016
Transition Plan
Transition Plan Step 1:
Kevin will be three years old on November 5th, 2015. If he continues to qualify for Early Development Net1J1•ork services at that time, his
EON team will create an appropriate transition plan to Part B educational services
Kevin Sr. and Antoinette will keep the team informed about any changes or transi ions that would affect services in the meantime, e.g.,
moves, changes in contact information, hospitalizations.
Who is responsible?                                        Time Line                                                       Date Completr!cl
Kevin's EON team includes: Parents, Early Childhood        02/20/2015                                                      02/05/2015
Special Educator, EON Services Coordinator,
Transition Plan Step 2:
 Baby KaAliyah joined the family on January 7th.
 90 days before Kevin's third birthday is August 5th, 2015. Time line and process f ) · transition to Part B educational services was
 reviewed. Antoinette is interested in preschool for him. Melissa and Antoinette w I discuss options for Kev n to practice leaving the house
 since he is not comfortable doing that. They will review options for him to visit the r1layground since he like'., swinging. Melissa will check
 out the option of Kevin having some of his visits during summer preschool hours s I that he can be exposed to other children and
 experience the classroom environment. We will finalize his transition plan when w, meet for his Annual Review in August.
 Kevin may have surgery on his foot. Antoinette will keep the team informed about ~he possibility after she r:-;eets with the specialist.
 Antoinette does not anticipate any other changes or transitions in the next six mo, ::hs.
Who is responsible?                                        Time Line                                                       Date Complete,:f
Team                                                       08/05/2015



Family Choice: Consent to the continuation of early intervention services ,                                    initiation of Special l~ducation services

      • I/We have received a copy of the Annual Transition Notice.
      • I/We have been informed about the differences between, and the right to cho· se, early intervention se vices provided through an IFSP
        under the Individuals with Disabilities Education Act (IDEA) and the preschool ;pecial education services provided through an
        Individualized Education Program (IEP) under IDEA once my/our child reaches 1ge 3.
      • I/We understand that if I/we choose for my/our child to receive special educati m services through an IE P, my child and family will no
        longer receive early intervention services nor will receive early intervention S( rvices coordination.



 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-0S   I SRS Student 1£   #1438502   I District: Norfolk Pul,lic Schools I School: Early
 Childhood Cente.r                                                                                                                                                              Page 21
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    • I/We understand that if I/we choose for my/our child to continue to receive e ~r:y intervention services through an IFSP, at any time I/we
      may elec~ to receive special education preschool services instead of early in :e:vention services.
    • I/We understand th~t my/our consent to the continuation of early interventic :1 services is voluntary and that I/we may revoke consent
      at any time.       -

o Yes o No           I/We consent to the continuation of early intervention services for my/our child ar, J :·amily through an IFSP after ny/our child's third birthday.
o Yes O No           I/We request initiation of preschool special education services for my/our child an, · f1mily at or after age 3.


Parents / GuarcUa!1 Signature
Parent Signature       l                                      Date                                                          Parent Signatrue 1 On File

Parent Signature 2                                            Date                                                          Parent Signat!lre 2 On File




(If 'No' selected above, please explain)




Student KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05      I SRS Student II   #1438502   I District: Norfolk Pulolic Schools I School: Early
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Team Members Present at the Meeting:
Name                                                Role                                        Address
Antoinette Brandy                                   Parent                                      1217 Madisor A·,e. Norfolk, NE 68701 402-6,iD-8206
Name                                                Role                                        Address
Melissa Jantz                                       Early Childhood Special Educator/District   310 S 3rd St., PO Box 139, Norfolk, NE 6870::-0139 402-644-2550
                                                    Representative
Name                                                Role                                        Address
Margaret Jensen                                     Service Coordinator                         1405 Riversid i lllvd., PO Box 293, Norfok, N[ 68702-0293 402-371-7284

Others who are part of the Child/Family Team:
Name                                                Role                                        Address
Erin Pierce, M.D.                                   Pediatrician                                301 N 27th St . :-;uite #1, Norfolk, NE 68701 402-844-8021
Family initial for copy of pages sent
A.B.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-0S         I SRS Student Ir   #1438S02   I District:   Norfolk Pul ,lic Schools   I School: Early
Childhood Center                                                                                                                                                                          Page 23
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Parents / Family Informed Consent
The early intervention   services will be provided as described ih the IFSP and must begin no later than 30 di1ys from the date of my/our
                                   ..
                •         . II :                                                                         .

written consent. I/We u"'- derstand that the IFSP will be reviewed at least every six 6\ months.
                             -




     •   I/We understand that a copy of the IFSP, evaluation, child assessment and fc rrily assessment will be distributed within 7 calendar days.
     •   I/We understand that my/our consent is voluntary and that I/we may revo ke :c nsent at any time.
     •   I/We have been informed of the determination(s) of the IFSP team in my/our n~tive language or other mode of communication.
     •   I/We understand we can accept or decline any service listed in the IFSP with, ·ut jeopardizing receipt of other services we accept in the
         plan.

Parents / Guardian Signature
I/We understand the plan and parental rights and give permission to imp ement this IFSP, and Hive consent for all services in .:
the IFSP.
Parent Signature 1                                           Parent Signature Date 1                                      Parent Signature 1
Antoinette Brandy                                            2015-02-05                                                   Yes
Parent Signature 2                                           Parent Signature Date 2                                      Parent Signatme 2
                                                                                                                          No
(If 'No' selected above, please explain):
Any Comments:



I/We do not agree with the proposed IFSP as written. However, I/we do cc r sent to the following services/frequency:
Parent Signature 1                                           Parent Signature Date 1                                      Parent SignatlJ re 1
                                                                                                                          No
 Parent Signature 2                                          Parent Signature Date 2                                      Parent Signature 2
                                                                                                                           No




 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012·11·05 I SRS Student II #1438502 I District: Norfolk Pu •3lic Schools I School: Early
 Childhood Center      .                                                                                                                                                   Page 24 ;
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NORFOLK
                                                                  Individual Family Sen 'ic:e Plan (Annual)
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  ltOT~l .. <l ~lll'bNTS,.ccu,,




Student: KEVIN BARDWELL                                                  Date of Birth: Nov 5, 2012                                               Grade: ECSE


Family Language: English                                                                  Date of Com e:1t for Evaluation: 2014-07-17
Additional Langu~ge:                                                                      Date MDT: 2 114-08-21
EDN Ref.erral tfate:
Family would like an Interpreter: No
Parent(s)/Guardian
Name: Kevin Bardwell Sr.                           Role: Parent                           Address: 121 7 Madison Avenue Norfolk, NE 53701
Home phone:                                        Work phone:
Name: Antoinette Brandy                            Role: Parent                           Address: 121 ' Madison Avenue Norfolk, NE 53701
Home phone: 402-640-8206                           Work phone:

Services Coordinator / Case Manager Information
Name: Margaret A. Jensen                                                                  Address: 140 Riverside Blvd., PO Box 293, :farfolk, NE 68702-0293
                                                   Agency: Northeast Nebraska Community
Phone: 402-371-7284
                                                   Action Partnership / NENCAP




Student: KEVIN BARDWELL f School: Early Childhood Center I Grade: ECSE f DOB: 2012-11-05 I SRS Student It #1438502   I District:   Norfolk PuMic Schools I School: Early
Childhood Center                                                                                                                                                           Page 1
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IFSP Meeting Dates
Type                                                      Date                                                            Da te Sent
Annual                                                    2015-08-14                                                      2015-08-21

IFSP Previous Meeting Dates
Type                                                      Date                                                            Date Sent
No previous meeting dates found.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-0S   I SRS Student II   #1438S02   I District: Norfolk Pul •lie Schools I School: Early
Childhood Center                                                                                                                                                                Page 2
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                                        Kevin visited the Little Panther Preschool this summer and Antoin[ tt.? would like him to continue w th preschool there this fall.
                                        Plan: Kevin will attend preschool 2 days a week. His teachers will · e,.p his parents informed abot t 10w he is doing at preschool.
                                        Antoinette will keep his team informed about how he is doing at h ,me.

                                        Antoinette shared that she thought Kevin was listening better and doing a lot better on asking fo· things. She would like to continue to
                                        focus on his communic.ation. She hopes that. in the futu re, they Vt II be able to talk to Kevin, tell 1i:n what to do and he will do it. By this
                                        time next year, she hopes that Kevin will be talking, responding a1 d be potty trained. Her ultimate goal for Kevin is for him to be as
                                        normal as possible.
Aug 14, 2015
                                        Kevin really likes playing with his blocks but he gets mad when th< y don't stay together. Then h1! screams and throws them. He screams
                                        when he is in the vehicle and they don't know why he is screamin( .
                                        Priority: Antoinette shared that she would like Kevin to be able to ;=': them what he wants to get 3nd what he wants to do. She would like
                                        him to be able to tell them what he wants to eat. She would like h: n to scream less when they ar~ out and about. It would help if Kevin
                                        were better with following directions.

                                        Kevin will be three years old on November 5th. The process and 01 tiJns for transition to Part B eC:ucational services were reviewed.
                                        Priority: The team will continue to discuss the option of when to cc r plete the transition, e.g., at t'le Six Month Review in February or next
                                        August. EON Services Coordination and parents will review the chc 1Jes that accompany transitio , .
Previous IFSPs
No Previous IFSPs to display.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE        I DOB:   2012-11-05   I SRS Student I   #1438502   I District:   Norfolk P\Jhlic Schools I School: Early
Chlldhood Center                                                                                                                                                                         Page 3
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                                         Antoinette shared that the biggest difference with Kevin is that hE p:ays a lot with the kids and h: eats better.
                                         Kevin is persistent when he is doing something he enjoys.
                                         He is beginning to imitate what he sees his classmates doing.
                                         His health has been good.
Aug 14, 2015
                                         Antoinette and Kevin follow through with suggestions. They share h :ir questions.
                                         Everyone in the family helps out with Kevin.
                                         Extended family and friends help with transportation and respite.
Previous IFSPs
Date                                                Previous IFSP Text:
                                                    Kevin:
                                                    He no longer has to go to medical physical therapy for hi~ f2et.
                                                    He finger feeds himself. He finds his sippy cup and food t i 2 this parents make available to him during the day.
                                                    He stops what he is doing when Antoinette says, "Aa Aa /2 3 ' or Kevin Sr. thumps his ting :rs.
                                                    He loves bath time.
                                                    His gross and fine motor skills are appropriate for his age
                                                    He has a good memory.
                                                    He figures out ways to get what he wants.

2014-08-21
                                                    Family:
                                                    Kevin Sr. and Antoinette both want to know what they car <lo to help Kevin.
                                                    Antoinette shared that she is relieved to know that Kevin · 11alifies for services because s·, e saw how services helped Janiah.
                                                    Kevin and Antoinette's work schedules allow one of them : be home with the children. t .sha Stewart cares for the little boys
                                                    when needed.
                                                    Kevin's siblings help monitor what he is doing and alert th : r parents when he is getting into things.
                                                    Antoinette's cousins watch Kevin when they can so he car t ay home when the family gc es to the park.
                                                    The family has a daily routine that works for them . The ch lren know the routine.
                                                    Kevin Sr. and Antoinette work together and know what the want to do.
                                                    Kevin has a dream of working for himself and starting his •vn business.




 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012·11-0S        I SRS   Student 11 #1438502   I District:   Norfolk Pu ,lie Schools   I School: Early
 Childhood Center                                                                                                                                                                        Page 4
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.
Annual If SP - Child's Present Levels of Development
 . .
Aug 14, 2015                             Vision is not a concern at this time. Kevin is still alert of tiny items
Previous IFSPs
No Previous IFSPs to display.

Aug 14, 2015                             Hearing is not a concern at this time.
Previous IFSPs
No Previous IFSPs to display.




Student: KEVIN BARDWELL I School: Early Chlldhood Center I Grade: ECSE I DOB: 2012-11-05           I SRS   Student 11 #1438502   I District: Norfolk Pu 1lic Schools \ School: Early
Childhood Center                           .                                                                                                                                           Page 5
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)   . .
                                            Dr. Pierce continues to monitor Kevin's health.
                                            He weighs 25 pounds. He is current on his immunizations. He part ciJates in the WIC program.
Aug 14, 2015
                                            He had a physical. Blood tests to check lead levels were done. His hl!alth has been good.
                                            He is not taking any medications
Previous IFSPs
No Previous IFSPs to display.
,.     .
                                            Kevin watches what other children are doing. He remembers how          :, do things he has recently lee rned. He turned square beads around to
                                            find the hole. He has good problem solving skills. He likes playing     ri~h his cars .
Aug 14, 2015                                Antoinette shared that, even though Kevin doesn't respond to his        arne, he knows his name.
                                            When Kevin is running away from his family, he senses when they        3; e getting close without turni119 around. When they get close, he
                                            stops and smiles.
Previous IFSPs
No Previous IFSPs to display.




    Student KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE       I DOB:   2012·11·05   I SRS Student IC   #1438S02   I District: Norfolk Pul ,lie Schools I School: Early
    Childhood Center                                                                                                                                                                       Page 6
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                                                                                                      r-p
                                                                                                     l
                                         Kevin makes a few sounds. He will come get his mother and other to help him get what he want5. When he is done eating, he pushes his
Aug 14, 2015                             plate away or. gets up and leaves. He will grab your hand to get m ,r ~.
                                         He screams when he is mad.
Previous IFSPs
No Previous IFSPs to display.

                                         Kevin plays by himself most of the time. He likes cars and blocks. Ii: likes puzzles. He sorts item~ into containers. He stacks blocks by
                                         size.
Aug 14, 2015
                                         He sleeps all night. He will give kisses when requested.
                                         Kevin is persistent when he is working on a task.
Previous IFSPs
No Previous IFSPs to display.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE       I DOB:   2012-11-05   I SRS   Student II- #1438502   I District:   Norfolk Pu ilic Schools   I School: Early
Childhood Center                                                                                                                                                                            Page 7
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t .   .

                                         Kevin likes fruit snacks, teddy grahams, popcorn, goldfish and gra 1am crackers. He loves corn dc,gs.
                                         He drinks from a regular cup with no spilling. He doesn't like strav,, ; 'Jut will use the straw in a juir:e carton.
Aug 14, 2015
                                         He helps with dressing by lifting his legs and pushing his arms thri uJh.
                                         He loves bath time. All the water needs to be drained before he'll , e: out of the tub.
Previous IFSPs
No Previous IFSPs to display.
~""'7"---:i::~-~..~'F.fii1111liff:i'liiiiu!'lllffi='Sl...'!lF'l"'!"l'--""'1~--ir
                                         Kevin likes to stack the Duplo blocks but gets frustrated when the; ,:on't stay together. He throw:; ~hem when he gets mad.
                                         He checks the doors to see if he can open them. He loves going m :~ide.
Aug 14, 2015                             He grabs your hand and takes you to what he wants. He plays wit~ tlocks. He has a good pincer qrasp. He likes to write.
                                         He picks up pegs and puts them in the holes. He uses puzzle piece ; :hat have knobs.
                                         At preschool, Kevin claps when the other children clap, When lister i:1g to the Bear Hunt song, he oats his legs.
Previous IFSPs
No Previous IFSPs to display.




 Student KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05           I SRS   Student I   #1438502   I District: Norfolk Public   Schools   I School:   Early
 Childhood Center                                                                                                                                                                            Page 8
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I .   •

                                         Kevin has a riding toy. He just sits on it and hasn't starting pedali1 g it or moving it with foot pow:!r.
Aug 14, 2015
                                         Kevin is very fast when he is running away from his family.
Previous IFSPs
No Previous IFSPs to display.




 Student KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 I SRS Student I' #1438502 I District: Norfolk Puhlic Schools I School: Early
 Childhood Center                                                                                                                                                       Page9
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Goal#!
Goal outcome:

Kevin will participate in P!ilY time by communicating his wants. We will know he ec r do this when he looks                                iit   or points to a toy two times
during a play activity.    "·

Child / Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are willing to try new things to help Kevin progress.
They have experience with special education services and being an advocate for ti fir children.
They have many people in the household that can help with strategies set for Kevi I Jr. to meet his goals.
Kevin's Early Development Network providers are knowledgeable about resources 11d willing to share information and seek out information
to help Antoinette and Kevin.
What will be done/ by whom:

Kevin Sr. and Antoinette will:
Follow through with recommendations to find activities that will fit into their daily n ·itine.
Assist with scheduling visits and meetings so that services can be provided.
Share their questions and concerns.

Melissa, Early Childhood Special Educator, will:
Monitor and track overall development with Kevin Sr. and Antoinette.
Provide information to parents and providers about activities to promote overall de1 ~lopment focusing on activities that will help Kevin begin
to communicate.
Demonstrate strategies and activities that the family can implement within their da y routine to benefit Kevil Jr.

Margaret, Services Coordinator will:
Have monthly contact with Kevin Sr. and Antoinette to review questions and needs.
Consult with Melissa about services and needs related to helping Kevin Sr. and Ante nette accomplish the IFS:> goals set for Kevin Jr ..
Coordinate the arrangements for meetings and facilitate communication with Kevin ; team.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS Student H   #1438502   I District: Norfolk Pul,lic Schools I School:   Early
Childhood Center                                                                                                                                                                Page 10
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                                                         By Whom
Progress will ~e reviewecf                                                                                            How Measured
                                                         Parents, Early Childhood Special Educator, 3r,d EON
6 months       ·                                                                                                      Parent Report, 1Jbservation, and Information Shared
                                                         Services Coordinator
Plan Review for this Goal
2015-02-20
Goal progress:
8-21-14 New Goal
2-5-15 Update:
Kevin Jr. is demonstrating his wants and needs by using grunts and pushing his pa uits to what he wants. If he wants something to eat or
drink he will push his mom or dad into the kitchen. When given two food options, ~evin will reach for the it1im he wants but is not yet
forming a point. In play time, Kevin will reach for a toy that he wants to play with. 11e will not point to the i':em and often times does not
make eye contact when making a choice. When the item is brought closer to the c: cult's face, he will make a fleeting glance to the person's
face but then quickly return his focus to the item that he wants.
8-14-15 Kevin communicate what he wants for some activities, e.g., continue with 1Jbbles. His response deJends on what you are doing.
Goal comments:
8-21-14 New Goal
2-5-15 Update:
This goal will be continued with the focus on Kevin Jr. using a purposeful point tow, d the item that he is choosing while making eye contact
                                                                                                      0


with the individual he is communicating with.
8-14-15 This goal will be continued. Increase the number of times to 5 times durin~ 3n activities.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 I SRS Student It #1438502   I District: Norfolk Public Schools I School: Early
Childhood Center                                                                                                                                                          Page 11
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Goal#2
Goal out¢orrie:
Antoinette and Kevin Sr. will have informc1tion about resources as they care for Ke· h and their family .
Child / Family si rengths c1~d resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are familiar with the community.
They have experience wit h special education services and being an advocate for ti eir chi ldren.
Kevin 's Early Development Network providers are knowledgeable about resources 11d wi lling to share information and seek out information
to help Antoinette and Kevin.
What will be done / by whom:
Kevin and Antoinette will:
-Share their questions and needs.
-Choose what'resources they want to pursue and provide the information needed t 1 access those services.

Margaret and Melissa will:
-Review questions and needs during visits.
-Provide or seek out information regarding the needs that Kevin Sr. and Antoinette :: hare.
-Assist, as needed, to help Antoinette and Kevin to access the services, programs c -d resources they want t: pursue
                                                         By Whom
Progress will be reviewed                                                                                                     How Measured
                                                         Parents, Early Childhood Special Educator a , J EON
in 6 months                                                                                                                   Information shar~d and resources identified.
                                                         Services Coordinator
Plan Review for this Goal
2016-02-12
Goal progress:
8-14-15
Kevin receives 551 and 551-DCP. Antoinette is familiar with the programs since Kevi 's sister is also eligible.
Jeremy Taylor, Kevin's respite care provider, is familiar with the aspects of autism.
Kevin and his siblings participate in the WIC program.
Antoinette participated in the PRT's Annual Meeting. She shares her questions and oncerns.
Goal comments:
8-14-15 We will continue to review needs and options for resources.
The time line and process for transition were reviewed. Antoinette was given a cop: of the Annual Transition Notice. She is aware of options



Student: KEVIN BARDWELL I School: Early Chlldhood Center I Grade: ECSE   I DOB:   2012-11-05   I SRS   Student II #1438502   I District: Norfolk Pu :>lie Schools I School: Early
Childhood Center                                                                                                                                                                    Page 12
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for preschool. Kevin participated in the Little Panther preschool this summer. Ante in=tte would like him to continue with preschool there. We
will continue to review the changes that go with the transition from Early Develop n _nt Network services tc Part B services. The option of
remaining with EDN Services until August 31, 2016 will be discussed so Antoinett< and the team can decid•? when to complete the transition.
Margaret will introduce the new EDN Services Coordinator so she can become farr iliar with Kevin and the family.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 I SRS Student   r· ·   #1438502   I District: Norfolk Ptblic Schools I School: Early
Childhood Center                                                                                                                                                                Page 13
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Goal#3
Goal outcome:

Kevin will participate in meal time by responding to his name. We will know he car fo this when he looks at a family member who has called
his name and touched his arm one time during one meal per day.

Child / Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are willing to try new things to help Kevin progress.
They have experience with special education services and being an advocate for tt eir children.
They have many people in the household that can help with strategies set for Kevi1 Ir. to meet his goals.
Kevin's Early Development Network providers are knowledgeable about resources , : 1d willing to share inforr,ation and seek out information
to help Antoinette and Kevin.
What will be done/ by whom:
Kevin Sr. and Antoinette will:
Follow through with recommendations to find activities that will fit into their daily r Jtine.
Assist with scheduling visits and meetings so that services can be provided.
Share their questions and concerns.

Melissa, Early Childhood Special Educator, will:
Monitor and track overall development with Kevin Sr. and Antoinette.
Provide information to parents and providers about activities to promote overall de· elopment focusing on activities that will help Kevin begin
to communicate.
Demonstrate strategies and activities that the family can implement within their da y routine to benefit Kevin Jr.

Margaret, Services Coordinator will:
Have monthly contact with Kevin Sr. and Antoinette to review questions and needs.
Consult with Melissa about services and needs related to helping Kevin Sr. and Ante nette accomplish the IF~ P goals set for Kevin Jr..
Coordinate the arrangements for meetings and facilitate communication with Kevin team.
                                                           By Whom
 Progress will be reviewed                                                                                                 How Measured
                                                           Parents, Early Childhood Special Educator, a d EDN
 6 months                                                                                                                  Parent Report, ot servation, and Information Shared
                                                           Services Coordinator




 Student: KEVIN BARDWELL I School: Early Chlldhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS Student n   #1438502   I District: Norfolk Public Schools I School: Early
 Childhood Center                                                                                                                                                             Page 14
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Plan Review for this Goal
2015-02-20
Goal progre~s:
8-21-14 New Goal
2-5-15 Update:
Anto.inette has shared that Kevin Jr. has turned to Kevin Sr. calling his name a cou )le of times but it is not consistent. Antoinette and Kevin
Sr. are working on this throughout all daily experiences. Kevin does show occasio 1c I response to some of the noises that his mother and
father make when he is doing something he is not supposed to do. If they do a IOI :d, "Ah, ah, ah" he will typically stop touching the buttons
on the television.
8-14-15 Kevin does not respond to his name. Antoinette shared that she thinks he k:1ows his name even though he doesn't respond to it.
Goal comments:
8-21-14 New Goal
2-5-15 Update:
This goal will be continued. The family will continue to practice and reinforce this ;kill throughout their dail·1 routines.
8-14-15 Continue this goal at home and preschool.




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE   I DOB: 2012-11-05 I SRS Student!   · #l438S02   I District: Norfolk Pvblic Schools I School:   Early
Childhood Center                                                                                                                                                                Page 15
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Goal#4
Goal outcome:
Kevin will participate in bath time by imitating. we·will know he can do when he c, ipies the actions or sounds he sees and hears his brother
Kevvon doing at least two times during a bath.
Child/ Family strengths and resources related to this goal:
Antoinette and Kevin are open to sharing their questions and needs.
They are willing to try new things to help Kevin progress.
They have experience with special education services and being an advocate for tt i"ir children.
They have many people in the household that can help with strategies set for Kevi1 Jr. to meet his goals.
Kevin's Early Development Network providers are knowledgeable about resources , 1d willing to share infornation and seek out information
to help Antoinette and Kevin.
What will be done/ by whom:
Kevin Sr. and Antoinette will:
Follow through with recommendations to find activities that will fit into their daily r< Jtine.
Assist with scheduling visits and meetings so that services can be provided.
Share their questions and concerns.

Melissa, Early Childhood Special Educator, will:
Monitor and track overall development with Kevin Sr. and Antoinette.
Provide information to parents and providers about activities to promote overall de1 elopment focusing on acivities that will help Kevin begin
to communicate.
Demonstrate strategies and activities that the family can implement within their da y routine to benefit Kevi 1 Jr.

Margaret, Services C_oordinator will:
Have monthly contact with Kevin Sr. and Antoinette to review questions and needs.
Consult with Melissa about services and needs related to helping Kevin Sr. and Ante nette accomplish the IFSP goals set for Kevin Jr.
Coordinate the arrangements for meetings and facilitate communication with Kevin ; team.
                                                           By Whom
 Progress will be reviewed                                                                                                   How Measured
                                                           Parents, Early Childhood Special Educator, a, j EON
 6 months                                                                                                                    Parent Report, Ob ;ervation, and Information Shared
                                                           Services Coordinator
 Plan Review for this Goal
 2015-02-20




 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012·11-0S   I SRS   Student It ft1438S02   I District:   Norfolk Public Schools   I School: Early
 Childhood Center                                                                                                                                                                   Page 16
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Goal progress:
8-21-14 New Goal       ' J

2-5-15 Update:
During bath time, Kevin Jr. is very focused on playing, splashing, and pouring wate . He is not demonstrati g imitation skills during this time
period but imitation is being noted in other portions of the day. During play time, r ?wil l imitate things that 1is brother KJ is doing. For
example, when KJ drops blocks through the handle of a push toy, Kevin will observ,, for a short period of time and then try the same thing.
 When his mother does patty cake, he will place his hands on the outside of hers tc fo the clapping along with her.
8-14-15 Kevin is not imitating sounds or activities at home. He imitates activities a0 xeschool, e.g., clapping his hands and patting his legs.
Goal comments:
8-21-14 New Goal
2-5-15 Update:
This goal was originally written to highlight bath time because that was one portior Jf the day that Kevin ap ]eared to enjoy. To broaden
this goal, we will focus on expanding Kevin's imitation skills across all parts of his d y over the next 6 month period.
8-14-15 Continue the goal at home and preschool. Imitation skills at preschool may 'nclude concepts of num =racy and preliteracy during the
daily routine at preschool. Activities may include matching letters and numbers, co nting,, concepts of more, some and few. Other activities
may include imitatinig and repeating the alphabet, e.g., ABC song. Focus will be inc easi r:ig vocabularywhich may include vocaling and sign
language.




Student KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 I SRS Student It ft1438502   I District: Norfolk Public Schools I School:   Early
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Goal#S
Goal outcome:
Kev.in will participate in family outings by listening and communicating his needs. V= will know he can do this when he follows directions,
screams less, and lets people know what he wants by pointing, vocalizing or using s;gn language at least three t imes a day.
Child/ Family strengths and resources related to this goal:
Antoinette and Kevin are motivated for Kevin to learn to listen to them and do whc t they tell him to do.
Everyone in the home helps keep track of Kevin.
Kevin is learning new skills at preschool.
Antoinette shared that she though Kevin was listening better and doing a lot bette ·Jn asking for things.
What will be done/ by whom:
Antoinette and Kevin will:
-Share information about Kevin and how he is doing at home and on family outing~
-Make sure he gets to preschool.

Kevin's teachers will:
-Share information about Kevin and how he is doing at school.
-Share information about strategies that work at school so his family can try them , :: home.

EON Services Coordination will:
-Have monthly contact with Kevin's parents to review progress, services and needs
-Facilitate communication with his team members.
-Review the transition process.
Progress will be reviewed                                  By Whom                                                         How Measured
In 6 months                                                Team                                                            Parent and teach,,r report, Observation
 Plan Review for this Goal
 2016-02-12
Goal progress:
8-14-15 New goal.
Goal comments:
8-14-15 New goal.




 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS   Student IC #1438502   I District: Norfolk Pul ,lic Schools I School: Early
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Are there special conditions for safe transportation for this child?
Kevin uses a standard,car sear.
Services
Service:
Services coordination
Setting:
Home
How often?                                          How much?                          Group/lndivif t al                                 Natural Environment
1 days/month                                        15 min/day                         Individual                                        YES
When service Starts and Ends?                                                          Who Pays?                                          Rnsponsible?
Aug 14, 2015 - Feb 12, 2016                                                            Early Developr 1 !nt Network                       Services Coordinator
The method of delivery for Part C services will be in person services.
Service:
Special Instruction
Setting:
Community
How often?                                          How much?                          Group/lndivid al                                   Natural Environment
2 days/week                                         200 min/day                        Group                                              Ye:;
When service Starts and Ends?                                        Who Pays?                                           Responsible?
Aug 20, 2015 - Feb 12, 2016                                          School district                                     Teacher
The method of delivery for Part C services will be in person services.

Other Services
Service:                                                          Start Date:                                          End Date:
WIC                                                               Nov 15, 2012                                         Nov 5, 2017
Person Responsible:                                                                    Funding Souri ?:
Parent and WIC Staff                                                                   USDA




 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 I SRS Student It U438502   I District:   Norfolk Pub lic Schools I School: Early
 Childhood Center                                                                                                                                                            Page 19
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Transition Conference Date:                                                            Estimated T, 11sition Date:
Aug 14, 2015                                                                           Aug 31, 2016
Transition Plan
Transition Plan Step 1:
Kevin will be three years old on November 5th, 2015. If he continues to qualify for Early Development Network services at that time, his
EON team will create an appropriate transition plan ~o Part B educational services
Kevin Sr. and Antoinette will keep the team informed about any changes or transi1 ons that would affect services in the meantime, e.g.,
moves, changes in contact information, hospitalizations.
Who is responsible?                                        Time Line                                                        Date Complet£id
Kevin's EON team includes: Parents, Early Childhood        02/20/2015                                                       2015-02-05
Special Educator, EON Services Coordinator,
Transition Plan Step 2:
 Baby KaAliyah joined the family on January 7th.
 90 days before Kevin's third birthday is August 5th, 2015. Time line and process f 1 • transition to Part B ed_Lcational services was
 reviewed. Antoinette is interested in preschool for him. Melissa and Antoinette wi l discuss options for Kevin to practice leaving the house
 since he is not comfortable doing that. They will review options for him to visit the '.•layground since he likei; swinging. Melissa will check
 out the option of Kevin having some of his visits during summer preschool hours s(, that he can be exposed to other children and
 experience the classroom environment. We will finalize his transition plan when we meet for his Annual Review in August.
 Kevin may have surgery on his foot. Antoinette will keep the team informed about 1e possibility after she r 1 eets with the specialist.
 Antoinette does not anticipate any other changes or transitions in the next six mot :hs.
Who is responsible?                                        Time Line                                                        Date Completed
Team                                                       08/05/2015




 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05   I SRS Student 11   #1438502   I District:   Norfolk Puillic Schools I School: Early
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Transition Phm Step 3:
Kevin had visits in the classroom and participated in summer preschool. The optic rs for completing the transition from Part C Early
Development Ne~ork servic~s to Part B educational services were reviewed. Ante ilette would like Kevin to continue EDN services and
attend preschool at the Little Panther Preschool. Norfolk Public Schools is aware o 1hat choice.
Kevin will attend preschool 2 days a week starting on August 20th. Transportatior :o and from school will be provided by the school
district.
Kevin's team will continue to review the option of when to complete the transition •~.g., at the Six Month Review in February or at the
Annual R~view in August.
EDN Services Coordination and Parents will continue to review the changes that w I' accompany the transition, e.g., home-based to
preschool, end of Services Coordination, IFSP vs. IEP.
A copy of the Annual Transition Notice was given to parents.



Who Is responsible?                                           Time Line                                                  Date Completed
Team                                                          02/12/2016



Family Choice: Consent to the continuation of early intervention services · 1 • initiation of Special Education services

     • I/We have received a copy of the Annual Transition Notice.
     • I/We have been informed about the differences between, and the right to cha : se, early intervention services provided through an IFSP
       under the Individuals.with Disabilities Education Act (IDEA) and the preschool '.;pecial education services provided through an
       Individualized Education Program (IEP) under IDEA once my/our chi ld reaches -1ge 3.
     • I/We understand that if I/we choose for my/our child to rece ive specia l educa1 m services through an 11:P, my child and family will no
       longer receive early intervention services nor will receive early intervention s ·rvices coordination.
     • I/We understand that if I/we choose for my/our child to continue to receive ea y intervention services 1hrough an IFSP, at any time I/we
       may elect to receive special education preschool services instead of early inti -vention services.
     • I/We understand that my/our consent to the continuation of early interventior services is voluntary and that I/we may revoke consent
       at any time.

 o Yes o No            I/We consent to the continuation of early intervention services for my/our child and amily through an IFSP after rrv/our child's third birthday.
 o Yes o No            I/We request initiation of preschool special education services for my/our child and imily at or after age 3.




 Student: KEVIN BARDWEU I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11-05 [ SRS Student I     #1438502   I District:   Norfolk Puhlic Schools   I School: Early
 Childhood Center                                                                                                                                                                Page 21
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Parent Signature 1                                       Date                                                         Parent Signat ire 1 On File

Parent Signature 2                                       Date                                                         Parent SignatiJre 2 On File




(If 'No' selected above, please explain)




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012-11·05 I SRS Student II #1438502   I District: Norfolk Pul •lie Schools I School: Early
Childhood Center                                                                                                                                                            Page 22
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Team Members Prese11~ at the Meeting:
Name                                               Role                                        Address
Antoinette Brandy                                  Parent                                      1217 Madison A1e. Norfolk, NE 68701 402-6L0-8206
Name                                               Role.                                       Address
Monica Pickinpaugh                                 Early Childhood Special Educator/District   310 S 3rd St.,   >()   Box 139, Norfolk, NE 68702-0139 402-644-2550
                                                   Representative
Name                                               Role                                        Address
Margaret Jensen                                    Service Coordinator                         1405 Riversid, Ellvd., PO Box 293, Norfok, NE 68702-0293 402-371-7284

Others who are part of the Child/Family Team:
Name                                               Role                                        Address
Erin Pierce, M.D.                                  Pediatrician                                301 N 27th St. 'iuite #1, Norfolk, NE 68701 L 02-844-8021
Family initial for copy of pages sent
A.B.
Name                                               Role                                        Address
Jeanette Hastings                                  SSI-DCP Case Worker                         209 N 5th St., ~Jrfolk, NE 68701402-370-3L!l
Family initial for copy of pages sent
A.B.                                       ,




Student: KEVIN BA~DWELL I School: Early Chlldhood Center I Grade: ECSE        I DOB: 2012-11-05 I SRS   Student Ii #1438502    I District: Norfolk Pu 1lic Schools I School: Early
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Parents/ Fam"!y ,nformed Consent
The early intervention services will be provided as described in the IFSP and must 'Je:gin no later than 30 dc·ys from the date of my/our
written consent. I/We understand that the IFSP will be reviewed at least every six 5, months.

     •   I/We understand that a copy of the IFSP, evaluation, child assessment and fc -rily assessment will be distributed within 7 calendar days.
     •   I/We understand that my/our consent is voluntary and that I/we may revoke :rnsent at any time.
     •   I/We have peen informed of the determination(s) of the IFSP team in my/our 1ative language or other mode of communication.
     •   I/We understand we can accept or decline any service listed in the IFSP withe L't jeopardizing receipt o-' other services we accept in the
         plan.

Parents / Guardian Signature
I/We understand the plan and parental rights and give permission to imp' ement this IFSP, and ~1ive consent for all services in
the IFSP.
Parent Signature 1                                          Parent Signature Date 1                                      Parent Signat11re 1
Antoinette Brandy                                           2015-08-14                                                   Yes
Parent Signature 2                                           Parent Signature Date 2                                     Parent Signatl1re 2
                                                                                                                          No
(If 'No' selected above, please explain):
Any Comments:



I/We do not agree with the proposed IFSP as written. However, I/we do cc · sent to the following services/frequency:
Parent Signature 1                                           Parent Signature Date 1                                      Parent Signature 1
                                                                                                                          No
 Parent Signature 2                                          Parent Signature Date 2                                      Parent Signature 2
                                                                                                                          No




 Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE I DOB: 2012·11•05 I SRS Student II #1438502 I District: Norfolk Puillic Schools I School: Early
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  NORFOLK
                                                                  Multidisciplinary Evaluation Team MDT Report
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                     C' 1111 0 Cl 11
                                 11•




 Student: KEVIN BARDWELL                                                                         Date of Birth: Nov 5, 2012                          Grade: El 0-2
 School: Early Childhood Center                                                                  School District: Norfolk Public Schools
 Parents: Kevin Bardwell Sr., Antoinette
 Brandy


Date MDT: 08/21/2014
Date Notice: 08/19/2014

The evaluations consisted of procedures that were used to determine whether the child has a disability
and the nature and the extent of the special education and related services that will be provided, if the
child qualifies.

Check all that apply to this MDT Report
Initial verification: No
111-=•:-~          l,fl-r...,.'t.~,- ,c"- ..... ~~ - -   -   ,.    ,.. _ _ _ ..
    - --- - ----~ ........... -.;,.. .. ._M. _ _ ...,._, V'-'J~-'-/LU.l..""T
                                                                                  ·- -   -   •




181 The testing materials and procedures selected and administered were not racially or culturally
discriminatory.
Check either A or B
         ® The MDT evaluation was completed in the language and form most likely to yield accurate
         information on what the child knows and can do academically, developmentally and functionally.
         o It was not feasible to complete the MDT evaluation in the child's predominant or native
         language or other mode of communication.

                   Explanation:

181 Materials and procedures used to assess a child with limited English proficiency were selected and
administered to insure that they measure the extent to which the child has a disability and needs special
education, rather than measuring the child's English language skills.

 181 A variety of assessment tools and strategies are used to gather relevant functional, developmental
and academic information about the child, including information provided by the parent, and information
related to enabling the child to be involved in and progress in the general education curriculum (or for a
preschool child, to participate in appropriate activities), that may assist in determining whether the child
is a child with a disability according to 92 NAC 51 (Rule 51), and the content of the child's IEP or IFSP.

181 All data information obtained from the parent was considered for the purpose of making the
verification decision.




Student: KEVIN BARDWELL I School: Early Chlldhood Center I Grade: El 0·2                                       I DOB:   2012-11-05   I SRS Student ID #1438502   Page 1
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Summary of data obtained:
Data from the parent is documented in initial referral contact with Service Coordinator, and on the RBI.
Parents are concerned that Kevin may have a hearing loss since he is not talking.

181 Instruments used to complete the MDT evaluation have been validated for the specific purpose for
which they were used.

181 The assessments are administered by trained and knowledgeable personnel in accordance with any
instructions provided by the producer of the assessments.
If the assessment was not conducted under standard conditions, state the description of the extent to
which the assessment varied from standard conditions.

181 Assessments and other evaluation materials were used for purposes for which the assessments or
measures are valid and reliable.

181 Tests and other evaluation materials included those tailored to assess specific areas of educational
need and not merely those that are designed to provide a single general intelligence quotient.

181 Tests were selected and administered so as best to insure that if a test is administered to a child with
i11·1pc1i1 eU :,et ,soi 'v. , , ,,,.-,; ,;.;;   1 11   • ,,:.,:-:, i · , , .• • ' : : '   · ' _ ~- - : • _ _       ~--'-'•   "'"''-;Y , c:;·,c:LL   Lt   1c: LI 111u \::, ajJLI LUUI: u1

achievement level or whatever other factors the test purports to measure, rather than reflecting the
child\'s impaired sensory, manual, or speaking skills (unless those skills are the factors t hat the test
purports to measure).

181 No single measure or assessment was used as the sole criterion for determining whether a child is a
child with a disability and for determining an appropriate educational program for the child.

181 The child was assessed in all areas related to the suspected disability, including if appropriate, health,
vision, hearing, social and emotional status, general intelligence, academic performance, communicative
status, and motor abilities.

181 The evaluation was sufficiently comprehensive to identify all of the child\'s special education and
related services needs, whether or not commonly linked to the disability category in which the child has
been classified.

181 The team used technically sound instruments to assess the relative contribution of cognitive and
behavioral factors in addition to physical or development factors.

181 The team used assessment tools and strategies that provide relevant information that directly assists
persons in determining the educational needs of the child.

181 Drew upon information from a variety of sources, including aptitude and achievement tests, parent
input, teacher recommendations, physical condition, social or cultural background, and adaptive
behavior;




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181 The information obtained from all of these sources was documented and carefully considered.

181 In making a determination of eligibility, a child shall not be determined to be a child with a disability if
the determining factor is lack of appropriate instruction in reading, lack of instruction in math, or limited
English proficiency.

Check the appropriate line to indicate the verification decision
o   A. No disability verified .
If.no disability is verified refer student to SAT (Student Assistance Team) or problem-solving team and
provide MDT information to SAT.
Drite ReferrPd to SAT:
SAT Contact i-ierson:
@ B. The child has met the written verification requirements as per one or more of the following:

                                                 Autism (AU)     Speech Language Impairment (SLI) in the area :
                             Emotional Disturbance (ED)
                                       Deaf Blindness (DB) D                                     Articulation
                                   Hearing Impairment (HI)
                                          Hearing Disability
                          Deaf (Severe Profound) o                                   Traumatic Brain Injury (TBI) D
                Hr1rd of Hp;:irir,C1 (Milrl/Mnrl~r;:ih:>) n             \/ic:11;:d lmn;:iirm~nt (\II\ in tho :>r<>" ,.,f. n
                                      1me11ecrua1 disability D                                  Visual Impairment
                          Multiple Impairments                                                            Blind 0
                            Orthopedic Impairment (01)                                         Legally Blind 0
                        Other Health Impairment (OHi)                                       Partially Sighted O
                      Specific Learn ing Disability (SLD}                             Developmental Delay (DD) 181
                                      Primary Disability: Developmental Delay (DD)

Basis for making the determination:
Kevin qualifies for early intervention services in the area of developmental delay as per the Nebraska
Department of Education Rule 52. This rule states that a child shall have a significant delay as measured
by appropriate diagnostic instruments and procedures in one or more of the following areas and, by
reason thereof needs special education and related services: cognitive development; physical
development; communicative development; social/emotional development; adaptive behavior or skills
development, or a diagnosed physical or mental condition that has a high probability of resulting in a
substantial delay in function in one or more of such areas.

The following assessments were used and support this verification decision:

Kevin was referred to Early Development Network by Dr. Erin Pierce. Concerns noted at the time were
that Kevin was not responding to his name, he was not talking very much, and his overall development
seemed delayed.

Kevin is not currently meeting age level expectations in the areas of cognitive development, adaptive
behavior, and social-emotional development. The family presented concerns to the team that Kevin had
a significant hearing loss. A sedated Auditory Brain Response hearing evaluation was completed at



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Boystown National Research Hospital on August 22, 2014 and it was determined that Kevin demonstrated
a unilateral mild loss in his left ear. See attached report.

At the time of evaluation, Kevin did not interact with the people within his home environment or the
evaluators. As his parents described it, he appears to "be in his own world". Kevin appeared to be
unaware of new people entering his home, did not play with any toys or his brother, and was not startled
when a balloon popped very suddenly. Kevin spends a great deal of time during his day poking holes into
the couch cushions and mattresses in order to dig out stuffing that he then places in his mouth. Kevin's
parents say that he will mouth the stuffing until an adult realizes what he has done and then he will
quickly swallow it to avoid having the stuffing removed from his mouth. Kevin's father explained that
they have to constantly watch him in order to attempt to control this behavior. It was stated that Kevin
wili even hide the stumng in various places in the home in order to retrieve it at a later time. He does not
try to communicate with his family or try to make his needs known. He will not point at people or things
or pull on his family to get their attention. He makes no attempt to let them know he is hungry or thirsty
but will eat food/drink they leave out for him. He rarely displays very brief eye contact and he does not
play with toys, but will 'mouth' them or other objects at times.

Developmental Assessment of Young Children:


Receptive Language 55=<50 (significantly below average).
Kevin demonstrates a normal breathing pattern, will smile occasionally at family and will briefly stop an
activity when his mom loudly says "Eh Eh Eh." He does not follow simple commands; shake his head yes
or no; move to music; turn toward a loud noise or respond with appropriate gestures for 'up' or 'bye bye.'
Expressive Language 55=57 (significantly below average range). Kevin makes a few noises such as /m/;
he has different cries for different needs; produces vowel sounds and will laugh out loud when tickled. He
does not produce strings of different sounds such as /mama/; he does not use any words and makes no
attempt to communicate with his family or others.
Total Language 55=53 (significantly below average range).


Cognitive Subtest: (mean=100,SD=15) 55= 82 (Borderline Range)
Kevin is currently able to transfer objects from one hand to another; retrieve an object that is hidden; roll
wheeled toys; and demonstrate appropriate use of everyday items such as a cup. Items that Kevin is not
yet completing include looking at pictures in a book; handing an object to a person to have a desired
action repeated; imitating scribbling; combining two related objects during play such as a bowl and a
spoon; and managing multiple toys by setting one aside when given a new toy.

Physical Development Subtest:
Gross Mt>tor·(mean=l00, SD=15) 55= 91 (Average Range)
Kevin is 'demonstrating many age appropriate skills within this area. He is able to squat during play;
stoop down to pick something up and then stand again; climb on low play equipment; and walk up and
down statrs·with the support of a rail or wall. He is not yet throwing a ball overhand; running without
falling; or walking up stairs by alternating feet.




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Fine Motor (mean=l00, SD=15) 55=82 (Borderline Range)
In this area, Kevin is able to pick up small objects using his thumb and forefinger; poke with his index
finger; and hold an object between fingers and opposed thumb and palm of hand. Kevin is not yet
turning thick pages in a book; scribbling spontaneously; holding a crayon; or using one hand consistently
in most activities.



Adaptive Behavior Subtest: (mean=l00, SD=15) 55=78 (Below Average Range)
Kevin is able to feed himself finger goods; chew textured foods; cooperate in dressing routines; and sleep
through the night. Areas. that need further development include drinking from an open glass held by an
adult (not a sippy cup);· sipping liquids using a straw; helping with simple household tasks such as putting
tl·iii·19::. dwdy; d11u fussing or c:ommunicating when his diaper needs to be changed.

Social-Emotional Subtest: (mean=l00, SD=15) 55=54 (Significantly Below Average Range)
Kevin is demonstrating skills far below his age level expectation within this developmental area. Items
that he can currently demonstrate include relaxes his body when held; stops crying when talked to or
picked up; smiles reflexively; recognizes familiar faces and objects by waving arms and legs; comforts
self; and laughs when head is covered with a cloth. Kevin does not establish eye contact for at least a
few seconds; look at adult faces for several seconds; interact by smiling and cooing; know the different
uetwee11 C.c11ewiv e1,c, 011d :C.lln l l\l>-'1'-, '. -;11 ·, j jpc_ ;.; i , ,, ,. ,.. ; ' " ";" ;,.,;.,,_'. ' ' :, , : '
called by looking at the person and vocalizing.

Receptive-Expressive Emergent Language Test-Third Edition: (mean=l00,SD=lS)
Receptive Language 55=<55 (significantly below average range). Kevin does not respond to unexpected
sounds or respond to any sounds; he is not quieted by your voice or look at someone when they are
talking to him.
Expressive Language 55=<55 (significantly below average range). Kevin will cry loudly and makes a few
vocalic or consonant sounds; he has different cries for different needs; he makes some happy sounds. He
does not imitate sounds he hears you make to him; he does not vary the pitch of his sounds or laugh
unless tickled.




Describe the child's education needs and the nature and extent of the special education related services
that the child needs; for infants and toddlers, describe the developmental needs in each of the
developmental domains and the unique needs of the child in each of the developmental areas.

Educational needs:


1. Cognitive Development:
This is an area of concern as Kevin is currently scoring below average. It remains difficult to properly
assess Kevin's cognitive abilities as it is a struggle to gain his attention.


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2. Physical Development:
This area will continue to be monitored. Currently, Kevin's Gross Motor Skills are an area of strength
within the average range . His fine motor skills are scoring in the borderline range.

3. Communication Development:
This is an area of concern as Kevin is currently scoring significantly below average. He is not currently
producing any purposeful communication attempts with his family members.

4. Social/Emotional Development:
This is an area of concern as Kevin is currently scoring significantly below average. He is not currently
demonstrating eye contact or a social awareness of others around him.

5. Adaptive Development:
This is an area of concern as Kevin is currently scoring well below average. He is not demonstrating age
appropriate adaptive skills.




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Listing of required Team Members

 #                     Name                                 Position on MDT              "I agree with the MDT decision"
                                                                                       Yes
 1 Kevin Bardwell Sr.                              Father

                                                   MA,CCC-SLP/District                 Yes
 2 Julie Mueller
                                                   Representative

                                                   Early Childhood Special            Yes
 3 Melissa Jantz
                                                   Educator
r0r stuJE:, 1i.::. di.i.e11ciing non-puo11c schools, an administrator or a designated representative of the non-
public school shall be a member of the MDT.

* Should a member(s) of the MDT not agree with the conclusion(s) of the report, they must submit a
separate statement (minority report) presenting his or her conclusion(s).

The parent was provided a copy of the multidisciplinary evaluation team report on: 08/28/2014 by:
Melissa Jantz

MDT has been provided at no cost




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     6~                                                              Individual Educatir,n Progra~ (IEF'}
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Student: KEVIN BARDWELL                                                     Date of Birth: Nov 5, '.01~:                                 Grade: ECSE
School: Early Childhood Center                                              School District: Norfc k Pt1blic Schools
Parents: Kevin Bardwell Sr., Antoinette Brandy                              In Effect: Feb 11, 2011 to ::eb 10, 2017


The Following Participants Were In Attendance At The IEP Meeting                                                                    Conference Date: Feb 11, 2016

 Participant Name(s)                                              In Attendance? Position/Rel, tio1ship To Student                                   Date
 Antionette Brandy                                                       Yes         Parent                                                       Feb 11, 2016
                                                                                     Student (wherever appropriate, or if th~ student is 16      _/_/
                                                                                     years of age o - olcler)                                            ---
 Monica Pickinpaugh                                                      Yes         Regular eduec jon teacher                                     Feb 11, 2016
 Monica Pickinpaugh                                                      Yes         Special educa; ion teacher or provide~                        Feb 11, 2016
 Melissa Jantz                                                           Yes         School district rep resentative                               Feb 11, 2016
 Monica Pickinpaugh ·                                                    Yes         Individual to ir terpret evaluation result~;                  Feb 11, 2016

Parent Signature

 ® Yes                        No   The school district has taken the necessary action to ensure tha: I understand the proceedings of this IEP conference
                        O
                                   (including arrangement for an interpreter, if appropriate).
 ® Yes O No                        I have received a copy of the IEP at no cost.
  ® Yes                 o No       I have been offered a copy of my parental rights at no cost.
  ® Yes                 o No       Parent Signature.

The document was signed by parent on Feb 11, 2016




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Special Consi~erations
Student's str,!'lgths:
Kevin has adjusted to coming to center. He rides the bus and comes into schoo most of the time without getting upset. He can sit during
group for longer periods of time. He is beginning to attend to music and will occ asi ,Jnally hum. He smile'., in response to positive
interactions from adults and peers. He is able to find things to do during free pl 1y c1 ctivities that are appropriate. Kevin is undressing for
bathtime, and when it is time to eat he climbs in his high chair. If he wants som, thi ·,g to eat, he will also go to his high chair.
Parental information, including concern.s for enhancing their child's edu :ation:
                                                                                                       - ----- ---
Parent is concerned about Kevin responding to his name better, using eye contc : t, 3nd communication skills.


Results of initial or recent evaluation(s):
Kevin was placed in services based on a verification of Developmental Delay, bu ~w 2 are pursuing further evaluation to look into a
verification of Autism.

Results of child's performance on any general state and district-wide as ,essments:
                                                                                                        - - - - - - - - - -- - - - -- - - ------,
 Kevin has been assessed using the Teaching Strategies GOLD assessment and i si(Jnificantly below age level in all areas except Gross
 Motor skills.

If behavior impedes learning, consideration of the use of positive behav 'on! interventions ancl strategies:
 This was considered by the IEP team, but was deemed unnecessary at the time.


If student has Limited English proficiency, consideration of language ne       !df

· This was considered by the IEP team, but was deemed unnecessary at the time.
                                                                               ----------- - ----- ------.

If the student is blind or visually impaired, the IEP shall provide Braille i 1st ruction and the use of Braille, unless after an
evaluation it is determined that Braille, and the use of Braille is not app ·oi:: riate for the child:
 This was considered by the IEP team, but was deemed unnecessary at the time.
                                                                                                              ---------------- -----.



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Consideration of the Child's Communication Needs:
Kevi n is currently c1 rno~tly non-verbal child. He will vocalize to express emotio1 s, tut has very few functional words. He will be exposed to
sign lanuage, pictures, an1 use of an /\lternative/Augmentative Communication device that provides voice output

For children who are deaf or hard of hearing consideration of the follo\11 ing 3 areas:                   1

                                                                           ---=C--- - - - - -- ·- - - - - - - - - - - - -
1. Child's language and communication needs:




2. Opportunities for direct communication with peers and professionals in ·:he child's languagci and communication mode:
This was considered by the IEP team, but was deemed unnecessary at the time.


3. Academic level and opportunities for direct instruction in the child's I mnuage and commun 'cation mode:
                                                                                                                                      ---------------,
                                                                                                                                  1




This was considered by the IEP team, but was deemed unnecessary at the time.



Consideration of the Child's Need for Assistive Technology Service or De vice:
                                                                                                              ---------
 Kevin will have access to sign language, pictures and an Alternative/Augmentat' ,e ·::::ommunication devio: with voice output to aid in his
 ability to communicate with others in his environment.

Present Level of Academic Achievement and Functional Performance:
Includes how the child's disability affects the child's involvement and progress in the gen iral education curriculum, c r for preschool children, how their
disability affects the child's participation in appropriate activities:
 Kevin in non-verbal and has overall developmental delays that affect is ability tc interact appropriately with Jeers and adults in his
 environment.

   Please check to confirm that you have addressed the student's needs in the ar :a Jf Physical Education




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Goals
Goall
Measurable Annual Goal:
Kevin will increase skills in the following areas: imitation of actions and movem(~nts. ability to wait to be~1in ;; n activity, ability to complete
actvities independently, follow the daily routine, follow instructions, complete a :tivijes involving sorting, and matching, and improve skills
related to concepts 'of size, shape, color, quantity, and prepositions and to nam) family members in order fo :- him to better communicate
with others in his environment and to participate in preschool activities.

Short Term Objectives:




PROGRESS R~PORT:
Schedule: C - Semester
Evaluation Procedures/Instruments: Teacher Observation, Parent Report
Person(s) Responsible: Parent, Early Childhood Specialist
Review Dates: 05/13/2016, 09/23/2016, 02/10/2017
State.ment of progress:
Statement of how student's progress will be reported to parents: (i.e., progress reports, k tte:-s,   _ ____
                                                                                                    phone calls, etc.):
                                                                                                _.;_,__             _ ; _ _.   ____________        ___,

 Progress reports on computer, notes home, personal conversations and parent/t ~acher conferences.




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Statement of Special Education and Related Services:
Provide a statement of special education services provided to the child ancl include a description of the extent, if any, to

I
which the child will not participate with nondisabled children in the reg Jlar c.lassroom.
 Center basl,d preschool services.                                        ----------------------.



                                                                                                                                                                   Service
                           Serv.i ce                             Duration                               Location                         Frequency
                                                                                                                                                                   follows
                                                         Start Date      End Date                                               T'mes/day   I                      school •
                                                                                                                                                Frequency !Months calendar

 Special Educ;ation Service

 Special Instruction (Resource)                         Feb li. 2016 Feb 10, 2017      Regular Earl· , Childhood Program, <10   200 min/dayj2 days/week!            Yes
                                                                                          h/wk; s, :rvic2s at EC Program
                                                                                                       -




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Transportation
Child qualifies for
                 .
                    special
                     . ', •·J•
                               education transportation: No
Alternate Assessment
Assessment Criteria:
 o Yes o No Does this student have a most significant cognitive disability?
     Yes       No Is the student's course of study is aligned to the extended indicato ·s of the Nebraska Colleg:? end Career Academic
 0         O
                  Standards?

 o Yes O No          Does the student require extensive, direct individualized and subst 3n : ial support to achieve ffii=asurable gains on the
                     Nebraska College and Career Academic Standards for the grade th ~y are enrolled?

 o Yes o No          Is the decision to participate in the Alternate Assessment NOT BAS :D ON exclusionary factors              3S   listed in the alternate
                     assessment checklist?

Assessment Participation:
  ® Yes o No              The student will participate in.regular state and district wide as ;essments.
  o Yes® No               The student will participate in regular state and district wide as ;essments WITH accomrr odations.
  o Yes® No               The student will participate in the state and district wide appro- ·eci alternate assessment .




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Extended School Year Services




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Prior Written Notice Section
Date of Note: _ l _t.__ _
Date of Delivery: _t_
                    , _!_ __
Method of Delivery:
A description of the action proposed or refused by the school district or ap·oroved cooperative:
                                                                                                                         -------------


An explanation of why the district or approved cooperative proposes or refuses to take the action:
                                                                                                    -------------------------,


A description of other options the IEP team considered and the reasons why those options wer_
                                                                                            ·e_r_e_j_e_ct_e_d_:_________,




A description of each evaluation procedure, assessment, record or repo t tlle school district or· approved cooperative uses as
a basis for the proposal or refusal:




A description of any other factors which are relevant to the school distri ::t'·i or approved coopnrative's proposal or refusal:




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Parents of children with disabilities have rights which are protected under the pr >Ceclural safeguards of the Individual with Disabilities
Education Act (IDEA). ·1f you would-like a copy of your procedural safeguards, or i ' yo:J have any questions regarding this notice or your rights~
                     . ..   t   .


you may contc1ct::

Name:
Phone Number:

Additional Resources You may contact any of the following resources to help yo understand the federal and state laws for educating
children with disabilities and parental rights granted by those laws. An explanati, n cf your rights will be p.-ovided at no cost by any of the
following organizations:
Nebraska Parent Training Center: 800-284-8520 or 402-346-0525
Nebraska Advocacy Services: 800-422-6091 or 402-474-3183




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                          PARENTAL CONSENT FOR PUBLIC SCH )C L DISTRICT TO .ACCESS MEDICAID                     1




                                           FUNDING (MIPS :onsent Form}

Student: KEVIN BARDWELL                                                                 School Dis :ric :: Norfolk Public Schools
School: Early Childhood Center                                                          Parents: K vin Bardwell Sr., AntoinEtte Brandy
                                                                                                         1




State Law requires public schools to access Federal Medicaid funding for IEP and IFS ') directed therapies ~,rovided to children eligible for
Medicaid. Federal Law requires parental consent for districts to access this Medi4 aid funding. The district 'Nill not require parents or children
to enroll in the Nebraska Medicaid program and claims will only be submitted w~ 2n the child/student is el gible. Regardless, all required
special education services must still be provided by the school district at no cost to the child or family. Th s consent is voluntary-and may be
withdrawn at any time. (Nebraska R.R.S. 43-2511; and 34 CFR 300.0 & 34 CFR 3· 10.154)

This CONSENT/REFUSAL is made on behalf of the student/child named herein an, applies only for therapies identified and actually provided
during the effective period of this IEP/IFSP

O I give CONSENT to the public school district named herein to (a)                         o I REFU: ;Et J give consent to the public school district to (a) disclose
disclose my child's personally identifiable information to the State                       my child' : personally identifiable information to the State agency
agency responsible for administering my State's Public Benefits or                         responsit e for administe ring my State's Public Benefits or Insurance
Insurance Program Under State and Federal law, including IDEA and                          Program i tnd,2r State and Federal l3w, including IDEA and FERPA, or
FERPA, and (b) access Medicaid funding on behalf of my child (named                        (b)access Mejicaid funding on beh3lf of my child and understand that
above) and understand that I may withdraw this consent at any time                         my refuse I will not affect the district's obligation to provide my child a
upon written notice to the public.school district.                                         Free Appr Jpr'ate Public Education :FAPE) at no cost.

Parent Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ Date:_/_/_ __




Student: KEVIN BARDWELL I School: Early Childhood Center I Grade: ECSE   I DOB:   2012-11-05   I SRS Stude t   IC' #1438502                                 Page 10
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  Gary Community School Corp                                                               Education Evaluation Report




  arm
  Student:     Kevin Marcus Bardwell                             STN:   471017004
                                                                                                 Date of Report: 05/31/2018
                                                                                           Individualized Education Program




  Date of Birth: 11/05/2012                                      Evaluation Type: Reevaluation
  Age: 5                                                         Evaluation Start Date: 04/25/2018
  Gent:ier: M
  Current Grade: Pre-School
  School: Mary M Bethune Early Child Dev Ctr (4057)

  Guardian Information:
  Relation: Mother                                              Relation:
  Name: Antoinette Brandy                                       Name:
  Business Phone: 219-201-4571                                  Business Phone:
  Home Phone:                                                   Home Phone:
  Mobile F'hone:                                                Mobile Phone:
  Address: 409 west 20th Place Gary IN 46407                    Address:
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Kevin is a 5 year 6 month old African American male who was referred for a reevaluation to determine continued eligibil-
ity of special education services under a different category. Currently, he receives special education services tor Devel-
opmental Dela_v and Language lmpairmp,n(.

An individualized comprehensive educational evaluation was completed to inform special education eligibility and pro-
gramming decisions. A discussio.n of the evaluation results and findings are presented below for each of the assess-
ment domains that were addressed,

 BACKGROUND INFORMATION
 Social/Developmental History

Kevin resides with his mother, Antoinette Brandy and his siblings: Christopher Gary/13 yrs, Janiah Taylor /11 yrs, Ja'Alyahl
Taylor/1 O yrs, Kev'Von Bardwell/6 yrs, and Ka'Aliyah Bardwell/3 yrs. Kevin's father visits him at least once a week. En-
glish is the primary language spoken in the home.

Ms. Brandy reports that her pregnancy was full term and without complications. Kevin weighed 5 pounds 3 ounces at
birth; , His mother goes on to report that Kevin sat alone at 3 months, crawled at 6 months, walked alone at 12 months,
and is nonverbal.

Kel/in'.s previous evaluation indicated that he experienced a mild hearing loss in his left ear. He has a diagnosis of Autisml
Spectrum Disorder.
 Medical and Mental Health Information

 Medical tlpdate: 5/21 /18: Student tested for autism 9/16/16, child diagnosed with Autism Spectrum disorder. Parent re-
 ports ·child does not talk and had a skin graft to his feet at age 2, reason not reported to nurse. The child has Dr. Iyer
 as the 1Pediatriclan. At present, there is no vision or hearing screening available. (8. Grey, RN)

 OBSERVATIONS
 Observations in the Learning Environment


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                                                                                                                                                 ,·
   Kevin uses a picture schedule to manage his day as well as using pictures to make request/get needs and wants met.
   He is making choices from pictures. Kevin has mastered following simple 1-step directions directions, and completes
   tasks in his independent work area when given verbal and visual cues. He does not require anyassistance to remain
   seated during structured activities and he is participating without adult assistance during songs and finger plays. He
   is able to identify simple noun pictures from our vocabulary units from a field of 2 pictures. Kevin is beginling to repeat
   words approximations (ca/cat) and occasionally names pictures without cues.
       ~stematlc Observations

    The ABAS-3 measures adaptive behavior at three different levels. At the highest level is the General Adaptive Compos-
   ite (GAC), which is composed of all measured skill areas and thus provides an overall estimate of adaptive behavior.
   Kevin obtained a GAC of 74 (4th percentile) which falls within the Low range. At the next level are the three adaptive do-
   mains, each comprising multiple individual skill areas: Conceptual, Social, and Practical. Results of an ABAS-3 admin-
   !str2!!cn car. hc!p !dcntify 2 prrson•~ !:trcngth~ ~nd !irr:itations. urid allovv' professionals to plan lrnplorncr.t. anQ rnoriftcr
                                                                                                              1

   interventions.

   The Conceptual Composite consists of behaviors needed to communicate with others, apply academic skills, and man-
   age and accomplish tasks. Kevin obtained a standard score of 63 (1st percentile) which falls within the Extremely Low
   range in this area.

   The Social Composite consists of behaviors needed to engage in interpersonal interactions, act with social responsibility,
   and use leisure time. Kevin obtained a standard score of 71 (3rd percentile) which falls within the Low range in this area.

   The Practical Composite consists of behaviors needed to address personal and health needs; take care of home, class-
   room,'work. and function in a community. Kevin obtained a score of !i5(16th percentile) which falls within the Below Aver-
   age range m this area.

       Adaptive Behavior Assessment System, Third Edition (ABAS-3) Teacher/Daycare Provider Rating Ages 0-5


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   : posite                                                                                                             Provider Name
   I'
   1-
   I Communication
   i Functional Pre-
                                        NIA
                                        NIA
                                                           3
                                                           4
                                                                            NIA
                                                                            NIA
                                                                                                       NIA
                                                                                                       NIA
                                                                                                                         E,;cka w;1KC,i
                                                                                                                         Ericka Wflls-Cox
                                                                                                                                             j
      Academics
       School Living                    NIA                10               NIA                        NIA                     -    -~-- -
                                                                                                                          Ericka Wills-Cox
       Health and                       NIA                6                NIA                        NIA                Ericka Wills-Cox
      Safety
       Leisure                          NIA                8                NIA                        NIA                Ericka Wilis-Cox
       Self-Care                        NIA                8                NIA                        NIA                Ericka Wills-Cox
   I Self-Direction
   I
                                        NIA                6                NIA                        NIA                Ericka Wills-Cox
       Social                           N/A                1                NIA                        NIA                Ericka Wills-Cox
       Motor                            NIA                9                NIA                        NIA                Ericka Wilis-Cox
       General Adaptive                 74                 N/A              72-76                      4                  Ericka Wills-Cox
      Composite
       Conceptual Com-                  63                 N/A              59-67                      ,                  Ericka Wills-Cox
      posite
       Social Composite                 71                 N/A              67-75                      3                  Ericka Wills-Cox

        Practical Com-                  85                 NIA              81-89                      16                Ericka Wills-Cox
       posite

       PRIOR INTERVENTIONS AND PROGRESS
   Kevin is following his picture schedule to manage his day as well as using pictures to make request/get needs and wantst
   met. He has mastered making choices from a field of at least 6-8 pictures. Kevin has mastered following simple 1-step



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           directions directions, and is able to complete 2 tasks in his independent work area when given verbal and visual cues.
           He does not require anyassistance to remain seated during structured activities and he is participating without adult as-
   I
•: '       sistance during songs and finger plays. He is able to identify simple noun pictures from our vocabulary units from a field
           of 2 pictures. Kevin is beginiing to repeat words approximations (ca/cat) and occasionally names pictures without cues.

            EVALUATION FINDINGS
             Academic

           Kevin Is progressing in academic skills. He can recognize his name In print and idenlify(pointing/matching) most letters
           and their corresponding sounds. He is tracing and copying the letters in his name and bubble numbers 1-1 O and can
           recognize some color words. Kevin Is working on matching a set quantity to the numbers 1-5 he is starting to get 1-
           3 bul need assIs1ance w11h h1ghe1 nurnbe1s. f\evin can distinguish big1iiiiie w1u is abie lo lo groupison by (;Uiur, sl1aµ~
           and size lhio/litth>\ HP r.nmn1P1inn nf t;:ic:kc: imnrnvpc: with ;in ;,rl11lt mnrlPI fm firct fpw ;mrl lhPn ic: :>hi,:, In r-nmnl,:,f,:,
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                                                                                                                                                    nn hie;                        -               -           -                    -   -   -


           own. Kevin lollows classroom routines independently and is improving attention to stories that are read to him ..

              Communication

           The Receptive One Word Picture Vocab!Jlar                    RO\.Y_l:VT-4 . and the Expressive One Word Picture Vocabulary
           Test -4__EOWPVT-4) was administered to assess Kevin's ability to understand and name vocabulary at the one word
           level. An average score is between 85 to 115, with a Standard Deviation of 15 points. Results of these test indicate a
           score more than 3 Standard Deviations below the mean score of 1 00 points. Kevin attended well and participated during
           the ROWPT-4 but was very distracted for the EOWPVT-4 in spite of maximum cues by the therapist. Therefore, results
           of thP. EClWPVT-4 ,n,i~, not be ;in ;icc11rc1te rniresP.nlr1tinn of Kevin's triie rtbility lo nc1me obier.ts in oictures .
           f""'li , , ,...; _...,. • I.. _
                -              '
                                             - - .- 1   ., • ' - -   I.I' ..,.:.~ , . -~   , I C~ •
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                                                                                                                                                               -~·-··- . _   ,,... _ ,   ,._ .. , ,..   .. ,..., ,.. .................. _"""'
                                                                                                                                                                                                            • •                 •
                                                                                                                                                                                                                                                .......... ._., .... ,
           word approximations to name pictures.

             Expressive One-Word Picture Vocabulary Test, 4th Edition (EOWPVT-4)
            05:29.'2018

       '     Subtest / Composite                                        Standard Score                                Raw Score                                Percentile                                            Assessment Provider
                                                                                                                                                                                                                    Name
             General                                                     <55                                          2                                        <1                                                    S. Crabtree-
                                                                                                                                                                                                                    Timmons, SLP

            Receptive One-Word Picture yocabulary Test-4th edition (ROWPVT-4)



           Adaptive Behavior

       The Developmental Assessment of Young Children, Second Edition (OAYC-2) was developed to measure the abili-
       ties of young children in five areas_: cognition, communication, social-emotional, physical development, and adaptive be-
       havior. The OAYC is a comprehensive tool for infants and young children. It assesses the primary developmental do-
       mains and provides useful data with respect to developmental status. Average scores are 90-11 O. The Adaptive Domain
       measures independent, self-help functioning. Kevin obtained a score of 82/ Below Average(12th percentile).

           Developmental Assessment of Young Children, 2nd Edition (DAYC-2)


            Subtest I Com-                                     Standard Score                         Confidence Level                 Percentile                      Descriptive                                             Assessment
           posite                                                                                                                                                      Classification                                         Provider Name

            Adaptive Behav-                                      82                                   79-85                              12                             Below Average                                          Ericka Wills-Cox
           ior

           Motor Skills



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    Occupational Therapy Report May 2018 Deborah Surface OTA

     I Assessments:

     __ X_Classroom Observation      _x Peabody Developmental Motor Scales
    _Bruninks-Oserestsky Test of Motor proficiency

    II. §enera! Observation: Kevin has a tendency to sit with his lingers In his ears whenever there is any

    noise that he can not control.

    Ill, Seall11g_: Kevin sits   a regular child',s table and chair within the classroom.
    IV. Gross_ Motor : Kevin presents with generalized low tone through out his extremities. He

    walks and sits with good posture generally.

    V. ~-------
       Fine Motor:

    A. Hand Dominance:Kevin used his left hand to hold the pencil, right hand attempted to hold the paper.
    B. . He used both   hands to stack blocks into a tower..

    C. Qr11sp: Kevin used an mature oraso on the oencil with his th11mh ~nrl firc:t rw"     r;n,,,,,.,
    He is able to utilize good solid grasp strategies when manipulating objects such as pegs or blocks.

    D. Yi_§_ual: Kevin visually attended what he was writing or manipulating.

    E. Visual Motor: Kevin made horizontal marks on the paper. He attempted to color in a circle. He was

    able lo place 3 pegs in and out of a pegboard and place 3 shapes in a shape board. He stacked lO

    blocks. He was unable to trace a horizontal or vertical line, or copy shapes. He was unable to fold

    paper, or use scissors except to snip.

    VI. Sensory:
   A. Auditory: Kevin is unable to ignore extraneous auditory stimulus. He places his fingers in his ears to

   attempt to control noise level. Therapeutic listening was attempted. He seemed to really enjoy the

   music that was played into the headphones. fl took several attempts to remove the headphones

   before he allowed it. He certainly wanted to keep the headphones on and continue to listen to the

   music.

   8. Balance: This area was not directly assessed.

   C. Vestibular : This area was not directly assessed.

   D. ProprioC8J)tion: (proprioception: innate knowledge of where body is in space)

   KeviA's knowledge of where he is in space and what his body is doing seems to be

   diminished, possibly due to his generalized low tone. It is believed that all the extraneous movement

   and tapping is proprioceptive in nature.



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               '     E. Tactile : Kevin demonstrated tactile defensiveness. He hestitantly touched things presented
       .   ;
                    and would rub his body where it was touched.

 ..                 F. Vision: Kevin was not able lo smoothly visually track or visually converge. He would hold onto lhe
.r
                    stimulus for a very short time then lose iVlook away.

                    VII. Self Help : This area was not assessed at this time .

                    VIII. Social: Raimele was very friendly and· attempted everything asked of him to the best of his abilty.



                    1. Direct Occupational Therapy, also utilize consultation and training ol teacher

                    2. Frequency: OT treatment 30 minutes twice a month focusing on the !allowing

                    a) Increase fine motor, visual motor and bilateral motor skills and hand function so he can perform

                    age appropriate fine motor skills needed in the classroom.

                    b ) !ncrease sensory precessing. deep pressure, visual distractibility, vestibular and auditory




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                    05 09 2018

                                                                       . De-sc riptive Classlficalion   - - - i - Assessment Provider Name

                    Additional Assessments

                   The Gilliam Autism Rating Scale- Third Edition (GARS-3) is a norm-referenced screening instrument used lo identify
                   persons who have autism spectrum disorders. Its content is based on the definitions of autism from the Psychiatric As -
                   sociation (2012) and the Autism Society (2012). Kevin obtained an Autism Index score of 116 (86th percentile), within
                   the Very Likely Probability of ASD range, Requiring Very Substantial Support-Level 3.

                    SYNTHESIZED SUMMARY AND CONCLUSIONS

                   Kevin is a 5 year 6 month old African American male who was referred for a reevaluation to determine continued eligibif•
                   ity of special education services under a different category. Currently, he receives special education services for Devel-
                   opmental Delay and language Impairment.

                   Kevin was diagnosed with Autism Spectrum Disorder by Dr. Elizabeth Magno on 12/06/2017.

                   Kevin's adaptive skills are within the Below Average to Extremely Low range, as measured by the ABAS-3 and DAYC-2.
                   In addition, he exhibits multiple symptoms of Autism Spectrum Disorder-as measured by the GARS-3.

                   Autism Spectrum Disorder is defined by Article 7 of Indiana State Board of Education Article 7 (511 IAC 7-41-1) as a
                   lifelong developmental disability that includes Autistic Disorder, Aspergers' syndrome, and other pervasive developmen-
                   tal disorders, as described in the curreAt ver.sion of the American Psychiatric Association's Diagnostic Statistical Manual
                   of Mental Disorders. The disabllity is genefally evident before three years of age and significantly affects verbal, non-
                   verbal, or pragmatic communication and social interaction skills and results in an adverse effect on the student's educa-
                   tional performance. Kevin's assessment data and outside diagnosis of Autism Spectrum Disorder fulfills this eligibility for
                   Autism Spectrum Oisorder(Severity Level s~Requirlng Very Substantial Support). Eligibility for special education as a
                   student with Autism Spectrum Disorder disability shatf be determined by the multidisciplinary team.

                   Kevin   no longer fulfills the   eligibility criteria for Developmental Delay.


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                            Privacy Statement for Psycho-educational Repo1ts
        It is a violation of this student's privacy rights to distribute, either electronically or
        in hard copy form, the attached psychoeducational report except for distribution to
        the parent or with written parental consent (unless otherwise allowable by FERPA).
        A copy of the rerort may be printed for inclusion in the special education file. It is
        nn+ nP.1·mi~sihlP. to ,fownlo~n tl,~ renortto a r,omnuter or·. anv other electronic device.
        Only those professionals who are directly involved in the education or support of
        this student may view this report.


        Kevin Bardwell report
        Corl'ected and revised 10".'18-21




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                                                                                           CONFIDENTIAL              1


                                      SHELBY COUNTY SCHOOLS
                                DEPARTMENT OF EXCEPTIONAL ClllLDREN
                                  PSYCHO-EDUCATIONAL :EVALUATION

         Restl'ictions: Information in this report is confidential. This information should not be given to
         any other organization or individual without wr:itten permission of the parent or legal guardian.


         Name:                         Kevin Bardwell                      Date ofBh:th:       11-5-12
         Student ff(!a!t 4 digit~):                                        Ag11: _             Eight
         s~!~~~!:                      T.11r.l,,. F <:i:imr,hP-11 Elem .   Race:               Black
         Parent:                       K.evh1 Bardwell Sr.                 Sex:                Male
         Address:                      2404 Whitney Ave1me                 Gr11de:             Third
         Dates of Evalnatiou:          9-1-21                              Examiner:           William E. Graves



         Reason for Referral:

         The TEP Team refened Kevin for a psvcho-~ducational evaluatio11 to help detetmine eligibility for
         :mecial education services in the state of Te1111essee. He previously received special education
         services in Indiana with a diagnosis of Uevelopmental 1Je1ay. 111ore 1s a1so a Clliigllos1s or J-:1.Ullsm
         Spectrum Disorder from Bdclget M. HaJTison, Ph.D. in a 1-eport dated 8-7-18. Kevin feceivtJd
         sen,:ic~~ tlrrough I1~1ovations_m te.aming h~ MerµUvW~. fo9iana. The otrrr~o.t ev~u~9011 will help
         determine eligibility for services according the state of Tennessee special education criteria.

         frevious Testing:

         Previous psycho-educational 1·ocords were not able to be obtained from the school district in
         Indiana.

         Sources oflnform.ation:

        Parent Interview
        Teacher Inte1'View
        Records Review
              Vision screening passed: 7-26-21
              Bearing screening passed: 7-26~21

        Instruments Administered: Scores are on the Test Data Summaty following report
               Wechsler Nonverbal Scale of Ability (WNV)
               Woodcock-Jolmson IV Tests of Achievement {WJ-IV)
               Vineland Adaptive Behavior Scales, Third Edition, Parent/Caregwer Form
               Gilliam Autism Rating Scale -Third Edition (GARS-3)
               Behavior Assessment System for Children, Second and Third Edition
               systematic Adapjive Behavior Characteristics Checklist·
               Classroom Observation




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         Name: Kevin Bardwell                                                                                                   Pagel of10
         00B: 11-5-12


         Relevnnt Baclcground lnformatlon:

         Kevin Bardwell Sl'., Kevin's fatbel', provided background information regarding family,
         developmental, and educational history. Kevin. lives with his father, step.mother, oldel' brother,
         and two younger sisters. He has lived with bis aunt and his grandmother in the past. Kevin's
         biological mother is cunently incarcerated.

         Mr. E;;rd,,:vcU reported that thel'e ,,•ere no diffiou l!le~ 0r complici:1tions dming pregnancy or
         <l':!!i'.·~rr. Tr P'fl" il> !!"r1"r11lly in ~Mrf hP.:;ilth and takes no medications on a regular basis. He
         sustained second degree burns on both of his feet at age two from hot water running in a bathtub.
         Some developmental milestones we.re met within normal 1.:imJts. Howeve1·, the parents became
         concerned about Kevin's development at age one because he wasn't responding nonually to
         others,

        Kevin has attended pJ:ograms for special needs children since preschool age. Background
        iuformation from a p1'evious report reveals a histo1-y of lining up items snch as toys, boxes, and
        candy; repetitive behaviors such as humiJtlng and jumping jn place; and rigidity in the storing of
        LL .J:I~.... unr.1 i.~.;,,.u;;. Ift1::i.:;:- ::~~~rns :: -~ d!.•:J't:P-!e-1 y~'.'!'1 ''"''-l ' rl i~•.:11r ,11ly t:-11111'1111\ whid, >.1()111,1
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        Nebraska a11d Indiana prior to :moving to Memphis last school yeat.·. He attended second grnde
        mostly virtt1ally last year at Lucie E. Campbell Elementary and is now sl.l'Uggling in his third
        gl'ade class this year,

        ,Asscasment Results and Intemretation:

        Kevin was evaluatedatLucieE. Campbell Elementary on 9-1-21. Heis a boy of average size fo1·
        his age, who was neatly dressed and WOl'e his glasses when seen by the examiner. Kevin has
        limited response to dir~tions and limited verbal expression. Verbal responses WBlp limited to
        repeating words 01· phrases spoken by the examiner. He frequently 1-etied his shoes dnrlng the
        testing and while walking down the hallway.. Kevln also started laughing at times for no apparent
        reason. Assessment results are believed .to be a valid estimate of Kevin's current level of
        functioning.

         A13 an altemative cognitive assessme.nt the Wechsler Nonve,•bal Scale ofAbility (WNV) was
         adtninistered. This is an indivldually administered clinical instrument designed to 1neasu1'e
       · general cognitive ability using a variety of nonverbal subtests. The WNV was developed so that
         general ability CO\lld be measured with subtests that eliminate or minimize verbal requirements.
         Subtest T scot-es are obtained with a mean of50 and a standard deviation of 10. The sum oftlie T
         scot-es is then used to derive the Full Scale sco1·e, which has a mean of 100 and a standard
         deviatio11 of15.

        As measured by the Wechsle1• No,,verbnl Scale ofA.bility Kevin obttdned a Full See.le IQ sco1•e of
        48 (46-59 at the 90% confide.nee intel'val). A sco1·e of this magnitude falls more than two standard
        deviations below the mean and indicates functioning in the Extremely Low range. It should be
        noted that the cm1·ent IQ score is an estimate of Kevin' level of cognitive functioning, based on a




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         DOB: 11-5-12


         limited sample of behavior on two subtests, matrices and spatial span. Kevin did not seem to
         comprel1end what was expected of him on the coding and picture arrangement subtests,

         The Woodcock-Joltnson IV Tests ofAcademic Acltievemeut is an individually administered test
         of academic achievement. It yields standard scores that are set to a mean of 100 and a standard
         deviation of 15.

         As measured by the Wootlcocfc. Jo!mson IV Tests ofAcrufemfc AcMfwemn,t, Kevin displayed
         academic skills which are significantly below expectation for his current gl'ade level. He
         genetally demonstrated academic skills at or below the kinderga1ten level. In teading Kevin was
         able to identify letters of the alphabet, but was not able to read any wol'ds 01· comprehend reading
         passages, In math he was able to wiite numbers, but was not able to perfo1m· any mathematical
         operations, In written language Kevin was able to write letters of the alphabet and spelled his first
         name. He was not able to spell any other words or write a sentence. CmTerit WJ"N standard
         scores are commensurate with the level of cognitive ability displayed on the WNV.

         The Vinelaml-3 Adaptive Beliavio,• Scales -Parent/Ca1·eglver Form was completed by the fathet·
         lu uJ.J.t..1 ~o l./ut4il.l 1li~JJ~i~\,; vf K.;,:.v1n' E; r..dr~J}ti·\T~ f1n12H(:nh:f;; ?t 1~,:,ine. .~, ctrpti't,'~ ~~h~.v,nl'
         Composite Score according to this measure was 66, which places him at the 1st Percentile. His
         standard scores wei:e: Communication Domain 54 (<1st J:'ercentiJe); Daily Living Skills Domain
         70 (2nd Percentile); Socializatlon_Domain 77 (61h 'Pexcentile); 011d Motor Skills 74 (4 th Pel'c;entile).
-, · ·   Kevin! adaptive functioning falls in-the low range.

         The Vineland-3 Adaptive Beltaviot Scales - Teaclier Form was completed by Maya Alston, third
         grade teacher, in Ol'der to obtain a measui•e of Kevin's adaptive functioning at school. His
         Adaptive Behaviol' Composite Score according to this measure was 47, which places him below
         the 1st Percentile. His standard scores wel'e: Communication Domain 40 (<1st Percentile); Daily
         Living Skills Domain 47 (<!51 Pel'centile); Socialization Domain 54 (<1 st Percentile); and Moto1·
         Skills 62 (1 st Percentile). Kevin' adaptive functioning at school falls in the low 1-ange.

         Systematic adaptive behavior characteristics checklists wel'e also completed revealing significant
         deficits in communication, conununity use, functional academics, school living, self-dit'ection,
         and socialization. ·

         Additional behavior checklists were administered to assess behaviors suspected to be related to
         autism. Kev.in's parents and Mrs. Alston, third grade teacher, completed the Gilliam Autism
         Rating Scale-Third Edition (GARS-3), which assesses restdctive!l'epetitive behaviot-s, social
         interaction, social communication, emotional 1'esponse, cognitive style, and maladaptive speech,

         Both the parent and teacher fo11ns were completed with similar results. The father's responses
         resulted in an Autism Index score of 81 and the teacher's responses resulted in an Autism Index
         scote of 97. Both scores indicate that the probability of a diagnosis of Autism Spectnnn. Disorder
         is very likely and also indicate a seve1i.ty level of 2 (requiring substantial support).




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         DOB: 11-5-12


         The BASC3 was completed by the fathei· to measure emotional and behavior concerns at home.
         All composite and scale sc01·es were in the average range, At home Kevin does not appear to
         expeifonce any significant emotional problmns such as anxiety or dep1·ession; nol' does he exhibit
         any significant externalizing problems such as hyperactivity 01· aggresf!ion.

         The BASC3 was completed by Mrs. Alston, third grade teacher, to assess einotional and behavior
         problems in the school setting. Her responses resulted in scores in the clinicaliy significant range
         on the Externalizing Problem2 composite, the Inte:rmilizing Problems compo1,ite., th~ lkhool
         Problems composite, the Behavioral Symptoms Index, and on scales measuring hyperactivity,
         aggression, conduct problems, anxiety, somatization, learning problems, and atypicality. Scores
         in the at-risk range were obtained on scales measuring depression, attention problems, and
         withdrawal. There were no scores in the average range. M1·s. Alston describes Kevin's behavior
         as often unpredictable. He leaves his seat and moves around, disrupts other students, clings to or
         throws his weight onto others at times, makes noises, and has emotional outbm·sts.

        The examiner observed Kevin in his third grade math class for about thirty minutes on 9-1-21.
        While being observed Kevin sat a g:roup of desks with two other students. The class was involved
        b: nu~!t!_i:l:c.~tic~i lcs:::0~1. ~itc1: st~:dc.!1.t 11~d Q dty C'!':~~(' t on~·d :i11d rr.r>..rke!' V.' ~~ ~~~(".?rt~ ~o1,:r~
        prnbletns such 2 times 7. Initially Kevin drew a picture on his board. then erased it and drew
        another picture, hventuaUy he loo1rnd at the classmate's board next to him and copied what she
        had written. Kevln did not seem to compl'eheud the math lesson 01· the mathematical operation of
        multiplication, He did stay in his seat and demonstrated apptopriate behavior during -the lesson.
        At the conclusion of the lesson the teacher instructed the students to put away their boards and
        line up for lunch. Kevin did that and lined up. He seems to adapt and comply with classroom
        l'outines by observing the other students and doing what they do.

        The examiner continued the observe Kevin on the way to and in the cafeteria setting. He stopped
        to tie bis shoe on the way to the cafetel'ia and retied it once again while in line in the cafeteiia. A
        classmate helps him stay on task in the cafeteria end guided him through the correct line to eat his
        lunch, Kevin got his lunch and followed his classmates to the correct table. He brought a pop tart
        from home, which he ate first. Then he ate his lunch with no behavior issues. Kevin did not talk
        or interact with his classmates at the lunch table. Overall, Kevin seems to like school and makes it
        through his day by mimicking the actions end routines of h~ classmates.

        Summary and Conclusions:

        Kevin is an eight-year-old thhtl grade student at Lucie E. Campbell Elemen1my. The IBP Team
        refen-ed him for a psycho-educational evaluation to help dete1mine eligibility for special education
        services by state of Tennessee standards. He previously received special education services in
        Indiana with a diagnosis of Developmental Delay. There is also a report fi.oom a pl'ivate
        psychologist documenting a diagnosis of Autism Spectrum Disol'der. Tue current evaluation will
        help deter.mine present levels of performance, as well as detennining eligibility according to state
        of Tennessee special educatio11 criteJ.ia.

        Results of the ·current psyohoeduoational assessment reveals cognitively functioning in the
        extremely low range. Kevin obtained a Full Scale IQ score of 48 on the WNV. Limited _




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         Name: Kevin Bardwell                                                                                                   Pages of10
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         achievement testing was completed with the WJ-IV, revealing academic skills at 01· below
         kindel'garten level. Adaptive functioning is significantly impaired at home and at school,
         according to results of the pai-ent Vinelaud-3. Kevin obtained AdaJ>tive Behavior Composite
         scores of 66 and 47 on the parent and teacher Vinelands respectively. Adaptive behavior
         characteristics checklists were completed which also reveal significant deficits in adaptive
         functioning,

         Additional data was obtained to assess behaviors possibly related to autism. The parents had
         concerns regarding Kevin's dcvc1cpmcnt begL"1ning about e.ge one. He cH:-!plfl.ys nbnorn~l
         functfoning in tel'ms of socializing and relating to people as well as significant communication
         deficits. Most of Kevin's verbal expression is echolalic. Kevin does not talk to or socialize with
         his peers at school. He does mimic thefr actions and routines to navigate the school day and
         seems to enjoy school. The patent and teacher completed the GARS-3, which assesses behaviors
         related to autism. Their responses resulted in Autism Index scores of 81 and 97 which both
         indicate a very likely probability of Autism Spectrum Disorder.

         Kevin meets the state of Tennessee Autism eligibility standards in the following ways:

         (1) Di.LG~tilLy 1vh"'"~~.iig t0 o~L.c.~:.:;          (.i ,r   ltl:c~~~~~l::.g i~1 ~cci:!lJ'" ~p;1·-~p:·h~t~ ~1~i!:n~1\ ~!1~c: ,.,,.r~r
         ~(>f'.1lf1'1PntP~   h,r tl,p. '11R1'P1"1t   R1"1~   tlif'. tPRf'hP.1' rm tl, .. n-A l?~-1 ThP.       P:VAmi11P:1' Rl~n nh~P:!'IIP.n A tntRl

         lack of social interaction with his peers in the classroom and the cafeteria.

       · (2) Absence, dis01·de1·, or delay in verbal and/or nonverbal communication. Kevin has little or-no •
         verbal communication with others. This has been observed and documented by teachers, the
         speech language pathologist, and the examine1·. Most of Kevin's verbal expression is echolalic in
         nature.

        3) One or more of the following: a) insistence on sameness as evidence by restricted play patte1ns,
        repetitive body tnovements, persistent or unusual preoccupations, and/ol' 1·esistance to change or b)
        unusual or inconsistent responses to sensory stimuli. Kevin has a history of repetitive behaviors at
        home; such as lining items up, rigidity in sto1'1ng items, and making noises and jumping.

        Kevin demonstt.·ated the p1·eceding eligibility standards by age 3, Additionally, the characteristics
        as defined above are present and cause an adverse effect on his educational performance in the
        classroom or learning environment.

        Based 011 the results of this evaluation, Kevin' learning problems are considered not to be
        primarily due to a lack of instruction in reading or math; visual, heru.ing, or motor impairments;
        emotional disturbance; environmental, cultural, or economic disadvantage; limited English
        proficiency; motivatio:µal factors; or situational traumas.

        Evaluation data reveals that Kevin appears to meet the state of Tennessee psychometiic criteria.for
        special education services, as a student with Autism and an Intellectual Disability. However, the
        final eligibiUt.y determination will be made by the IBP Team. In order to be diagnosed as
        .hltellectual Disability, a child shall meet the following eligibility standal'ds: (1) significantly
        impaired intellectual functioning, which is two or more standard deviations below the mean, (2)
        significantly im.pail'ed adaptive behavior in the home or community as indicated by a composite
                                                                                  I




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         score two or more standard deviations below the mean, (3) significantly impaired adaptive
         behavior in the school as determined by a standardized measure of adaptive functioning, (4)
         delays Jn intellectual abilities as indicated by 'the developmental histo1y, and (5) the above
         characteristics cause an adverse effect on educational performance in tlte general education
         classroom or learning environment.                                                           ·

         The results of this assessment and other evaluation info.rtnation should be reviewed by the
         Eligibility/IEP Team to determine if the child meets the state definition of "a child eligible for
         Special Educ~ticn." (,A~ child "eligible for Speda! Education" me.fm!'! ii chi1r1 or youth, who meets
         tl,P.
         ..   ••
                   nPfh,Hlnt\ nf A ,.,1,11.-i with
                   ,.   . ...... . . . . ""   . •   •   •   '.   "   '.   •
                                                                              R•   rl1<>fthllitv Rnn hRR hf'P.n .iP.tP.1minP.il hv :in TP,P TP.Rt'rl tr, hP. lltt1'1hlP. tn
                                                                                   •.   •   •   •   J    •   •   •   •       .   . •   "     .   .



         be educated appropdately in the general education program without the provision of Special
         Education.)

         Recommendations:

                   1. An informing conference will be held with the parents as part of the IBP meeting to give
                      them an understanding of Kevin's cu1Tent level of functioning. They will receive a copy
                              of this report at that time.                                                               ·


                              placement.

                   3. Furth.el' options for addressing behaviol' issues will be discussed during the
                      IBP meeting.


         These evaluation results and recommendations wm be discussed with the parents and school
         pe1·sonnel.



              ~m E. GravJr.. Ed~                                                                        Date ·
         Licensed School Psychologist



                                                                                                        Date
         ~upervi~ing Psychologist
        Licensed Psychologist/HSP




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                                           TEST DATA SUMMARY




         WF.CRSLER NONVERBAL SCALE OF ABILITY (WNV)

         Subtesi"                  TScore
         Matlices                    11

         Spatial Span                 33


         Full Scale IQ Sco1·e        48


         (Ci;>mposite scores have a mean scol'e of 100 and a standard deviation of 15),




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         WOODCOCK_..JOHNSON WTESTS OF ACHIEVEMENT (WJ-IV)
         Norms based 011 age
                              Grade   Pe:rcentifo Shmihn•(l

         Clusters
                                               --...- -. ------
                                                F.r,mhr!>1P.fft                     ~l'fH'P,


         Basic Reading Skills                       <K.0              <0.1           <40
         Mathematics                                <K.O              <0.1           <40
         Written Language                          <K.O'              <0.1           <40

         Standai'li Scores have a mean of 100 1111d a stanilal'd deviation of 15.

         Subtests
         J "tt"r-Worrl JcfontifinAtion             <KO             <0.1             <40
         Annli~d Prohlems                          <IC.O           <0.1             <40
         Spelling                                  <K.O            <O.l              :,u
         Passage Comprehension                     <K.O            <0.1             <40
         Cal,.m_l~tlon                             -::K.O          <0.1             <49
        Writing Samples                            <K.O            <0.1             <40
        Word Attack                                <IC.O           <0.1             <40




                                                                                               KB   V,   SCBE Due Process
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         Name: Kevin Bardwell                                                           Page9 ofl0
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         VINELANDw3 ADAPTIVE BERAVIOR SCALES: PARENT/CAREGIVER FORM
                                      Perceutllc        Standard Score
         Communication Domain            <1                54
         Daily 1,i viug Skills DowaLu     ,.,')            70
         Suciu1iU&tlv11                   6                77
         Motor Skills Domain                                           4          74
         Ad.aptiva BebaviOl· Composite                                 1          66
         Standard scores have a mean ofl 00 and 11 ~landru·d deviation oft 5.




                                                                 Percentile     Standard.Score
        Com.tnunication Domain                                  <1                 40
        I)aily Livfog Skills Domain                             <1                 47
        Socialization Domain                                    <1                54
        Motor Skills Domain                                      1                62
        Adaptive Beh."l-vior Composite                         <1                 47
        Standard scores have amean oflOOaod aslandllt'ddevlationoflS.




        GILLIAM AUTISM RATING SCALE" THIRD EDITlON (GARS·3)

        Parent Form, Autism Index: 81 Probability of ASD: Very Lilcely Sevel'ity Level: 2

        Teacher Form, Autism Index: 97 .l>robability ofASD: Very Likely Severity Leve): 2

        Severity Level 2 indicates l'eqi.uring substantial support




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         Name: Ke-vin Barclwell                                                         Page10 of 10
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                                                                 Parent      Teacher
                                                                 Form        Form
          BEHAVIOR ASSESSMENT SYSTEM
          FOR CHILDREN, THIRD EDITION
          r,f!11tion Tndexes
                                                                                C
             Response Pattern                                            A      A
             Consistency                                                 A      A
         Behavioral Symptom Index                                    53         79
         Externalizing Problems Composite                            53         82
         Iutettializing Problems Composite                           38         76
         School Problems Composite                                              74
         J-Typ('r11 ('tivity                                         55         79
          A--••---•--                                                A()


         Conduct Problems                                            53        81
         Anxiety                                                     36        75
         Depression ·                                                42        65
         Somatization                                                43        71
         Atypicality                                                 56        92
         Withdrawal                                                  52        62
         Attention Problems                             58                     65
         Adaptive Skills Composite                      38                     26
        Scores of 60M69 are At Risk
        Scores of 70 or above are Clinically SiguUic;mt
        All scores are T--scores (Mean= 50)
        Caution Indexes A= Acceptable C = C1nttlon
        Adaptive Scale scores of30 or below are Clinically Significant




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                                                                                                                                        Shelby County School District
                                                                                                                                             160 S. Hollywood Street
                                                                                                                                                 Memphis, TN 38112

                                                                                                                                                                                "'"'co
                                                                                                                                                                                     ,-..
_ _ _ _ _ _ _ _ _ ___ _ _ _ln_d_iv_id_u_c:!J :ducation Program (IEP)                                                                                                            go
                                                                                                                                                                                ~o
                                                                                                                                                                                c,_0


                                                                                                                                                                                C     en
                                                          From: 10/ 8/2021 To: 08/22/2022                                                                                       w
                                                                                                                                                                                IIl
                                                                                                                                                                                (.)
                                                    D Annual                      Q Addendum                                                                                    en
                                                                                                                                                                                >

                                          - - ------- St Jdent Information
Student:           Kevin                                       Bardwel l                             Birthdate: 11/05/2012                              Grade: 3rd Grade
                   (first)                                     (last)
State ID: 5132885                      St11dent ID: 493904                     Gender::M             Hispanic Ethnicity: No
                                                                                                     Race: Black or African American
School: Lµcie E. Campbell Elemental)
District: Shelby County School Distlict

 Primary Disability:                 Aufa:m                                             1: Re-evaluation   of Eligibility Date:                          110/18/2024
 Secondary Disability:               lntel:ectual Disability

Medical Infonnation: Previous data shews that he is a student diagnosec wi·, 1 Autism S~trum disorder.

Relationship to Student: Both Parent:, /Guardian
Name: Eboni Guy                                                                                                                               Home Phone: 901-501-8993
Address: 2404 Whitney Ave, Memphis, TN, 38127-8302
                                                                                        Cell Phone: 901-501-8993
Relationship to Student: Father /Gua ·dian
Name: Kevin Bardwell                                                                                                                          Home Phone: 901-491-0417
Address: 2404 Whitney Ave, Memphis, TN, 38127-8302
                                                                                        Cell Phone: 901-491-0417




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Student Name: Kevin Bardwell                                                                                                                         Shelby County School District
DOB: 11/05/2012                                                                                                                                            IEP Meeting Date: 10/18/2021

                                                                                                                                                                                           .,,,._
                                                                                                                                                                                           r/l r--


                      Curre.1t lescriptive Information                                                                                                                                     go
--------------------------                                                                                                                                                                 ~o
                                                                                                                                                                                          c..O

                                                                                                                                                                                          ccn
Describe the student's strengths
                                                                                                                                                                                          UJ
                                                                                                                                                                                          lil
Kevin is polite, he treats adults/peers ano thEfr belongings with respect. He ha appropriate,attendance . Kevin seems to prefer math over reading.                                        (.)
                                                                                                                                                                                          Cl)


Describe the concerns of the parents regardi 19 their student's education
                                                                                                                                                                                           >
                                                                                                                                                                                          lil
                                                                                                                                                                                          :,.:
Parents are concerned about Kevin's speach and academics. They feel the: : K£vin doesn't have the' math and reading skills to be successful in the regular educational setting ..
Describe how the student's disability adversE ly impacts his/her access to prti ipation in the general curriculum:

Kevin meets the state of Tennessee eligibilit: • standards to be identified as a f udent with Autism and an Intellectual Disability. Due to his disabilities, Ksvin has difficulty
communicating and relating to others in a sccially appropriate manner. Hf., al! , exhibits significantly impaired intellectual functionaing and adaptive functioning. Tiie
characteristics of the disability adversely im~•act the student's rate of acade mi, progress in the general education curriculum.

                 Consideration of S: >ecial Factors for IEP Development
-------------------------~
Does the student have limited English profic,eocy? No
        lfyes, what is his/her primary rrod~, of language? English

Is the student blind or visually impaired? No
          If yes, does the student need instru,;tion in Braille? NA

Does the student have communication naed,? Yes                                              .
        If there are communication needs, does the student have a consi,:ter , reliable, and effective mode of communication? Yes
        If the student does not have a cons stent, reliable, and effective rr:odt of communication, in what ways does the student respond and engage with their environment?
NIA

Is the student deaf or hard of hearing? No
          If yes, did the IEP Team consid,~:
             a. the student's language and conmunication needs; NIA
             b. opportunities for direct corr.mu 1ications with peers and profe·-;sic 1al personnel in the
             student's language and COl'('lrruni ;ation mode; NIA
             c. necessary opportunities fo r direct instructjon in the student's ant Jage and
             communication mode? NIA

Is an assistive technology device or service .,ecessary in order to implemrnt t ,e student's IEP? No
If yes, how will AT be addressed in the s tudunt's program mlng?




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Student Name: Kevin Bardwell                                                                                                                     Shelby County School District
DOB: 11/05/2012                                                                                                                                       IEP Meeting Date: 10/18/2021

                                                                                                                                                                                        U) Cl)
                                                                                                                                                                                        U) ,-..


                                                            D  Supplemrntc Aids and Services (Note: Please                                                                              go
                                                                                                                                                                                        ~o
                                                                                                                                                                                       a.     0
                                                            ensure any ATE 1uipment/devices and services are
D   Accommodations
                                                            added as a Sup1 lemental Aid in the Services and
                                                                                                                          D   Goals and Objectives
                                                                                                                                                                                       Cl Cl)
                                                            Supplement2i A js section within the IEP Process)                                                                          w
                                                                                                                                                                                       CD
D   Related Services                                        D    Other: N, 1.
                                                                                                                                                                                       (.)
                                                                                                                                                                                       (/)

                                                                                                                                                                                        >
                                                                                                                                                                                       CD
Does the student's behavior irnpede his/her I 33.rning or that of others? No                                                                                                           :.::
If yes, the IEP Team has addressed the stud~t's behavior in the following Na: (s):

D   Functional Behavior Assessment                         D   Behavior lr ,ter rention Plan                          D   Accommodations
D   Goals and Objectives                                   D    Other (writ-i ir        NA
Does the student demonstrate cogni '.ive processing defici~ that im )at his/her classroom performance and warrant consideration in the development of the IEP
(i.e. accommodation use)? Yes

        If you chose "Yes," please explain:C:omprehensive data shows evi:ler ;e of significantly impaired intellectual functioning. Impaired intellectual functioning can impair the
        abinty to complete tests and assign n ents wi1hin usual time frame ; _/. .lditional time may be needed on such tasks.


                      Present Levels of Performance
------------------------             Leve1s of functioning, should when ar,pli, able, include norm referenced and/or aiterion referenced data,
                                                          as well as descr11ti\ i information .of the student's deli cit areas .
.---------------·-----------
 Assessment Area: PL-Academics-Bafic Reading Skills                                                     EXCEPTIONAL? Yes
 Present Level of Performance: Accor::ling to the results of the i-F-'.ea ly reading Diagnostic, Kavin recognizes
 and name al! uppercase letters of the alphabet, is in the early stag,1s , f learning basic vocabulary words, and is in
 the early stages of learning high-frequency words. His Lexile readi ;1g 'leasure is BR320L and his Lexile range is
 BR400L-BR270L. However, Kevin r.as not acquired fundamental cec, ding skills and needs instruction in Phonics.
 His score indicates that he has gaps in grade-level word knowledg ).

 Impact of Mastely of Standards: Ke1; in is in Tier [II, and is perfo1mi ,g significantly below his peers at the same
 grade level. This will have a negati\ e i.npact on his mastery of g1c de evel reading skills. He will need a human
 reader, accommodations and modifica, ions to be successful in the ge 1eral education setting.
 Source of Information: I-Ready
 SubTest: Reading                                                                    Date Administered: 08/20/2021                 Grade Equiv. - KK
                                                                                                                                   Std. Score - 306
                                                                                                                                   Percentile Rank - 1st


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student Name: Kevin Bardwell                                                                                                   Shelby County School District
DOB: 11/05/2012                                                                                                                    IEP Meeting Date: 10/18/2021

                                                                                                                                                                         :l! a,
Assessment Area: PL-Academics-Math Calculation                                                 EXCEPTIONAL? Yes                                                          ii!~
                                                                                                                                                                         e8
                                                                                                                                                                        c..o
Present Level of Perfonnance: According to the KTEA-3rd Editio 1, KE vin was able to point to the numbers "2"
                                                                                                                                                                        0(/)
and "6". He was able to recognize a squiore and a triangle. However, KE ,in was not able to do any simple addition
                                                                                                                                                                        w
or subtraction.                                                                                                                                                         ID
                                                                                                                                                                        (.)
                                                                                                                                                                        Cl)
Impact of Mastery of standards: Kevin is performing significant!} bel w his peers in math and ls in need of                                                              >
                                                                                                                                                                        ID
intensive intervention. This causes EL nesative impact on his maste,y 01 grade level standards. Kevin will need                                                         ::.::
accommodations and modifications.
Source of Information: Kaufman Test c,f Educational Achievement,
Third Edition
SubTest: Math Computation                                                    Date Administered: 08/23/2021           Grade Equiv. - <K
                                                                                                                     Score-3




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student Name: Kevin Bardwell                                                                                                     Shelby County School District
DOB: 11/05/2012                                                                                                                       IEP l\Aeeting Date: 10/18/2021

                                                                                                                                                                         U>O

Assessment Area: PL-Language                                                                  EXCEPTIONAL? Yes                                                           "'ga
                                                                                                                                                                            "'
                                                                                                                                                                         ~o
                                                                                                                                                                         c,.O
Present Level of Performance: Kevin demonstrates severely res ~ric ed oral expressive and receptive language
                                                                                                                                                                        CCI)
skills for a student of his age. He typicr,lly uses no spontaneous vErbi izations during communicative exchange.
                                                                                                                                                                        w
Kevin is able to label or name comrnor. objects but struggles with Jsir g action concepts, demonstrating his                                                            CIJ
                                                                                                                                                                        u
understanding and use of location concepts. Kevin demonstrates tne 1nderstandil'!Q and use of some basic                                                                C/)

concepts such as identifying colors anc body parts. He also demonstr ites strengths in his attention to task,                                                            >
                                                                                                                                                                        'CIJ
sustained concentration and engageme,nt,                                                                                                                                :,.:
compliance with school rules, awarene,::s and adherence to persor al! ;:,ace. Kevin,is able to demonstrate
                                                                                     to
understanding of tum taking skills as w~II as use of eye contact K~vil struggles produce verbal utterances.for
the social purposes of language other than labelling or answering.

Impact of Mastery of Standards: Kevin's communication systerr is everely restricted and prevents him from
demonstrating as well as verbalizing his mastery of age and grad£· le, el content.

Source of Information: Observation - Language
                                                                                                                    Narrative - Kevin demonstrated many
                                                                                                                    strengths as fallows: his compliance with
                                                                                                                    tasks, his ability to sustain attention within
                                                                                                                    and across tasks, his positive response to
                                                                                                                    simple one step verbal directions, his
                                                                                                                    demonstration of understanding school rules,
SubTest: General                                                            Date Administered: 10/09/2021           his ability to ve$tlly label a variety of
                                                                                                                    common objects, his production of speech
                                                                                                                    with consistent good intelligibility and using a
                                                                                                                    vocal volume sufficient to allow effective
                                                                                                                    transmission of his message to others in the
                                                                                                                     interaction, as well as to make and sustain
                                                                                                                     eye contact throughout interactions.




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Student Name: Kevin Bardwell                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                           IEP Meeting Date; 10/18/2021



Assessment Area: PL-Pre-vocational                                                                    EXCEPTIONAL? Yes
Present Level of Performance: Kevin is polite, he treats adults/p,.}en and their belongings with respect. He has
appropriate attendance, maintains i:rop3r dress code and has the ;ibili y to get along with peers. However, he
struggles to work alone without redirection/reassurance, attempt/begir assignments, and stay on task until
completion in assignments in a timely manner. He also struggles to cc ., trot temper in all situations, follow
written/spoken directions effectively and recite/write personal data.

Impact of Mastery of Standards: Kev n's prevocational skills cor. 1pa es poorly to peers compared to his age.
These deficits make it difficult for him t,) master grade level stand,m:1~

Source of Information: Prevacational Skills Checklist
SubTest: Classroom Performance                                                     Date Administered: 08/23/2021          Passed Y or N - N

SubTest: Behavior                                                                  Date Administered: 08/23/2021          Passed Y or N - N
SubTest: Cooperation                                                               Date Administered: 08/23/2021          Passed Y or N - N

SubTest: Self Help                                                                 Date Administered: 08/23/2021          Passed Y or N - N




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 Student Name: Kevln Bardwell                                                                                                        Shelby County School District
 DOB: 11/05/2012                                                                                                                          IEP Meeting Date: 10/18/2021

                                                                                                                                                                            UlN
                                                                                                                                                                            "'a,
          Measurable Annual C:,oa Is and Benchmarks/~ he rt-term l~ctional Objectives for IEP and Transition Activities                                                     80~o
                                                                                                                                                                               0
                                                                                                                                                                            a.    0

                                                                                                                                                             Goal 1 of7     ccn
 Area of Need: Pre-vocational                                                         Personnel/Position Respo~ible: SCS Personnel                                          w
                                                                                                                                                                            m
                                                                                                                                                                            (.)
 Annual Goal: Given verbal prompts, Kevin will improve his perfo1 ma ice of prevocational tasks to a score of 3 or higher, demonstrating average to above                   (/)
                                                                                                                                                                            ,,:
. average performance, as measurec by data collection and teache ot ;ervations by the endof the IEP.
                                                                                                                                     Anticipated
                                                    Benchmarks/Shor\ •Term                                                                             Method of
                                                                                                                                     Beginning
                                                    Instructional O oje :tives                                                                         Evaluation
                                                                                                                                       Date
                                                                                                                                                    Teacher
 When given a written or verbal ass gnrnent, Kevin will increase hi , tir 1e on task to._ _ minutes, within 4 Of 5 trials with 80%
                                                                                                                                     10/18/2021     Observations
 accuracy as measured by data coll ,:icfons and teacher observatio 1s c ach nine weeks.
                                                                                                                                                    Data Collection
                                                                                                                                                    Teacher
 When given a written or verbal assignment, Kevin will will attemp to )egin an assignment without teacher reassurance within
                                                                                                                             10/18/2021             Observations
 4 of 5 trials with 80% accuracy as meE.sured by teacher observati·ms ::ind data collection.
                                                                                                                                                    Data Collection



 Program Modifications/Supporte; fo ,· School Personnel:
 Prevocational SkUls Checklist

                                                                                                                                                              Goal 2 of7
 Area of Need: Academics-Basic Reading Skills.                                   Personnel/Position Responsible: Special Edu~tion Teacher
 Annual Goal: When presented with text, Kevin will increase his basi • reading skills in the areas of phonics, decoding, and word recognition from a KK to a 1.0
  grade equivalence as measured br we rk samples, data colllectio1 , a1 d district assessments by the end of the IEP.




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Student Name: Kevin Bardwell                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                          IEP Meeting Date: 10/18/2021

                                                                                                                                                                            Cl)<')




                                                     Benchmarks/f;ho t-Tenn
                                                                                                                                         Anticipated     Method of          e8
                                                                                                                                                                           11..0
                                                     Instructional :)bj, :ctives                                                         Beginning
                                                                                                                                                         Evaluation
                                                                                                                                           Date                            CC/J
                                                                                                                                                                           w
                                                                                                                                                        Data               co
                                                                                                                                                                           (.)
When shown word lists and/or a short pc1ssage, Kevin will demonst:-atc awaren~ of letter/sound relationships within 4 of 5 trials                       Collection         Cl)
                                                                                                                                         10/18/2021                         >
with 80% accuracy as measured by wori, samples and data collect:on I y the end of each 9 weeks.                                                         Work               co
                                                                                                                                                        Samples            :.::

                                                                                                                                                        Data
When shown word lists and/or a familiar text, Kevin will locate spe ;ific Nord patterns and sight words within 4 of 5 trials with 80%                   Collection
                                                                                                                                         10/18/2021
accuracy as measured by work sam~les and data collection by the enc of each 9 weeks.                                                                    Work
                                                                                                                                                        Samples



Program Modificatior\$/Supports for 3chool Personnel:
District pacing guides for assistance with curriculum modifications

                                                                                                                                                            Goal 3of7
Area of Need: Academics-Math Calculftion                                             Personnel/Position Responsible: Special Education Teacher
Annual Goal: Using manipulatives, dra Nings, and various strategi3S, · :evin will increase his ability to identify numbers and solve math calculations to increase
his level of performance from a <K.O grade equalence to a K.O grzde 1 quivalence as measured by work samples, data collection, teacher observations and
formal assessments by the end of the IE:P.
                                                                                                                         Anticipated
                                              Benchmarks/Short-·:err       I                                                                      Method of
                                                                                                                         Beginning
                                              Instructional Objec1.ive                                                                            Evaluation
                                                                                                                             Date
                                                                                                                                         Standard Tests Teacher
 When shown a set of numbers, Kev in "'ill identify his numbers up ,o 2 , within 8 out of 10 trials with 80% accuracy
                                                                                                                          10/18/2021     Observations Data
 as measured by work samples, data collectlon, teacher observatic.is c 1d informal assessments each nine weeks.
                                                                                                                                         Collection Work Samples
 When given a set of manipuiatiyes, Kevin to add and subtract sinple-<: igit numbers within 8 out of 10 trials with                      Standard Tests Teacher
 80% accuracy as measured by worl< samples, data collection, tear:her '.)bservations and informal assessments each        10/18/2021     Observations Data
 nine weeks.                                                                                                                             Collection Work Samples



 Program Modifications/Supports for School Personnel:
 District pacing guides for asstance ·Nith curriculum modifications


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Student Name: Kevin Bardwell                                                                                                     Shelby County School District
DOB: 11/05/2012                                                                                                                         IEP Meeting Date: 10/18/2021

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                                                                                                                                                                        (1)   co
                                                                                                                                                          Goal4of7      80
                                                                                                                                                                        ~o 0
Area of Need: Language                                                               Personnel/Position Responsible: SLP ·                                              0.,0


Annual Goal: Given multi-modal promi:ts, Kevln will label and ide11ti~ common objects with increasing complexity re1ating to home, school,' and community               Cl (I)
settings with 80% accuracy given 4/5 opportunlties across 3 consec:uti\ ; sessions as measured by SLP data by the end of the IEP period.                                w
                                                                                                                                                                        aJ
                                                                                                                                                                        u
                                                                                                                                                                        (/)
                                                -Benchmarks/Sho1 t-T, rm
                                                                                                                              Anticipated
                                                                                                                              Beginning
                                                                                                                                                   Method of            >
                                                 Instructional Obj,Jcfr es                                                                         Evaluation
                                                                                                                                 Date
Given pictures, Kevin will name and identify objects related to horre v,, th 60% accuracy given 4/5 opportunities across 3                   Data Collection
                                                                                                                              10118/2021
consecutive sessions as measured by S LP data.                                                                                               Progress Monitoring
                                         ---------- -
Given pictures, Kevin will name and identify objects related to sch,>ol 1 ith 60% accuracy given 415 opportunities across 3                  Data Collection
                                                                                                                              10/18/2021
consecutive sessions as measured by SLP data.                                                                                                Progress Monitoring
Given pictures, Kevin will name anc identlfy objects related to corr.mu ,ity.settings with 60% accuracy given 415                            Data Collection
                                                                                                                              10/18/2021
opportunities across 3 consecutive sessions as measured by SLP data                                                                          Progress Monitoring



Program Modifications/Supports for School Personnel:
Data collection and observations

                                                                                                                                                  Goal5of7
Area of Need: Language                                                         ~ersonneUPosition Responsible: SLP
Annual Goal: Given multi-modal prompts, Kevin will label actions exr 3nding into 2-3 word utterance combinations with 80% accuracy giVen 4/5 opportunities
across 3 consecutive sessions as measured by SLP data by the end ff the IEP period.
                                                                                                                         Anticipated
                                               Benchmarks/Short-Tar n                                                                            Method of
                                                                                                                         Beginning
                                               Instructional Objectiv£ ;                                                                         Evaluation
                                                                                                                              Date
Given pictures, Kevin will name 10 acti,)ns or "ing" cards with 80'}' , ac uracy given 4/5 opportunities across 3                        Data Cpllection Progress
                                                                                                                         10/18/2021
consecutive sessions as measured by f ,LP data.                                                                                          Monitoring
                                         ---------- -
Given pictures, Kevin will use nouns+ actions or "ing• with 60% a,:!cur 1cy given 4/5 opportunities across 3                             Data Collection Progress
                                                                                                                         10/18/2021
                                                                                                                                         Monitenng
                                         ---------
consecutive sessions as measured by fiLP data.
 Given pictures, Kevin will use noun+ a:;tions + noun with 60% ac ::ura :y given 4/5 opportunities across 3 consecutive
                                                                                                                        10/18/2021
                                                                                                                                                                '
                                                                                                                                         Data Collection Progress
 sessions as measured by SLP data.                                                                                                       Monitoring




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Student Name: Kevin Bardwell                                                                                                      She1by County School District
DOB: 11/05/2012                                                                                                                         IEP Meeting Date: 10/18/2021

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Program Modifications/Supports i'or School Personnel:                                                                                                                      go
                                                                                                                                                                           ~a
Data collection and observations                                                                                                                                          a.     0


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                                                                                                                                                           Goal 6of7      al
Area of Need: Language                                                                                                                                                    u
                                                                                   Personnel/Position Responsible: SLP                                                    (/)

                                                                                                                                                                          >
Annual Goal: Given multi-modal prompts, Kevin will follow spatial dir, ctions with 80% accuracy given 4/5 opportunities across 3 consecutive sessions as                  al
                                                                                                                                                                          :.:
measured by SLP data by the end o'.' tho IEP period.                               ;
                                                                                                                             Anticipated
                                                Benchmarks/Shor:-T1 rm                                                                             Method of
                                                lnstructionaJ Obje cti' es                                                   Beginning
                                                                                                                                                   Evaluation
                                                                                                                                Date
Given verbal or visual prompts, Kevin vlill follow 1 step directions ,·Jith 80% accuracy given 4/5 opportunities across 3                    Data Collection
consecutive sessions as measured by ~;LP data.
                                                                                                                              10/18/2021
                                         -----------
Given verbal or visual prompts, Kevin -vlifl follow 2 step positional dire tions with 70% accuracy given 4/5 opportunities
                                                                                                                                             Progress Monitoring
                                                                                                                                             Data Collection
across 3 consecutive sessions as meas..Jred by SLP data.
                                                                                                                              10/18/2021
                                                                                                                                             Progress Monitoring



Program Modifications/Supports for School Personnel:
Data collection and observations

                                                                                                                                                            Goal 7of7
Area of Need: Language                                                              Personnel/Position Responsible: SLP
Annual Goal: Given multi-modal prom pts, Kevin will use total cor. ,mt 1ication to effectively communicate wants and needs W!fu 80% accuracy given 4/5
opportunities across 3 consecutive ses~ions as measured by SLP :JatE by the end bf the IEP period.

                                                Benchmarks/Sha, t-T1 rm                                                      Anticipated
                                                                                                                                                   Method of
                                                                                                                             Beginning
                                                Instructional ObjEctil es                                                                          Evaluation
                                                                                                                                 Date
Given verbal, visual, and tactile cues, l~evin will use 5 functional feign, with 50% accuracy given 4/5 opportunities                        Data Collection
across 3 consecutive sesslons as meawred by SLP data.
                                                                                                                             10/18/2021
                                                                                                                                             Progress Monitoring
Given verbal and visual cues, Kevin wi I use picture exchange to : ;ele   t activity of;choice given 4/5 opportunities across 10/18/2021     Data Collection
3 consecutive sessions as measured b)' SLP data.                                                                                             Progress Monitoring
                                         -----------


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Student Name: Kevin Bardwell                                                                                                Shelby County School District
DOB: 11/05/2012                                                                                                                   IEP Meeting Date: 10/18/202.1


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Program Modifications/Supports ·.'or School Personnel:                                                                                                               8~
                                                                                                                                                                     ea
                                                                                                                                                                    Cl. 0
Data collection and observations
                                                                                                                                                                    0(1)
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                                                                  ______________________________
Benchma~Short-Term lnstructiona Objectives above may contai · the following codes after some or all of the benchmark/objective statements: Introduced (I),
Developing (D), state CRT and Wr ing Assessed (A), and Masterf :I and Maintained M). These codes indicate how the objective is being used in the general
education curriculum and for TCAP :esting at the specified grade I, vel from which the objective is selected.
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                                                                                                                                                                    (.)
                                                                                                                                                                    Cl)

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Supplementary Aids/Services ancl Support for the child:
NA




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Student Name: Kevin Bardwell                                                                                                         Shelby County School District
DOB: 11/05/2012                                                                                                                          IEP Meeting Date: 10/18/2021


                                                                                                                                                                             "' r--
                                                                                                                                                                             "' co
                                                                      l •rogram Participation                                                                                ~;;
                                       -----------                                                                                                                           ~o
                                                                                                                                                                             11..0



  __ _________
 a. Reading
,--     ..._                    Acco1 nmodations                                                                        Modifications
                                                                                                                                                                             cm
                                                                                                                                                                             w
                                                                                                                                                                             III
                                                                                                                                                                             (J
                                                                                                                                                                             (/)
  •Assignments-Give directions in ultemative format (written/pictL ·e/verbal,                                                                                                >
                                                                                       •! Content - Modified content
  etc.).
  •Assignments-Give directions in imall, distinct steps.
  • Environmental Arrangements - Pl3nned/preferential seating.: In 1n area that
  is not distracting to the student( for example, close to windows
  • Environmental Arrangements - Ruduce/minimize distractions (v ;ual,
  auditory, tactile, movement, and/or social).
  • Pacing - Allow breaks.
  • Testing - Oral testing for direction and/or test items,
  • Testing - Extended Time    L     Minutes of Extended Time): Timf and a half
  • Assignments - Additional Time: 3:l minutes
  •Assignments-Speech to Text


 b. English/Language Arts
                                   Accommodations                                                                       Modifications




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Student Name: Kevin Bardwell                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                         IEP Meeting Date: 10/18/2021

                                                                                                                                                                             (/) 00
                                                                                                                                                                             (/) 00
 • Assignments - Give directions in , lltemative format (written/pictL ·e/verbal,
                                                                                       • Content - Modified content
                                                                                                                                                                            go
                                                                                                                                                                            ~o
 etc.).                                                                                                                                                                     c..O
 •Assignments-Give directions in :;mall, distinct steps.                                                                                                                    ccn
                                                                                                                                                                            UJ
 • Environmental Arrangements - Pl 3nned/preferential seating.: In m area that                                                                                              al
                                                                                                                                                                            (.)
 is not distracting to the student( for example, close to windows                                                                                                           en
 • Environmental Arrangements- R,iduce/minimize distractions (v: ;ual,
                                                                                                                                                                            >
 auditory, tactile, movement, and/or social).
 • Pacing - Allow breaks.
 • Testing - Oral testing for directiors and/or test items,
 • Testing - Extended Time     L     Mi11utes of Extended nme): TimE and a half
 • Assignments - Additional Time: 3 J minutes
 • Assignments - Speech to Text




c. Spelling
                                   Acco tnmodations                                                                    Modifications
 • Assignments - Give directions in alternative format (written/pict; :e/verbal,
                                                                                       • Content - Modified content
 etc.).
 • Assignments - Give directions in f;mall, distinct steps.
 • Environmental Arrangements - Pl3nned/preferential seating.: Ir. m area that
 is not distracting to the student( fo,- example, close to windows
 • Environmental Arrangements - Reduce/minimize distractions(\ ;ual,   r


 auditory, tactile, movement, and/or social).
 • Pacing - Allow breaks.
 • Testing - Oral testing for directions and/or test items,
 • Testing - Extended Time     L     Minutes of Extended Time): Tim " and a half
 • Assignments - Additional Time: 30 minutes
 •Assignments-Speech to Text


d. Writing

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Student Name: Kevin Bardwell                                                                                                           Shelby County School District
 DOB: 11/05/2012                                                                                                                             IEP Meeting Date: 10/18/2021



                              Acee ;Timodations                                                                           Moarficatlons
,--------------
 • Assignments - Give directions in alternative format (written/pict relverbal,
                                                                                          •: Content - Modified content
  etc.).
  • Assignments - Give directions in small, distinct steps.
  • Environmental Arrangements - P anned/preferentlal seating.: In 3.n area that
  Is not distracting to the student( for example, close to windows
  • Environmental Arrangements- Raduce/minimize distractions (-v sual,
  auditory, tactile, movement, and/o · social).
  • Pacing -Allow breaks.
  • Testing - Oral testing for directio11s and/or test items,
  • Testing - Extended Time    L.. Minutes of Extended Time): Timi       and   a   half
  • Assignments - Additional Time: :: 0 minutes
  • Assignments - Speech to Text


 e. Math
                                  Acee mmodations                                                                         Modifications
  • Assignments- Give directions in alternative format (written/pict re/verbal,
                                                                                          • Content - Modified content
  etc.).
  • Assignments - Give directions in ;;mall, distinct steps.
  • Environmental Arrangements - Panned/preferential seating.: Ir an area that
  is not distracting to the student{ for example, close to windows
  • Environmental Arrangements - R 3duce/minimize distractions(\ sual,
  auditory, tactile, movement, and/c1· social).
  • Pacing - Allow breaks.
  • Testing - Oral testing for directior,s and/or test items,
  •Testing-Extended Time       L     Mi 1utes of Extended Time): Tirr,·, and a half
  • Assignments - Additional Time: 3::l minutes
  • Materials - Visual Representatio:,;; for Math
   •Assignments-Speech to Text



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Student Name: Kevin Bardwell                                                                                                        Shelby County School District
 DOB: 11/05/2012                                                                                                                          IEP Meeting Date: 10/18/2021


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                                                                                                                                                                            Cl)   a,
·f. Science                                                                                                                                                                 go
                                                                                                                                                                            ~o
                              Acco nmodations                                                                          Modifications                                       c.,O
,-------------
 • Assignments - Give directions in :1lternative format (written/pictL -e/verbal,                                                                                          CCI)
                                                                                       ·• Content - Modified content                                                       w
  etc.).                                                                                                                                                                   al
                                                                                                                                                                           u
                                                                                                                                                                           Cl)
  • Assignments - Give directions in ~mall, distinct steps.
                                                                                                                                                                           >
  • Environmental Arrangements- Planned/preferential seating_:       In ,m area that                                                                                       al
                                                                                                                                                                           :.::
  is not distracting to the student( for example, close to windows
  • Environmental Arrangements - R :!!duce/minimize distractions (v ,ual,
  auditory, tactile, movement, and/01 · social).
  •Pacing-Allow breaks_
  • Testing - Oral testing for d!rectior sand/or test items,
  • Testing - Extended Time (._ Mi 1utes of Extended Time): Timl and a half
  • Assignments-Additional Time: 3'.l minutes
  • Assignments - Speech to Text.


 g. Social Studies
                                 Acee mmodations                                                                       Modifications
  • Assignments - Give directions in 3lternative format (written/pict re/verbal,
                                                                                       • Content - Modified content
  etc.).
  • Assignments - Give directions in small, distinct steps. ·
  • Environmental Arrangements - Panned/preferential seating.: Ir 3n area that
  is not distracting to the student( for example, close to windows
  • Environmental Arrangements - Reduce/minimize distractions ('- susi.I.
  auditory, tactile, movement, and/o, social).
  • Pacing - Allow breaks.
  • Testing - Oral testing for directions and/or test items,
  • Testing - Extended Time(._ Minutes of Extended Time): Tirr.          and a half
  •Assignments• Additional Time: :30 minutes
  • Assignments - Speech to Text



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Student Name: Kevin Bardwell                                                                                               Shelby County Schoof District
DOB: 11/05/2012                                                                                                                  IEP Meeting Date: 10/18/2021

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                                                                                                                                                                   UJ O>
                                                                 Stat !/District Mandated Tests
                                      ----------                                                                                                                   §E
                                                                                                                                                                   ~o
                                                                                                                                                                   a..o
D   Student will participate in the foll )wing state/district mandated , ssessment(s):                                                                             !!!~
                                                                                                                                                                   Cl Cl)

          0   Achievement                                    D   EOG                              Tennessee Alternate Assessment                                   UJ
                                                                                                                                                                   CD
                                                                                                                                                                   (.)
                                                                                                                                                                   Cl)
              WIDA Access                                   O WIDI      Access (Altem1=1te)                                                                        >
              ACT                                           0    EXPL )RE                     0   PLAN·

District Assessment:
D No Accommodations                       D Accommodations




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Student Name: Kevin Bardwell                                                                                                     Shelby County School District
DOB: 11/05/2012                                                                                                                       IEP Meeting Date: 10/18/2021


                                                                                                                                                                         <J>N
                                                                                                                                                                         (/) O>
                                                    Specia~Ed Jcation and Related Services                                                                               ga
                                                                                                                                                                         ~o
                                                                                                                                                                        a._0


                                                                 D rect Special Education                                                                               ocn
                                                                                                                                                                        UJ
                                                                                                                                                                        CD
                                                                                                                                                                        (.)

           Type of Service                  Provider Title
                                                                s~ ,ions         Time.Per
                                                                                              Hours Per Week
                                                                                                                   Beginning-Ending
                                                                                                                                           Location of Services
                                                                                                                                                                        en
                                                                                                                                                                         >
                                                                Per              Session                           Dates                                                CD
                                                                                                                                                                        :.::
                                            Special Education
                                                                5P :rweek        6.75 hr
                                                                                              33 hrs and 45        10/18/2021-
Functional Skills                                                                                                                          Special Ed Setting
                                            Teacher                                           mins                 08/22/2022

                                    Related Service{s), incl 1ding Instruction from Specialized Personnel

                                                                      ;;ions     Time Per                          Beginning-Ending
           Type of Service                  Provider Title                                    Hours Per Week                               Location of Services
                                                                                 Session                           Dates
                                            Speech Language     SF    ,r                                           10/18/2021-
Language Therapy                                                                 30min         1 hrs and o mins                            Special Ed Setting
                                            Pathologist         me th                                              08/22/2022

                                    ------------------- ------------------------,
                                                  Total >ecial Ed Minu~es by Date Range
                               i.-----------~
                                    Begin Date                                   End Date                 Minutes per Week
                               10/18;2021                        Q;   '22/2022                     2085

                                       Note: Service Dates apply < Jring the nonnal school year, not ESY, unless specified.




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Student Name: Kevin Bardwell                                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                                         IEP Meeting Date: 10/18/2021


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                                                                                                                                                                                               o,
                                                                          LR : : and General Education
------------------------                                                                                                                                                                    ~a
                                                                                                                                                                                            ~o
                                                                                                                                                                                           0..0
ExpIain the extent, if any, in which the st Jdent will not participate with noi -disabled peers in:
                                                                                                                                                                                           OC/l
1. the regular dass: Kevin will not partic pate with his non-disabled peers 1hen he is receiving instruction in the Functional Skill dassroom 33.75 hours a week and when he is            w
                                                                                                                                                                                           Cll
                                                                                                                                                                                           (.)
receiving Language Therepy 8 times per month with 30 minute sessions.                                                                                                                      en
                                                                                                                                                                                           >
2. extracurricular and nonacademic acti' 'ities: Kevin will participate with n n-<Jisabled peers,in extracurricular and nonacademic activities to the same extent as his non-disabled      Cll

peers.

3. _and/or, his/her LEA Home School: Services will be provided at his LEA 1ome school


-------------·- ---------- ipecial Transportation
No Special Transportation.


-------------·---------- :xtended School Year
The IEP Team will determine if Extende j School Year (ESY) is required t , 04/15/2022.

Basis for Detennining ESY Eligibility . The IEP team determined that rr        )Te   data is needed in order to determine if ESY services are necessary.




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Student Name: Kevin Bardwell                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                         IEP Meeting Date: 10/18/2021



                                                                        IEP Participants                                                                                    §;;
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                                                                                                                                                                           CD
                                      The following individuals atter jed the IEP Team and participated in the development of                                              :.::
                                                               this Ir ::lividualized Education Program.
                  Position                         Signature                                               In Agreement     Date
                  Kevin Bardwell
                  Parent


                  LEA Representatfvf,                                                                       OYesONo


                  Regular Education Teacher                                                                  OYesONo

                                                                                     i
                  Special Education ·-eacher


                  Interpreter of Evaluation                                                                  OYesONo
                  Results


                  Student


                  SLP - Shavonica V, 'illiams                                                                OYesONo


                  SPED Advisor - Nici Coleman                                                                OYesONo


                   -                                                                                         OYesONo


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Student Name: Kevin Bardwell                                                                                      Shelby County School District
DOB: 11/05/2012                                                                                                        IEP Meeting Date: 10/18!2021

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Student Name: Kevin Bardwell                                                                                                            Shelby County School District
DOB: 11/05/2012                                                                                                                               IEP Meeting Date: 10/18/2021

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                                                                                                                                                                                    "'O>
                                                                      1111 ,rmed Parental Consent
                                                                                                                                                                                    ~o
                                                                                                                                                                                    Q. 0
 Please select 'Yes' or 'No' for each statement below:                                      , Please select one of the following options:
 D   Yes   D   No     I certify that I ar, the legal                                           D     A draft IEP was developed and a copy was provided at least 48                  Cl Cl)
                                                                                                                                                                                    w
                      parent(s)/guardi ::,n(s)/surrogate(s) of this child.                           hours prior to my child's IEP team meeting.                                    Ill
                                                                                                                                                                                    (.)
                                                                                                                                                                                    Cl)
                      I have been infc·rmed of and understand my rii 'Its as a                       A draft lEP was developed, but a copy was not provided at least 48             :,:
 0 Yes D       No     parent, and hav-:: received a copy of the notice ::if                          hours prior to my child's IEP team meeting.                                    Ill
                      procedural safe!Juards.                                                  D     A draft IEP was developed, but a copy was declined.
                      I have been invdved in the IEP Team meetin[ and/or the                         A draft IEP was not developed prior to the IEP team meeting.
 D   Yes   D   No     development of chis IEP, and give permission x the
                      proposed progmm described in this IEP form~ child.
                      My child and I have been informed of his/her r Jht to
                      represent himSe.f/herself upon his/her eighteer ch birthday.
 D   Yes   D   No
                      (Note: This info, mation must be provided begi: ning at least
                      one year prior tc the student's 18th birthday.)
                      I understand th, t participation in the alternate      ssessment
                      means my studt ,nt is participating in a cunicuh       m that may
                      hinder his/her lbility to obtain a regular dipl        •ma. I
 D   Yes   D   No
                      understand that my child may instead receivt           an alternate
                      academic diplor 1a, occupational diploma, and          )r special
                      education diplor na.



                    Parent/Guardian/Surrogate Signature            Date                     Student Signature                        Date

Date IEP was given to parent(s): _ _ _ __

If the parent(s) did not attend, the pe -son responsible for forwardin~ and explaining the contents of the IEP to the parents along with their rights is: Cynthla Houston

                                          Documentation of IEP ?eview by Other Teachers not in Attendance:




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Student Name: Kevin Bardwell                                                                                      Shelby County Schop& District
DOB: 11/05/2012                                                                                                         IEP Meeting Date: 10(18/2021

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Signature                              Date                            Signature                                     Date                                 <I>(/)
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Signature                              Date                            Signature                                     Date                                U')

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Signature                              Date                            Signature                                     Date




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Student Name: Kevin Bardwell                                                                                                                 Shelby County School District
DOB: 11/05/2012                                                                                                                                    IEP Meeting Date: 10/18/2021

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                                                         TENNESS :EALTERNATE ASSESSMENTS                                                                                          §;;
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                                                           Particip tion Decision Documentation
                            To meet tne criteria for the Tennessee Alte 1ate Assessment, the student must meet all eligibility criteria descriptors.                              o en
                                                                                                                                                                                  w
Participation Criteria                              Participation    c,   :eria Descriptors                          Sources of Evidence                                          CD
                                                                                                                                                                                  (.)
                                                                                                                                                                                  en
                                                                                                                                                                                   >
                                                                                                                     Q Results of Individual Cognitive Ability Test
                                                                                                                     Q Results of Adaptive Behavior Skills Assessment
                                                     Review of stude1 . records indicate a disability or             D Results of individual and group administered
                                                     multiple disabiliti ,s that significantly impact                achievement tests
   1. The student has a significant x,gnitive        intellectual funct ming and adaptive behavior.
                   disability.                                                                                          Results of infonnal assessment
                  Yes~                               .. Adaptive beha\ or is defined as. essential for
                                                     someone to live ,dependently ar\d to function safely            D Results of individual reading assessments
                                                     in daily life.
                                                                                                                     D Results of district-wide alternate assessments
                                                                                           '
                                                                                                                     D Results of language assessments including English
                                                                                                                     language learner (ELL) language assessment if
                                                                                                                     applicable

                                                                                                                     I;. Examples of curriculum, instructional objectives
                                                                                                                     and materials including work samples
                                                     Goals and instru     ;tion listed in the IEP for this student
  2. The student is learning canter t linked to
                                                     are linked to the    ,mrolled grade-level standards and           Present levels of academic and functional
  (derived from) the state content dandards.
                                                     address knowlec      Je and skills that are appropriate and     perfonnance, goals and objectives from the IEP
                 Yes~                                challenging fort      is student.
                                                                                                                     Q Data from scientific research-based interventions
                                                                                                                     Q Progress monitoring data




                                                                                                                                                                         Page23
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Student Name: Kevin Bardwell                                                                                                       Shelby County School District
DOB: 11/05/2012                                                                                                                         IEP Meeting Date: 10/18/2021


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                                                                                                                              Examples of curriculum, instructional     o_O
                                                                                                                            objectives, and materials including work
                                                                                                                            samples from both school and                o en
                                                                                                                                                                        w
  3. The student requires extensive                                                                                         community based instruction                 al
                                           The student {a) requires 1: :tensive, repeated, individualized instruction and                                               (.)
                                                                                                                                                                        en
 direct individualized instruction ar: j
                                           support that is not of a ter porary or_tra~~ient ~ature and (b) uses     _                                                   >
    substantial supports to achieve                                                                                         ~Teacher collected data and
                                           substantially adapted mat ,rials and m~1v1dual!ze~ methods ?f accessing                                                      al
 measureable gains in the grade-ar j-                                                                                       checklists                                  !.:
                                           information in alternative rays to acquire,: maintain, generalize, demonstrate
     age-appropri ate curriculum.
                                           and transfer skills across , cademic conte~t.
             Yesl;a                                                                                                         D Present levels of academic and
                                                                                                                            functional performance, goals, and
                                                                                                                            objectives, and post school outcomes
                                                                                                                            from the IEP and the Transition Plan for
                                                                                                                            students age 14 and older




                                                                                                                                                               Page24
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Student Name: Kevin Bardwell                                                                                                       Shelby County School District
DOB: 11/05/2012                                                                                                                         IEP Meeting Date: 10/18/2021

                                                                                                                                                                       r/lO
                                                                                                                                                                       r/lO
                        The student is eligible to participate in the ·ennessee Alternate Assessment if
                                                                                    !
                                                                                                          an responses above are marked Yes.                           8"'
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                                                  Additional Cons Jerations Not to Use in Reviewing Evidence                                                           QC/)

1. A disability category or label                                                                                                                                      w
                                                                                                                                                                       CII
                                                                                                                                                                       (.)
                                                                                                                                                                       Cl)
2. Poor attendance or extended absences
                                                                                                                                                                       ,.:
3. Native language/social/cultural ,:,r economic difference                                                                                                            CII

4. Expected poor performance on the general education assessn 3nt
5. Academic and other services re:;eived
6. Educational environment or instmctional setting
7. Percent of time receiving speci, 11education
8. English Language Leamer (ELL :, status
9. Low reading level/achievement level
10. Anticipated disruptive behavio
11. Impact of test scores on accol.! 1tability system
12. Administrator decision
13. Anticipated emotional duress
14. Need for accommodations, e.~ ., assistive technology/MC to Jarticipate in assessment process.
Based on consideration of the stuc ent's elfgibility, the IEP team r is determined th'a t the alternate assessment is the most appropriate assessment for this
student AND evidence sho~ that the decision for participating ir the Tennessee Alternate Assessment was not based on the above list of Excll.lSlonary factors.
                                                                           i;;i3 Yes       No




                                                                                                                                                              Page25
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Student Name: Kevin Bardwell                                                                                                                    Shelby County School District
 DOB: 11/05/2012                                                                                                                                      IEP Meeting Date: 10/1812021


The IEP team has considered multiple ;ources of information and data s 1owing that the student 1) demonstrates a significant cognitive disability; 2) is participating in instruction
linked to the Tennessee state standard,; and 3) requires extensive, direc individualized in~ ctlon and substantial supports.

The IEP team has decided that the stuc ent cannot participate in the reg~ 3r assessment (even with the use of accommodations) and that the alternate assessment is appropriate
for the student.
Given the data, the IEP team has decic ed that the student _wlll/_wil not participate in the alternate assessment.

 Name                                            Position                                                 Date




  Parent(s)/Guardian                                       Date




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   Student Name: Kevin Bardwell                                                                                                               Shelby County School District
   DOB: 11/05/2012                                                                                                                                IEP Meeting Date: 10/18/2021

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                                                                             IEP Participants                                                                                                     e8
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                                                                                                                                                                                                  cc
                                        . The following individuals attendE I the IEP Team and participated in the development of                                                                 :.:

                                                                   this lndi idualized Education Program.
                     Position                          Signature                                                In Agreement         Date
                                                                                   .
                     Kevin Bardwell
                     Parent                                                  d)4                                  OYesONo
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                     LEA Representative
                                                                             -~                   -               ~s0No
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                                                                                                                 ' dYesONo
                     Regular Education T,·acher
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                     Special Education T€3cher
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                     Interpreter of Eva\uat on ·
                     Results                                                              [,fl        I;
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                     SLP - Shavonica Will iams
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                      SPED Advisor - Nia Coleman                                                                   @YesONo               10/18/2021


                                                                                                                   OYesONo




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Student Name: Kevin Bardwell                                                                                                                     Shelby County School       District
DOB: 11/05/2012                                                                                                                                        IEP Meeting Date: 10/18/2021

                                                                                                                                                                                         U,l")
                                                                                                                                                                                         "'o
                                                                         ln'.'01   :11ed Parental Consent                                                                                80~o
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 Please select 'Yes' or 'No' for eact, statement below:                                            Please select one of the following options:
                                                                                                                                                                                         ~o

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               0   N
                    O
                          I certify that I am 1.he legal                                                     A draft IEP was developed and a copy was provided at least 48               w
                                                                                                                                                                                         ID
       es                 parent(s)/guardiar {s)/surrogate{s) of this child.                          \      hours prior to my child's IEP team meeting.                                 (.)
                                                                                                                                                                                         en
       /                  I have been inforr1ed of and understand my ri:Jht ·. as a                   D       A draft IEP was developed, but a copy was not provided at least 48         >
 Q'Yes         D   No     parent, and have ,·eceived a copy of the notiC(; o1                                 hours prior to my child's IEP team meeting.                                ID
                                                                                                                                                                                         :.::
                          procedural safeguards.                                                      D       A draft IEP was developed, but a copy was declined.
                          I have been involved in the IEP Team meetin~ a1 d/or the                    D       A draft IEP was not developed prfor to the IEP team meeting.
                          development o-:'this IEP, and give permission Cor :he
                          proposed prograrr described in this IEP form~ ct Jd.
                          My child and I ha\ e been informed of hls/her r gh to
                          represent hims~lf/nerself upon his/her eighteenth .)irthday.
efves          O   No
                          (Note: This information must be provided begl mi 19 at least
                          one year prior tot 1e student's 18th birthday.)
                          I understand that participation in the alternate ·isE 355ment
           '              means my stucen: is participating in a curricul:1m that may .
                          hinder his/her at ility to obtain a regular dipl )rr 3. I
       Yes         No
                          understand that my child may instead receiw ar alternate ;
                          academic diplomi, occupational diploma, and,or ;pecial



                                           ,:dsll
                          education diplcmc.

                         J/ .-7.                                     kli -J. (
                        ~ u n o g a t e Signature                    Date                         Student Signature                           Date

Date   IEP was given to parent(s):     Jl_'/J~
If the parent(s) did not attend, the ~rs1 >n responsible for forwardinf ar j explaining the contents of the IEP to the parents along with their rights is= Cynthia Houston

                                                                                   ,iew by Other Teachers not in Attendance:
-------------Documentation of IEP



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 Student Name: Kevin Bardwell                                                                                                                         Shelby County School District
DOB: 11/05/2012                                                                                                                                             IEP Meeting Date: 10/18/2021

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                                                                                                                                                                                               "'o
The IEP team has considered multiple sc,urc es of i nformation and data she .vin J that the s\i.Ident 1) demonstrates a significant cognitive disability; 2) is participating in instruction   8N
linked to the Tennessee state standards; and 3) requires extensive, direct, i 1di idualized instruction and substantial supports.                                                              e8
                                                                                                                                                                                               c..o
The IEP team has decided that the student cannot participate in the regular as essment (even with the use of accommodations) and that the alternate assessment is appropriate                  CC/l
for the student.                                                                                                                                                                               w
                                                                                                                                                                                               ID
                                                                                                                                                                                               u
Given the ~ata, the JEP team has decided tr at the student lwilV_will r ::it I articipate in the alternate assessment.                                                                         Cl)

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                                                                                                                                                                                               ID
 Name                                              Position                                                   Date



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                                                              Date




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                                                  Altach DocumentaUon   for oach dlsabllity lo Efiglbllity Roport OR Include In Wrltton Report.
                                                                                Ellglblllty Report• Eligible
                                     Name: Kevin Bardwell        DOB:11/05/2012        Grade: 3rd Grade        School: Lucie E. Campbell Elementary
                                                                     Schoof System: Shelby County School District
                                        Ellglblllty DotermlnaUon Dato: 10/18/2021         Proj11ctod Rlll!Valuallon Ellglblllty Date: 10/18/2024

           1.   Based on lnformalion from a variety of sources Iha! have been documented and carefully considered, the IEP 1cam tias determined:
                ~Yes O No- This student meets the criteria for a dlsabfllly consistent wth Tennessee State R9gulations.
                Qyes O No- The disability adversely lmpacts.educatlonal performarn:e in his/her learning en\llronment.
                Bolh MUST be YES        in order for the student to bo eligible for special education and related services.
          2.    The following factors have been ruled out es a primary cause of the student's educational difficulties:
                G;itYes   D No Lack or Instruction In reading or maU1001alics ~Yes O No Limited English pronciency
          3.    Educationally relevant medical findings, If any: None
          4     Vision !';r,rnAninn Result~ : Passe<! nete: 07/26/2021 Hearlno Screenino Results: Passed Dale: 07/26/2021                 ,
          5,    !;dEvaluatlon resulls are documented arid the student's dlsabllltydelermlnallon documentation is attached,
                                                                                  ASSESSMENT TEAM
          Your signature indicates that you were involved in the assessmonl by providing evaluation, observations, or inpuL Dissenting slalernents should be
          attached.
          Position                                             Si11n11turo                                                      Date                        Agree
                                                                                                                                                                                                   L
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          Parent                                                                                                                         ..JO..£b521
          General Educal/on Teacher                                                                                                     .b.::.L.~ - :?/ .
          Interpreter of Test Results                                                                                                   / p- (&·-•¢ }                                               .{ -l
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          Assessment Spectalisl                                                                                                         /t1 · ("£<t I               rn'          D                   ,:.
          Special Educallon Teacher                                                                                                                                 Ll           u
                                                                                                                                                                    LJ           [J

                                                                             ELIGIBILITY DETERMINATION
      Qn,;s studo~t JS ELIGIBLE FOR SPECIAL EDUCATION bec~se s/ho ~eot~·the"s iate of Tennossce'~ ell;ibility standards ror Autism (Primary)/
          Intellectual Dlsabillty (Secondary)
                  student Is Ellglblo for Special Education because s/ho meets the Siato ol Tennosseo's eligibility standards for Autism (Primary)/ Intellectual
          Dhrabl/ity (Sccondwy) 1he student's pa,enl/guardlan is declining seflllces. This student \'.ill nol receive special education or related services.
      0 This student Is Not Ellglble for Spacial Education because s/he does no! moot standards for a disablllly.
      P~slllon                                                                                                                 Dalo                        Agroo           Disagreu

      Parent
      Paranl       ('?~)
      LEA Ropresenlellva                                                                                                                                                     D
      Special Education T eecher
      General Education Teacher
      lnlerproler onest Results                                                                                                                                             D
     .Spe.tt·e1 I J;rJ..v.ca11<-Y1   ~v11or


                                                                                                                                                                            D
    ~ d a copy of my chlld'8 evalUallon report(s) utlilzed In determining eTiglblllty and/or educatlon program
                                                                                                             - . - - --
     0 I did not n,colve a copy of my q/1].isf's avBI~                                                               ·
      ParenUGuardlan Slgnahl~              4Z-.,f J;:::rCk:'-«::K_JI.(                                                      Date:      LD-/f-2j
      Date l:llglblllly Report was given to parent(a): 10/1 B/2021
      If the parent(a) did not attend, the parson respor111lble for forwarding and explalnlng the Ellglblllty Report to tho parents along with their
      rights ls: ~.- -- -- -- - - -- -


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     ED-3057 • Rev 02/11                                                                                                                                         Eligibility Report
     Department of Education                                                                                                                                   EF#-1-888-287-3034




                                                                                                                                         KB   v. SCBE Due Process
                                                                                                                                                            scs 000205
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                                                                       Eliglbllity Repprt • Out of State Transfer
                                 Name: Kevin BerdweU        DOB: 11/05/2012               Grade: 3rd Grade         School: Lucie E. Campbell Elementary
                                                                   School System: Shelby County School District
                                    Eligibility Determination Date: 08/16/2021              Projected Reevaluel!on Ellglblllty Date: 10/15/2021

                                                                                   ASSESSMENT TEAM
      Your signalure Indicates that you were involved in 1he essessmenl by providing evaluallon, observations, or Input. Dissenting slalements should be
      allached.
      Position                                            Signature                                                                 Date                        Agree           Disagree

      Parent                                                                                                                                   8-16-21
      General Educaijon Teacher                                                                                                                 8-16-21                  cyl
      Interpreter of Tesl Resulls                                                           !/Jq(/6111 f' CUI/fl                                8-16-21
      Assessmenl Specialist                                                                                                                     8-16-21                  [xl
                                                                                                                                               8-16-20                               [J
      Special Educa11on Teacher                                                                                                                                         8

                                                                              ELIGIBILITY DETERMINATION
      l;;t This student is being made eligible so that comparable services can be provided; however, addlllonal dale Is needed to eslabllsh the sludenrs ellgibt1ity
      for special educalion servlces pursuant to the disability standards outlined by the slale of Tennessee. This student was certified In lhe former state for
      Developmental Delay (Primary)/ _ _ _ _ _ __,Secondary)                                        ·
         This student IS ELIGIBLE FOR SPECIAL EDUCATION because s/he meets the State of Tennessee's ellgiblllty slandards for Developmental Delay
      (Primary)/ _ _ _ _ _ _ secondary)
      D This sludent Is Ellglble for Special Education because s/he meals lheState of Tennessee's eligibililystandards for Developmental Delay
      (Primary)/ _ _ _ _ _ _ _(Secondary); however, the sludent's parenVguardlan is declining services. This student wnl not receive special education
      or re1a1ea st:rV'iG~.
      LJ I his studenl Is Not Eligible for Special Education because e/he does not meel standards for a disability.

      Position                                           Signature                                                                 Date                        Agree           Disagree

      Parent                                           l!wi~~I                                                                          8-16-21 ·           •• -H•rn
      PBr6nl
     LEA R6presentatiw                                                  ~      u.......                                                 8-16-21
     Special Education Teacher                          I,,,,&!~ 11'.adlil<                                                             8-16-21                   I[]
     General Education Teacher
                                                                                                                                        8-16-21
     Interpreter of Test Results                     -'1¥W~
                                                                                                                                           8-16-21                IBI



    IBI I recelVed a copy of my child's evaluation report(s) utilized In determining eDglblllty encl/or educallon program.
    D I did not receive a oopy of my chlld's evaluation reporl(s). Explanation:         _1 _2
                                                                                       8 6 1
     Parent/Guardian Signature _-"<....,...i,oi;/.UIIJII.....----------------- Date: _ _ _ _ _ _ _ _ __

     DE1te Ellglblllty Report was given to parent(s): 08/16/2021
     If lhe pareni{s) did not attend, the person responsible for forwarding and P:_
                                                                                  pl11lnlng lhe Ellglblllty Report to lhe parenls along with their
     rights Is: Cynlhla Houston




     ••
          0
              •EASYFAX                                                                                        IIIIIII IIII III ll lllll llllll lllll lllll lllll llllll lllll 11111111111111111
                                                                                                                                                                         7/-,0047BCD7

     ED-3057 • Rev 02/11                                                                                                                                                Ellglblllty Report
     DopertmontofE!ducaUon                                                                                                                                         EF#-1-888-287-3034
                              - - - ----· . ...... ·-                ~--·


                                                                                                                                            KB v. SCBE Due Process
                                                                                                                                                              scs 000206
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                                                                                                                                       Shelby County School District
                                                                                                                                             160 S. Hollywood Street
                                                                                                                                                 Memphis, TN 38112

                                                                                                                                                                               "'"'
                                                                                                                                                                               1/) IC)

                                                                                                                                                                               8"'
                                         _ _ _ _ln_d_iv_id_u_,! :ducation Program (IEP)                                                                                        e8
                                                                                                                                                                               Q. 0

                                                                                                                                                                               CC/J
                                                               From: C1J )7/2022 To: 08/22/2022                                                                                UJ
                                                                                                                                                                               aJ
                                                                                                                                                                               u(/J
                                                    D   Annual                                   0   Addendum
                                                                                                                                                                                 >
                                                                                                                                                                               aJ

                                                                          S udent Information

Student:          Kevin                                         Bardweii                             Birthdate: 11/05/2012                             Grade: 3rd Grade
                  (first)                                       (last)
State ID: 5132885                      StudentlD:493904                          Gender:_M           Hispanic Ethnicity: No
                                                                                                     Race: Black or African American
School: Lucie E. Campbell Elemen-:ar;r
District: Shelby County School Districi

 Primary Disability:                 Auti,m                                              I R~valuation of Blgibility Date:                              110/18/2024
Secondary Disability:                Intellectual Disability

Medical lnfonnation: Previous data shows that he is a student diagnosec    w: h Autism Spectrum disorder.
Relationship to Student: Both Par.ants /Guardian
Name: Eboni Guy                                                                                                                              Home Phone: 901-601-8993
Address: 2404 Whitney Ave, M~mpi1is TN, 38127-8302
                                                                                         Cell Phone: 901-501-8993
 Relationship to Student: Father /Gu~ rdian
 Name: Kevin Bardwell                                                                                                                        Home Phone: 901-491-0417
Address: 2404 Whitney Ave, Mempi1is TN, 38127-8302
                                                                                         Cell Phone: 901--491-0417




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Student Name: Kevin Bardwell                                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                                           IEP Meeting Date: 01/07/2022

                                                                                                                                                                                            "'..,
                                                                                                                                                                                            <I).,,
___________________
                  C_u_rr_e•~ Descriptive Information                                                                                                                                        g~
                                                                                                                                                                                            ~o
                                                                                                                                                                                            c_O


Describe the student's strengths                                                                                                                                                            Cl    (I)
                                                                                                                                                                                            w
                                                                                                                                                                                            ID
Kevin is polite, he treats adults/peers and their belongings with respect He hi   3   appropriate'attendance. Kevin seems to prefer math over reading.                                      (.)
                                                                                                                                                                                            (/)
                                                                                                                                                                                            :,:
Describe the concerns of the parents regarcing their student's education                                                                                                                    ID

Paren~ are concerned about Kevin's speech and academics. They feel tha. • K win doesn't have the math and reading skills to be successful in the regular educational setting ..

Describe how the student's disability advc:rs;ly impacts his/her access to~ 1rt cipation In the general curriculum:

Kevin meets the state of Tennessee eligibili·,y standards to be identified as a ;tudent With Autism and an Intellectual Disability. Due to his disabilities, Kevin has difficulty
communicating and relating to others in a S)cially appropriate manner. Ht , a1 ;o exhibits significantly impaired intellectual functionalng and adaptive functioning. The
characteristics of the disability adversely impact the student's rate of acadr,m ) progress in the general education curricufWTI.            ·

                  Consideration of S pecial Factors for IEP Development
---------------------------
Does the student have limited English proficiency? No
        If yes, what is his/her primary rr.ode of language? English

Is the student blind or visually impaired? No
          If yes, does the student need instruction in Braille? NA

Does the student have communication nee(ls? Yes                                                  .         ,.
         If there are communication needs, does the student have a consb:te: t, reliable, and effective mode of communication? Yes
         If the student does not have a ccini;istent, reliable, and effective n oc of communi~tion, in what ways does the student respond and engage with their environment?
NIA

Is the student deaf or hard of hearing? No
          If yes, did the IEP Team considar:
             a. the student's language and co-nmunication needs; NIA
             b. opportunities for direct corr.mi mications with peers and prof€,si ,nal personnel in the
             student's language and communication mode; NIA
             c. necessary opportuntties for diI ect instruction in the student's ar. JUage and
             communication mode? NIA

Is an assistive technology device or service necessary in order to implemt nt he student's IEP? No
If yes, how Will AT be addressed in the stucent's programming?




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Student Name: Kevin Bardwell                                                                                                                    Shelby County School District
DOB: 11/05/2012                                                                                                                                     IEP Meeting Date: 01/07/2022

                                                                                                                                                                                      rt>v
                                                                                                                                                                                      <I) II)


                                                             D    Supplemt m i i Aids and Services (Note: Please                                                                      8"'
                                                                                                                                                                                      e8
                                                                                                                                                                                      a. 0
D   Accommodations                                           ensure any P. T :quipment'devices and services are               Goals and Obiectives
                                                             added as a .. u~ -:,!emental Aid In the Services and                           1
                                                                                                                                                                                      ocn
                                                             Supplement£ I i ids section within the IEP Process)                                                                      w
                                                                                                                                                                                      a:i
D   Related Services                                         D Other: N.l..                                                                                                           0
                                                                                                                                                                                      Cl)

                                                                                                                                                                                      >
                                                                                                                                                                                      a:i
Does the student's behavior impede his/her learning or that of others? No
If yes, the IEP Team has addressed the stu :lent's behavior in the following   ·M   y(s):

D   Functional Behavior Assessment                          D    Behavior Ii ;t€ vention Plan                          D    Accommodations
D   Goals and Objectives                                    D    Other (writ~ i 1)            NA :
 Does the student demonstrate cognitive processing deficits that im ;)a ;this/her classroom performance and warrant consideration in the development of the IEP
 (i.e. accommodation use)? Yes

         If you chose "Yes." please explain:Comprehensive data shows ev de ice of significantly impaired intellectual functioning. Impaired intellectual functioning can impair the
         ability to complete tests and asslg11ments within usual time frames. l.dditiooal time may be needed on such tasks.

                     Pres,ir t Levels of Performance
-------------------------   Level!; of functioning, should when a,:Jpl ;able, include:norm referenced and/or criterion referenced data,
                                                  as well as descr p ' te lnformation:of the student's deficit areas.
 Assessment Area: PL-Academics-Basic Reading Skills                                              EXCEPTIONAL? Yes
 Present Level of Performance: Acee rding to the results of the 1-F :e: dy reading Diagnostic, Kevin recognizes
 and name all uppercase letters of the 3lphabet, is in the early stag is :,f learning basic vocabulary words, and is in
 the early stages of learning high-frequancy words. His Lexile readi;7£ measure is BR320L and his Lexile range is
 BR400L-BR270L. However, Kevin ha~: not acquired fundamental c:ec :,ding skills and needs instruction in Phonics.
 His score indicates that he has gaps in grade-level word knowledg ~-            ·
 Impact of Mastery of standards: i<e vin is in Tier Ill, and is perfo rr, ng significantly below his peers at the same
 grade level. This will have a negative impact on his mastery of gr, d, level reading skills. He will need a human
 reader, accommodations and modifications to be successfu( in thE g ,neral education setting.
                                                                                                  ;   '

 Source of Information: (-Ready
 SubTest: Reading                                                                           Date Administered: 08/20/2021          Grade Equiv. - KK
                                                                                                                                   Percentile Rank-1st
                                                                                                                                   Std. Score - 306


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Student Name: KeVin Bardwell                                                                                                   Shelby County School District
DOB: 11/05/2012                                                                                                                    IEP Meeting Date: 01/07/2022

                                                                                                                                                                       f/J IO
                                                                                                                                                                       f/J IO
Assessment Area: PL-Academics-[11h1th Calculation                                               EXCEPTIONAL? Yes                                                       g~
                                                                                                                                                                       ~o
                                                                                                                                                                       a_O
Present Level of Performance: Acee rding to the KTEA-3rd Editic n, Kevin was able to point to the numbers •2"
                                                                                                                                                                       QI/)
                                                                                                                                                                             l3
and "6". He was able to recognize a square and a triangle. However, i<.evin was not able to do any simple addition
                                                                                                                                                                       w
or subtraction.                                                                                                                                                        ID
                                                                                                                                                                       (.)
                                                                                                                                                                       1/)
Impact of Mastery of Standards: Ke'lin is performing signifi cant! 1 l elow his peers in math and is in need of                                                        >
                                                                                                                                                                       ID
intensive intervention. This causes a negative impact on his mastE: lj of grade level standards. Kevin will need
accommodations and modifications.

Source of Information: Kaufman Te:;t of Educational Achieveme .1t
Third Edition
SubTest: Math Computation                                                     Date Administered: 08/23/2021          Grade Equiv. - <K
                                                                                                                     Score-3




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Student Name: Kevin Bardwell                                                                                                         Shelby County School District
DOB: 11/05/2012                                                                                                                           IEP Meeting Date: 01/07/2022

                                                                                                                                                                            "'(0
                                                                                                                                                                            u, LO

Assessment Area: PL-Language                                                                    EXCEPTIONAL? Yes                                                            g~
                                                                                                                                                                            ~a
                                                                                                                                                                           a. a
Present Level of Performance: Kev n demonstrates severely re~ ~ri :ted oral expressive and receptive language
                                                                                                                                                                           ccn
skills for a student of hls age. He typically uses no spontaneous vert: alizations during communicative exchange.                                                          w
Kevin is able to label or name common objects but struggles with J£ ng action concepts, demonstrating his                                                                  Ill
                                                                                                                                                                           (.)
understanding and use of location concepts. Kevin demonstrates t 1, understanding and use of some basic                                                                    en
concepts such as identifying colors arid body parts. He also demo, 1s rates strengths in his attention to task,                                                             >
                                                                                                                                                                           Ill
                                                                                                                                                                           ls::
sustained concentration and engagement,
compliance with school rules, awarenass and adherence to persora space. Kevin is able to demonstrate
understanding of turn taking skills as Nell as use of eye contact. K ~\ :n struggles to produce verbal utterances for
the social purposes of language otrer than labelling or answering.
Impact of Mastery of Standards: KE,vin's communication systerr h severely restricted and prevents him from
demonstrating as well as verbalizing ilis mastery of age and gradc 11 vel content.
Source of lnfonnation: Observation - Language

                                                                                                                        Narrative - Kevin demonstrated many
                                                                                                                        strengths as follows: his compliance with
                                                                                                                        tasks, his ability to sustain attention within
                                                                                                                        and across tasks, his positive response to
                                                                                                                        simple one step verbal directions, his
                                                                                                                        demonstration of understanding school rules,
SubTest: General                                                              Date Administered: 10/09/2021             his ability to verbally label a variety of
                                                                                                                        common objects, his production of speech
                                                                                                                        with consistent good intelligibility and using a
                                                                                                                        vocal volume sufficient to allow effective
                                                                                                                        transmission of his message to others in the
                                                                                                                         interaction, as well as to make and sustain
                                                                                                                         eye contact throughout interactions.




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Student Name: Kevin Bardwell                                                                                                 Shelby County Schaal District
DOB: 11/05/2012                                                                                                                  IEP Meeting Date: 01/07/2022


                                                                                                                                                                     "',.._
                                                                                                                                                                     "'..,
Assessment Area: PL-Pre-vocational                                                             EXCEPTIONAL? Yes                                                      eo
                                                                                                                                                                     a..o
Present Level of Perfonnance: Kevin ls polite, he treats adults/p. ~e sand their belongings with respect. He has
appropriate attendance, maintains pro.Jer dress code and has the ~,bi ity to get along with peers. However, he                                                       ccn
                                                                                                                                                                     w
struggles to work alone without redirec tion/reassurance, attempf/br,g 1 assignments, and stay on task until                                                         aJ
                                                                                                                                                                     (.)
completion in assignments in a timely manner. He also struggles t•i c ~ntrol temper in all situations, follow                                                        Cl)

'h'l'itten/spoken directions effectively and recite/write personal data                                                                                              >
                                                                                                                                                                     aJ

Impact of Mastery of Standards:              prevocational skills comp ires poorly to peers compared to his age.
These deficits make It difficult for him to master grade lev el stand,m 3.
Source of Information: Prevocatiom:,I SkiHs Checkllst
SubTest: Classroom Performance                                               Date Administered: 08/23/2021         Passed Y or N - N
SubTest: Behavior                                                            Date Administered: 08/23/2021         Passed Yor N.- N
SubTest: Cooperation                                                         Date Administered: 08/23/2021         Passed Y or N - N
SubTest Self Help                                                            Date Administered: 08/23/2021         Passed Y or N - N




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Student Name: Kevin'Bardwell                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                         IEP Meeting Date: 01/07/2022

                                                                                                                                                                          "' C0

        Measurable Annual Go 31s and Benchmarks/f h, trt-term Instructional Objectives for IEP and Transition Activities                                                  g~
                                                                                                                                                                          U) " '


                                                                                                                                                                          ~o
                                                                                                                                                                         Q.O

                                                                                                                                                            Goal 1 of7   ClC/l
Area of Need: Pre-vocational                                                        Personnel/Position Responsible: SCS Personnel                                        w
                                                                                                                                                                         ID
                                                                                                                                                                         (..)
Annual Goal: Given verbal prompts, :<evin will improve his perfo rn mce of prevo'.cational tasks to a score of 3 or higher, demonstrating average to above               Cl)

average performance, as measurec bf data collection and teache c iservations by the endof the IEP.                                                                       >

                                                   Benchmarks/SI ,o t-Tenn                                                          Anticipated
                                                                                                                                                     Method of
                                                   Instructional C '.lj .clives                                                     Beginning
                                                                                                                                                     Evaluation
                                                                                                                                       Date

When given a written or verbal ass:gnment, -Kevin will increase hi ', t .-neon task to _ _ minutes, within 4 Of 5 trials with 80%
                                                                                                                                                  Teacher
                                                                                                                                    10/18/2021    Observations
accuracy as measured by data collec':ions and teacher observatio,1s each nine weeks.
                                                                                      '                                                           Data Collection
                                                                                                                                                  Teacher
When given a written or verbal assignment, Kevin will will attemp . tr begin an assignment Without teacher reassurance within
                                                                                                                              10/18/2021          Observations
4 of 5 trials with 80% accuracy as measured by teacher observati,)n ; and data collection.
                                                                                                                                                  Data Collection



Program Modifications/Supports fur School Personnel:
Prevocational Skills Checklist

                                                                                                                                                            Goal 2of7
Area of Need: Academics-Basic Reading Skills                                      ~ersonnel/Position Responsible: Special Education Teacher
Annual Goal: When presented with text, Kevin will increase his t ,ai ;c reading skills in the areas of phonics, decoding, and word recognition from a KK to a 1.0
grade equivalence as measured b~' v.ork samples, data colllectior , , nd district assessments by the end of the IEP.
         .                                                                              '




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Student Name: Kevin Bardwell                                                                                                     Shelby County School District
DOB: 11/05/2012                                                                                                                        IEP Meeting Date: 01/07/2022



                                                     Benchmarks/!>h >rt-Term                                                           Anticipated
                                                                                                                                                        Method of
                                                     Instructional     :)i ,jectives
                                                                                                                                       Beginning
                                                                                                                                                        Evaluation
                                                                                       '                                                  Date
                                                                                                                                                      Data
When shown word lists and/or a short passage, Kevin will demons:rc e awareness of letter/sound relationships within 4 of 5 trials                     Collection
with 80% accuracy as measured by w,)rk samples and data collect.01 by the end of each 9 weeks.
                                                                                                                                       10/18/2021
                                                                                                                                                      Work
                                                                                                                                                      Samples
                                                                                                                                                       Data
When shown word lists and/or a familiar text, Kevin will locate sped, c word patterns and sight words within 4 of 5 trials with 80%                    Collection
                                                                                                                                       10/18/2021
accuracy as measured by work sarr: pl3s and data collection by the e ,d of each 9 weeks.                                                               Work
                                                                                                                                                       Samples



Program ModificationsfSupports fc.r School Personnel:
District pacing guides for assistance vtith curriculum modifications

                                                                                                                                                           Goal 3 of7
Area of Need: Academics-Math Calculation                                        Personnel/Position Responsible: Special Education Teacher
Annual Goal: Using manipulatives d~awings, and various strateg ei , Kevin will increase his ability to identify numbers and solve math calculations to Increase
his level of performance from a <K.0 •~rade equalence to a K.0 grr,d, equivalence as measured by work samples, data collection, teacher observations and
formal assessments by the end of tile IEP.
                                                                                                                        Anticipated
                                              Benchmarks/Short• TE rm                                                                           Method of
                                                                                                                        Beginning
                                              Instructional Objec ~h as                                                                         Evaluation
                                                                                                                          Date
                                                                                                                                       Standard Tests Teacher
When shown a set of numbers, Kevir wilt Identify his numbers up tc 20 within 8 out of 10 trials with 80% accuracy
                                                                                                                        10/18/2021     Observations Data
as measured by work samples, data collection, teacher observatir,n: and informal assessments each nine weeks.
                                                                                                                                       Collection Work Samples
When given a set of manipulatives, l<evin to add and subtract sin9lt -digit numbers within 8 out of 10 trials with                     Standard Tests Teacher
80% accuracy as measured by work ~,amples, data collection, tea .;h ~r observations and Informal assessments each 10/18/2021           Observations Data
nine weeks.                                                                                                                            Collection Work Samples



 Program ModificationsfSupports for School Personnel:
 District pacing guides for asstance with curriculum modifications

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Student Name: Kevin Bardwell                                                                                                      Shelby County School District
DOB: 11/05/2012                                                                                                                         IEP Meeting Date: 01/07/2022

                                                                                                                                                                          rllO
                                                                                                                                                                          "'u:,
                                                                                                                                                           Goal4of7       g~
                                                                                                                                                                          ~o
Area of Need: Language                                                             Personnel/Position Responsible: SLP                                                    a_O

Annual Goal: Given multi-modal prompts, Kevin will label and ide:11 fy common objects with increasing complexity relating to home, school, and community                  0(1)
settings with 80% accuracy given 4/5 ::ipportunities across 3 conse ;L :ive sessions ;as measured by SLP data by the end of the IEP period.                               w
                                                                                                                                                                          ID
                                                                                                                                                                          (.)
                                                                                                                               Anticipated                                (/)
                                                 Benchmarks/Sho :i     Tenn                                                    Beginning
                                                                                                                                                    Method of             >
                                                 Instructional Obj     tives                                                                        Evaluation            ID
                                                                                                                                  Date
Given pictures, Kevin will name and i jentify objects related to hor 1E with 60% accuracy given 4/5 opportunities across 3                    Data Collection
                                                                                                                               10/18/2021
consecutive sessions as measured b~· SLP data.                                                                                                Progress Monitoring
Given pictures, Kevin will name and i::lentify objects related to scht I with 60% acc;uracy given 4/5 opportunities across 3                  Data Collection
                                                                                                                               10/18/2021
consecutive sessions as measured br SLP data.                                                                                                 Progress Monitoring
Given pictures, Kevin will name and identify objects related to cor 1r ,unity settings with 60% accuracy given 4/5                            Data Collection
                                                                                                                               10/18/2021
opportunities across 3 consecutive SE sslons as measured by SLP j; ta                                                                         Progress Monitoring



Program Modifications/Supports for School Personnel:
Data collection and observations

                                                                                                                                                           Goal 5of7
Area of Need: Language                                                               Personnel/Position Responsible: SLP
Annual Goal: Given multi-modal prompts, Kevin will label action,; E ><panding into 2-3 word utterance combinations with 80% accuracy given 4/5 opportunities
across 3 consecutive sessions as me3sured by SLP data by the e ic of the IEP period.
                                                                                                                          Anticipated
                                               Benchmarks/Shor: -l ~rm                                                                            Method of
                                                                                                                          Beginning
                                               Instructional Obje :;t ves                                                                         Evaluation
                                                                                                                             Date
Given pictures, Kevin will name 1C a:tions or "ing" cards with 80% 1ccuracy given 4/5 opportunities across 3                              Data Collection Progress
                                                                                                                          10/18/2021
consecutive sessions as measured b t SLP data.                                   •                                                        Monitoring
 Given pictures, Kevin will use nouns+ actions or "ing" with 60% ~,c, uracy given 41,5 opportunities across 3                             Data Collection Progress
                                                                                                                           10/18/2021
 consecutive sessions as measured bt SLP data.                                                                                            Monitoring
 Given pictures, Kevin will use noun•-- actions+ noun with 60% acct racy given 4/5 opportunities across 3 consecutive                     Data Collection Progress
                                                                                                                      10/18/2021
 sessions as measured by SLP data.                                                                                                        Monitoring




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Student Name: Kevin Bardwell                                                                                                             Shelby County School District
DOB: 11/05/2012                                                                                                                              IEP Meeting Date: 01/07/2022


Program Modifications/Supports for School Personnel:
Data collection and observations

                                                                                                                                                                  Goal 6of7
Area of Need: Language                                                         Personnel/Position Responsible: SLP
Annual Goal: Given multi-modal pronpts, Kevin will follow spatia c rections with :so% accuracy given 4/5 opportunities across 3 consecutive sessions as
measured by SLP data by the end cf the IEP period.
                                                                                                                                     Anticipated
                                                 Benchmarks/Sho,t- :·erm                                                                                  Method of
                                                                                                                                     Beginning
                                                 lnstructional Obj,!C ives                                                                                Evaluation
                                                                                                                                        Date
Given verbal or visual prompts, Kevir will follow 1 step directions wi h 80% accuracy given 4/5 opportunities across 3                              Data Collection
                                                                                                                                     10/18/2021
consecutive sessions as measured b} SLP data.                                                                                                       Progress Monitoring
                                       ----------- 3ctions with 70% accuracy given 4/5 opportunities
Given verbal or visual prompts, Ke'1in will follow 2 step positional   jJ1
                                                                                                                                          .
                                                                                                                                                    Data Collection
                                                                                                                                     10/18/2021
across 3 consecutive sessions as measured by SLP data.                                                                                              Progress Monitoring


Program Modifications/Supports for School Personnel:
Data collection and observations

                                                                                                                                                                   Goal 7of7
Area of Need: Language                                                                   Personnel/Position Responsible: SLP
Annual Goal: Given multi-modal prompts, Kevin will use total co, nr ,unication to effectively communicate wants and needs with 80% accuracy given 4/5
opportunities across 3 consecutive sessions as measured by SLP d. ta by the end of the IEP period.
                                                                                                                                     Anticipated
                                                 Benchmarks/Sho t• :erm                                                                                   Method of
                                                                                                                                     Beginning
                                                 Instructional Obj ~c .ives                                                                               Evaluation
                                                                                                                                        Date
 Given verbal, visual, and tactile cues, Kevin will use 5 functional   ,ir 1S with 50% accuracy given 4/5 opportunities              10/18/2021
                                                                                                                                                   Data Collection
 across 3 consecutive sessions as rne3.sured by SLP data.                                                                                          Progress Monitoring
 Given verbal and visual cues, Kevin Nill use picture exchange to      3€    ect activity of choice given 4/5 opportunities across                  Data Collection
                                                                                                                                     10/18/2021
 3 consecutive sessions as measured by SLP data.                                                                                                    Progress Monitoring




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student Name: Kevin Bardwell                                                                                                   Shelby County School District
DOB: 11/05/2012                                                                                                                    IEP Meeting Date: 01/0712022



Program Modifications/Supports for School Personnel:
Data collection and obseNations



                                                                     ______________________________......
Benchmark/Short-Term Instructional Objectives above may conta n he following codes after some or all of the benchmark/objective statements: Introduced {I),
Developing (D), State CRT and Writir.g Assessed (A), and Master ,d 3nd Maintained M). These codes indicate how the objective is being used in the general
education curriculum and for TCAP testing at the specified grade ;av ~1 from which the objective is selected.


Supplementary Aids/Services and Bupport for the child:
NA




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Student Name: Kevin Bardwell                                                                                                            Shelby County School District
DOB: 11/05/2012                                                                                                                             IEP Meeting Date: 01/07/2022


______________________\~ >gram Participation

a. Reading
                                Acco mt nodations                                                                       Modifications
 • Assignments - Give directions in alt~rnative format (written/pictL ,rE verbal,
                                                                                        •· Content - Modified content
 etc.).
 • Assignments - Give directions in small, distinct steps.
 • Environmental Arrangements - P:ar1ned/preferential seating. :     IL a 1 area that
 is not distracting to the student( for e:<ample, close to windows
 • Environmental Arrangements - Recuce/minimize distractions (v •st al,
 auditory, tactile, movement, andlo~s:icial).
 • Pacing - Allow breaks.
 • Testing - Oral testing for directions and/or test items,
 • Testing - Extended Time     L     MinL tes of Extended Time) : Tirr e ind a half
 • Assignments - Additional Time : 30 minutes
 • Assignments - Speech to Text


b. English/Language Arts
                                   Accorr modations                                                                     Modifications




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Student Name: Kevin Bardwell                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                           IEP Meeting Date: 01/07/2022

                                                                                                                                                                            t/l,q
                                                                                                                                                                            ti)<D

 • Assignments - Give directions in alternative format (written/picti; ,( 'verbal,                                                                                          !llN
                                                                                      • Content - Modified content                                                          e8
                                                                                                                                                                            a,_0
 etc.).                      ·
 • Assignments - Give directions in small, distinct steps.                                                                                                                  ccn
                                                                                                                                                                            UJ
 • Environmental Arrangements- Planned/preferential seating.: Ir. c. 1 area that                                                                                            00
                                                                                                                                                                            u
 is not distracting to the student( for e(ample, close to windows                                                                                                           Cl)

                                                                                                                                                                            >
 • Environmental Arrangements- Recuce/minimize distractions (v .s1al,                                                                                                       re
 auditory, tactile, movement, and/or social).
 •Pacing-Allow breaks.
 • Testing - Oral testing for directions and/or test items,
 • Testing - Extended Time(__ Mi1L tes of Extended Time): Tim~ md a half
 • Assignments - Additional Time : 30 minutes
 • Assignments - Speech to Text




c.Spelling
                                Accc,m modations                                                                       Modifications
 • Assignments - Give directions in alternative format (written/pict .Jn ,/verbal,
                                                                                      • Content - Modified   content
 etc.).
 •Assignments-Give directions in srnall, distinct steps.
 • Environmental Arrangements - Planned/preferential seating. : h: n area that
 is not distracting to the student( fo, E,xample, close to windows •
 • Environmental Arrangements - Reduce/minimize distractions (, is ial,
 auditory, tactile, movement, and/er social).
 • Pacing -Allow breaks.
 • Testing - Oral testing for directions and/or test items,
 •Testing-Extended Time(__ Minutes of Extended Time): Tin ,e :i.nd a half
 •Assignments-Additional Time : 30 minutes
 • Assignments - Speech to Text


 d. Writing

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Student Name: Kevin Bardwell                                                                                                       Shelby County School District
DOB: 11/05/2012                                                                                                                        IEP Meeting Date: 01/07/2022

                                                                                                                                                                             gj    LO

                                Acco1111 nodations                                                                    Modifications                                         iii    gi
                                                                                                                                                                            e8
                                                                                                                                                                           11..0
 • Assignments - Give directions in alt:)mative fonnat (written/pictL re verbal,
                                                                                      • Content - Modified content
 etc.).                                                                                                                                                                    0(1)
                                                                                                                                                                           w
 •Assignments• Give directions in small, distinct steps.                                                                                                                   aJ
                                                                                                                                                                           (.)
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 • Environmental Arrangements - Planned/preferential seating.: Ir: a 1 area that
 is not distracting to the student( for e:<ample, close to windows
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                                                                                                                                                                           aJ
                                                                                                                                                                           ::.::
 • Environmental Arrangements- R~duce/minimize distractions (v :St al,
 auditory, tactile, movement, and/or s:icial).
 • Pacing - Allow breaks.
 • Testing - Oral testing for directions and/or test items,
 • Testing - Extended Time(.__ Mini.:tes of Extended Time) : Tim3 ind a half
 • Assignments - Additional Time : 30 minutes
 •Assignments-Speech to Text


e. Math
                                Accommodations                                                                        Modifications
 • Assignments - Give directions in alternative format (written/pict Jr !/verbal,
                                                                                      • Content - Modified content
 etc.).
 • Assignments - Give directions in small, distinct steps.
 • Environmental Arrangements - Pia nned/preferential se.ating. : I 1 :n area that
 is not distracting to the student( fer nxample, close to windows
 • Environmental Arrangements- Rejuce/minimize distractions (- ·it Jal,
 auditory, tactile, movement, and/or 30eial).
 • Pacing -Allow breaks. ·
 • Testing - Oral testing for dlrectiom; and/or test items,
 • Testing - Extended Time(.__ Minutes of Extended nme) : Tir ie and a half
 • Assignments - Additional Time : 30 minutes
 • Materials - Visual RepresentationE for Math
 • Assignments - Speech to Text



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Student Name: Kevin Bardwell                                                                                                       Shelby County School District
DOB: 11/05/2012                                                                                                                          IEP Meeting Date: 01/07/2022

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f. Science                                                                                                                                                                 !'lN
                                                                                                                                                                           e8
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                                Accom1 nodations                                                                      Modifications
                                                                                                                                                                           ccn
 • Assignments - Give directions in alt~mative format (writtenfpictt re verbal,                                                                                            w
                                                                                      • Content - Mo<flfied content                                                        ID
 etc.).                                                                                                                                                                    (.)
                                                                                                                                                                           en
 • Assignments - Give directions in srr all, distinct steps.                                                                                                               >
                                                                                                                                                                           ID
 • Environmental Arrangements - Plar ned/preferential seating. : Ir. a , area that
 is not distracti ng to the student( f?r e: :ample, close to windows
 • Environmental Arrangements - RadLJce/minimize distractions (v Sl 31,
 auditory, tactile, movement, and/or social).
 • Pacing - Allow breaks.
 •Testing-Oral testing for directions ,md/or test items,
 •Testing-Extended Time L_ Mi1utel> of Extended Time}: Tim ~ , nd a half
 • Assignments -Additional Time : 30 minutes
 • Assignments - Speech to Text


g. Social Studies
                                Accommodations                                                                        Modifications
 • Assignments - Give directions in ahemative format (writtenfpict ire /verbal,
                                                                                      • Content - Modified content
 etc.).    ·
 • Assignments - Give directions in small, distinct steps.
 • Environmental Arrangements - Planned/preferential seating.: ln c :"I area that
 is not distracting to the student( fo:· example, close to windows
 • Environmental Arrangements - R.ecuce/minimize distractions(\ is, al,
 auditory, tactile, movement, and/or rncial).
 • Pacing - Allow breaks.
 • Testing - Oral testing for directions and/or test items,
 • Testing - Extended Time L_ M:mtes of Extended Time): Tine md a half
 • Assignments - Additional Time : 30 minutes
 • Assignments - Speech to Text



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Student Name: Kevin Bardwell                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                           IEP Meeting Date: 01/07/2022

                                                                                                                                                                             "',.._
                                                                Stat~i )istrict Mandated Tests
- ----------------------                                                                                                                                                    e8
                                                                                                                                                                            c,_0

D   Student will participate in the folloHing state/district mandated, s ;essment(s): .                                                                                     ocn
                                                                                                                                                                            w
         0 Achievement                                        D EOC                                      Q Tennessee Alternate Assessment                                   ID
                                                                                                                                                                            (.)
                                                                                                                                                                            en
              WIDA Access                                   D   WID/.   I   ccess (Alternate)                                                                               >
                                                                                                                                                                            ID
              ACT                                           O   EXPLC ~E                                 0    PLAN
District Assessment:
D No Accommodations                      D Accommodations




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Student Name: Kevin Bardwell                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                          JEP Meeting Date: 01/07/2022


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                                                                                                                                                                           <J) " '



                                                    Special Ed~ :ation and Re.lated Services                                                                               e8
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                                                                                                                                                                           CCI)
                                                                  D r, ict Specia~ Education                                                                               w
                                                                                                                                                                           ID
                                                                                                                                                                           (.)
                                                                                                                                                                           (/)
                                                                Sef.si lnS      Time,Per                              Beginning-Ending                                     >
           Type of Service                  Provider Title                                         Hours Per Week                             Location of Services
                                                                Per             Session                               Dates
                                            Special Education                                      33 hrs and 45      10/18/2021-
Functional Skills
                                            Teacher
                                                                 5 P,,r   Neek 6.75 hr             mins                                       Special Ed Setttng
                                                                                                                      08/22/2022

                                    F.~elated Service(s}, incl Jt ling Instruction from Specialized Personnel

                                                                 Ser:s ons      Time:Per                              Beginning-Ending
           Type of Service                  Provider Title                                         Hours Per Week                             Location of Services
                                                                 Per            Session                               Dates
                                            Speech Language      8 P3r                                                10/18/2021-
Language Therapy
                                            Pathologist          mo:1t
                                                                                30   min           1 hrs and O mins                           Special Ed Setting
                                                                                                                      08/22/2022

                                            Total cial Ed Minutes by Date Range
                               1------------..---
                                       Date
                                        Begin           End Date
                                                                     p,
                                                                                                               Minutes per Week
                               10/18/2]21                         ou:.212022                            2085

                                       Note: Service Dates apply c u1ing the nonnal school year, not ESY, unless specified.




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Student Name: Kevin Bardwell                                                                                                                    Shelby County School District
DOB: 11/05/2012                                                                                                                                     IEP Meeting Date: 01/07/2022


                                                                                                                                                                                           mm
                                                                                                                                                                                           "' co
                                                       LR: and General Education
                                              ----------                                                                                                                                  21
                                                                                                                                                                                          eo
                                                                                                                                                                                          o.,o
Explain the extent, if any, in which the s:uc.ent will not participate with no· 1-1: isabled peers In:                                                                                     ~2
                                                                                                                                                                                          Cl (I)
                                                                                                                                                                                          w
1. the regular class: Kevin will not participate with his non-disabled pears Nt ~n he ls receiving instruction in the Functional Skill classroom 33.75 hours a week and when he is        IX!
                                                                                                                                                                                          (.)
receiving Language Therepy 8 times pe: n 1onth with 30 minute sessions.                                                                                                                   (/)

                                                                                                                                                                                          >
2. extracurricular and nonacademic activit es: Kevin will participate with n·1n disabled peers in extracurricular and nonacademic activities to the same extent as his non-disabled       IX!
                                                                                                                                                                                          X:
peers.
3. and/or, his/her LEA Home School: Services will be provided at his LEA h, me school



----------------------- 3•;ecial Transportation
 Transportation Type                              Special Instructions                                   NumSession             Session Length                  Begin/End Date
 Special Transportation Bus~ No
                                                                                                5 per week                                                   01/07/2022-
                                                                                                                          20mln
 special arrangements                                                                                                                                        08/22/2022


                                              ---------- Edended School Year
The IEP Team will detennine if Extended School Year (ESY) is required '.,y )4/15/2022.

Basis for Determining ESY BigibiUty: The IEP team determined that r 1c e data Is needed in order to determine if ESY services are necessary.




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Student Name: Kevin Bardwell                                                                                                          Shelby County School District
DOB: 11/05/2012                                                                                                                             IEP Meeting Date: 01/07/2022


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                                                                                                                                                                             "'r--
                                                                           IEP Participants                                                                                  g
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··•·· EASY'FAX                                                                                                         I~~111 lllmllI~ l ~l l lf l 111 ~1111111111~
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                                                                                                                                                                             (/)

                                                                                                                                                                             >
                                                                                                                                                                             al
                                       Tl1e following individuals atter.dE d the IEP Team and participated in the development of
                                                                 this lr;di 1iduallzed Education Program.
                  Position

                  Kevin Bardwell
                                                     Signature

                                                          '
                                                                       -                                    In Agreement      Date

                                                                                                               OYesONo
                  Parent


                  LEA Representative                                                   ;                       0Yes0No


                  Regular Education Teacher


                  Special Education Te9.cher                                                                   OYesONo

                  Interpreter of EvalLation
                  Results


                  Student          /




                  SLP - Shavonica Wil iams                                                                     OYesONo


                  SPED Advisor - Nia Coleman                                                                   OYesONo


                   -                                                                                           OYesONo
                                                                                           '

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Student Name: Kevin Bardwell                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                           IEP Meeting Date: 01/07/2022



                                                                                               OYesONo

                                                                                                OYesONo




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Student Name: Kevin Bardwell                                                                                                           Shelby County School District
DOB: 11/05/2012                                                                                                                              IEP Meeting Date: 01/07/20'22.

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                                                                                                                                                                                U)     ....


                                                                    Into med Parental Consent                                                                                     gj
                                      ----------
 Please select "Yes' or 'No' for eact1 statement below:                                  ' Please select one of the following options:
                                                                                                                                                                                ~a
                                                                                                                                                                                a.a

                                                                                                                                                                                       en
                      I certify that I am ·:he legal                                                A draft IEP was developed and a copy was provided at least 48
D    Yes   O   No
                      parent(s)/guardiar,(s)/surrogate(s) of this child.                            hours prior to my child's IEP team meeting.
                                                                                                                                                                                LJ.J
                                                                                                                                                                                cc
                                                                                                                                                                                (.)
                                                                                                                                                                                en
                      I have been inforned of and understand my riiJh s as a                        A draft IEP was developed, but a copy was not provided at least 48          >
 D   Yes   D   No     parent, and have -eceived a copy of the notic€· c •                           hours prior to my child's IEP team meeting.
                      procedural safe-;iLards.                                              D       A draft lEP was developed, but a copy was declined.
                      I have been involved in the IEP Team meetin~ , 1d/or the                      A draft IEP was not developed prior to the IEP team meeting.
 0   Yes   D   No     development of this IEP, and give permission ,'o the
                      proposed program described in this IEP form~ c 1ild.
                      My child and I have been informed of his/her r ,g ,t to
                      represent himself. herself upon his/her eightee.1tl . birthday.
 0   Yes   O   No
                                                                           ,r
                      (Note: This infom ation must be provided begi ng at least
                      one year prior to 1he student's 18th birthday.)
                      I understand that :,articipation in the alternate aE 5essment
                      means my studer.t is participating in a curricul Jr , that may
                      hinder his/her ability to obtain a regular dip 01 1a. I
 0   Yes   O   No
                      understand that n1y child may instead reeeiv,1, n alternate
                      academic diplo11a, occupational diploma, anc ·o special
                      education diploma.



                    ParenUGuardian/Sur,ogate Signature
                                                                -------
                                                                Date                    Student Signature                           Date

Date IEP was given to parent(s):

If the parent(s) did not attend, the person responsible for forwardinJ , nd explaining the contents of the IEP to the parents along with their rights is: Cynthia Houston

             Documentation of IEP R ~view by Other Teachers not in Attendance:
------------------------



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Student Name: Kevin Bardwell                                                                                       Shelby County School District
00B: 11/05/2012                                                                                                        IEP Meeting Date: 01/07/2022


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Signature                               Date.                            Signature                                    Date                                 ID CJ)
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Signature                               Date                             Signa~re                                     Date                                 en
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Signature .                             Date                             Signature                                    Date




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Student Name: Kevin Bardwell                                                                                                                  Shelby County School District
DOB: 11/05/2012                                                                                                                                   IEP Meeting Date: 01/07/2022


                                                                                                                                                                                  "' ...
                                                                                                                                                                                 "'"""
                                                        TENNESS=:ALTERNATEASSESSMENTS                                                                                            §~
                                                                                                                                                                                 ~a
                                                                                                                                                                                 c. a
                                                            Particip 1' ion Decisi~n Documentation                                                                               Cl (I)
                           To meet tha criteria for the Tennessee AltE rr ,te Assessment, the student must meet all ellaiblllty criterla descriptors.                            UJ
                                                                                                                                                                                 cc
Participation Criteria                              Participation Ct it iria Descriptors                             Sources of Evidence                                         u
                                                                                                                                                                                 (/)

                                                                                                                                                                                 >
                                                                                                                                                                                 cc
                                                                                                                                                                                 :,.::
                                                                                                                         Results of Individual Cognitive Ability Test

                                                                                                                     D Results of Adaptive Behavior Skills Assessment
                                                    Review of stude; it ·ecords indicate a disability or             D Results of individual and group administered
                                                    multiple disabilit 3! that significantly impact                  achievement tests
   1. The student has a significant cognitive       intellectual funct o ling and adaptive behavior.
                   disability.                                                                                       D Results of informal assessment
                Yes~                                * Adaptive beha'/i( r is defined as essential for
                                                    someone to live :n lependently and to function safely            0   Results of individual reading assessments
                                                    in daily life.
                                                                                                                     D Results of district-wide alternate assessments
                                                                                                                     D Results of language assessments including English
                                                                                                                     language learner {ELL) language assessment if
                                                                                                                     applicable

                                                                                                                     D Examples of curriculum, instructional objectives
                                                                                                                     and materials including work samples
                                                    Goals and instrL ct :m listed in the IEP for this student
  2. The student is learning content linked to
                                                    are linked to the e :rolled grade-level standards and               Present levels of academic and functional
  (derived from) the state content strndards.
                                                    address knowlecg · and skills that are appropriate and            performance, goals and objectives from the IEP
                 Yes~
                                                    challenging for t 1i: student.
                                                                                                                     D Data from scientific research-based interventions
                  .                                                                                                 ' D Progress monitoring data




                                                                                                                                                                        Page23
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Student Name: Kevin Bardwell                                                                                                    Shelby County School District
DOB: 11/05/2012                                                                                                                      IEP Meeting Date: 01/07/2022

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                                                                                                                                                                     g~
                                                                                                                                                                     ~o
                                                                                                                                                                     c..o
                                                                                                                         0 Examples of curriculum, instructional
                                                                                                                         objectives, and materials including work    CCI)
                                                                                                                                                                     w
                                                                                                                         samples from both school and                III
                                                                                                                                                                     (.)
  3. The student requires extensive                                                                                      community based instruction                 Cl)
                                         The student (a) requires ex ensive, repeated, individualized instruction and
 direct individualized instruction and                                                                                                                               >
                                         support that is not of a te,n ,orary or_tra~~fent !1ature and (b) uses .
   substantial supports to achieve                                                                                       ~Teacher collected data and
                                         substantially adapted ma :e ials and md1v1dual!ze~ methods ?f accessing
 measureable gains in the grade-anc-
                                         information in altema·ive v.. 1ys to acquire, mamtam, generalize, demonstrate
                                                                                                                         checklists
     age-appropriate curriculum.
                                         and transfer skills across a, ademic content.
             Yes ~                                                                                                       D Present levels of academic and
                                                                                                                         functional performance, goals, and
                                                                                                                         objectives, and post school outcomes
                                                                                                                         from the IEP and the Transition Plan for
                                                                                                                         students age 14 and older




                                                                                                                                                            Page24
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Student Name: Kevin Bardwell                                                                                                        Shelby County School District
DOB: 11/05/2012                                                                                                                           IEP Meeting Date: 01/07/2022

                                                                                                                                                                         1/) <D
                                                                                                                                                                         1/) , _
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                        The student i~ eligible to participate in the ' re messee Alternate Assessment if all tJ!SPPDSeS above are marked Yes.                           §~
                                                                                                                                                                         ~o
                                                                    -
                                                    Additional Consi j( rations Not to Use in Reviewing Evidence
                                                                                                                                                                         11..0



                                                                                                                                                                         w
1. A disability category or label                                                                                                                                        cc
                                                                                                                                                                         (.)
                                                                                                                                                                         (/)
2. Poor attendance or extended absences
                                                                                                                                                                         >
3. Native language/social/cultural or ,~conomic difference
4. Expected poor performance on thf, general education assessrr,ar
5. Academic and other services rece ved
6. Educational environment or insti\Jctional setting
7. Percent of time receiving specico.l E,ducation
8. English Language Learner (ELL) s:atus
9. Low reading level/achievement !eve]
10. Anticipated disruptive behavior
11. Impact of test scores on accountability system
12. Administrator decision                                                           -
13. Anticipated emotional duress
14. Need for accommodations, e.g., ,3.ssistive technology/MC to pi 1icipate in assessment process.

Based on consideration of the studer.t's eligibility, the IEP team   determined that the alternate assessment is the most appropriate assessment for this
student AND evidence shows that thB decision for participating ir. t~ Tennessee Alternate Assessment was not based on the above list of Exclusionary factors.
                                                                        'C1I Yes D No




                                                                                                                                                                Page25
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Student Name: Kevin Bardwell                                                                                                                     Shelby County School Disbict
 DOB: 11/05/2012                                                                                                                                     IEP Meeting Date: 01/07/2022

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Toe !EP team has considered multiple sources of information and data s·1c ving that the student 1) demonstrates a significant cognitive disability; 2) is participating in instruction   e8
                                                                                                                                                                                         0..0
linked to the Tennessee state standards; 3nd 3) requires extensive, dlrec-., : ldividuanzed instruction and substarrtlal supports.

The IEP team has decided that the stucent cannot participate in the regu a1 assessment (even with     tne use of accommodations) and that the alternate assessment is appropriate        cm
                                                                                                                                                                                         w
for the student.                                                                                                                                                                         ID
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Given the data, the IEP team has decidecl that the student _wilV_wil r )t participate in the alternate assessment.                                                                       >
                                                                                                                                                                                         ID

 Name                                            Position
                                                                            -                              Date
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  Parent(s)fGuardian                                       Date




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           Stldent Name: Kevin Bardwell                                                                                                                  Shelby County Schoo] District
            DOB: 11/05l.2012                                                                                                                                 IEP Meeting Oa:IE 0110712022


                                                                                       IEP Participants


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                                                 The following individuals attended the IEP Team and pai ic 'pated in the development ,,t
                                                                             this lnd'IViduaf:ized Educalion Prl g; am..
                               Position                            Signamre                                                    In Agreement      ~te
                                                                                                                    -
                               Kevin Bardwell                                                                                    ti1Yes0No             1/10/2022
                               Parent
                                                                                                                                                   .
                               LEA Representative
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                               Regufar Education Teacher
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                               Special Education Teacher
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                                                                                                                                 ~YesONo               1/10/2022
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                               Sl.P-Shavonica wuriams                                                                            fi21Yes0No
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    (')                        SPED Advisor- Nia Coleman           '-fu~                                                         @YesONo               1/10/2022
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             ~2998/REV.9/2003                                        Shelby County Schoo{ District: lndMduaT Edt'   ;c: fan   Program                                               Page19
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